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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                    )
                                              )
                Plaintiffs,                   )
                                              )   Case No. 16-2105-JAR-JPO
v.                                            )
                                              )
KRIS KOBACH, in his official capacity as      )
Secretary of State for the State of Kansas,   )
                                              )
                Defendant.                    )
                                              )



     PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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       Plaintiffs Steven Wayne Fish, Donna Bucci, Charles Stricker, Thomas Boynton, Douglas

Hutchinson, and League of Women Voters of Kansas (collectively, “Plaintiffs”) respectfully

submit the following Proposed Findings of Fact and Conclusions of Law.

                               PROPOSED FINDINGS OF FACT

I.     BACKGROUND ON VOTER REGISTRATION AND THE MOTOR-VOTER
       REGISTRATION PROCESS IN KANSAS

       A. Kansas’s Proof of Citizenship Requirements

       1.       To register to vote in Kansas, a voter registration applicant must submit under the

penalty of perjury a written attestation that the applicant meets the requisite Kansas voter

qualifications, including U.S. citizenship. (See K.S.A. § 25-2309(b); Mar. 8, 2018 PM Trial Tr.

771:7-14 (Caskey Testimony).) Prior to 2013, this attestation of citizenship constituted sufficient

evidence for individuals to prove they were U.S. citizens for purposes of registering to vote

under Kansas law. (Mar. 8, 2018 PM Trial Tr. 771:7-14 (Caskey Testimony).)

       2.       Beginning in 2013, a new requirement was added to this process. (Mar. 8, 2018

PM Trial Tr. 791:23 – 792:7 (Caskey Testimony).) The Secure and Fair Elections (“SAFE”)

Act, K.S.A. § 25-2309(l), requires that Kansas voter registration applicants submit documentary

proof of citizenship (“DPOC”) in order to become registered to vote. (See Am. Prop. Trial

Order, ECF No. 353 (“PTO”), Stip. ¶ 7; Mar. 6, 2018 PM Trial Tr. 142:15-17 (McDonald

Testimony).)

       3.       The SAFE Act provides that the DPOC requirement “will be satisfied by

presenting” one of the following documents:

       (1)     the applicant's driver's license or nondriver’s identification card issued by the
               division of vehicles or the equivalent governmental agency of another state within
               the United States if the agency indicates on the applicant's driver’s license or
               nondriver’s identification card that the person has provided satisfactory proof of
               United States citizenship;


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       (2)   the applicant’s birth certificate that verifies United States citizenship to the
             satisfaction of the county election officer or secretary of state;

       (3)   pertinent pages of the applicant's United States valid or expired passport identifying
             the applicant and the applicant's passport number, or presentation to the county
             election officer of the applicant's United States passport;

       (4)   the applicant’s United States naturalization documents or the number of the
             certificate of naturalization. If only the number of the certificate of naturalization is
             provided, the applicant shall not be included in the registration rolls until the
             number of the certificate of naturalization is verified with the United States bureau
             of citizenship and immigration services by the county election officer or the
             secretary of state, pursuant to 8 U.S.C. § 1373(c);

       (5)   other documents or methods of proof of United States citizenship issued by the
             federal government pursuant to the immigration and nationality act of 1952, and
             amendments thereto;

       (6)   the applicant’s bureau of Indian affairs card number, tribal treaty card number or
             tribal enrollment number;

       (7)   the applicant’s consular report of birth abroad of a citizen of the United States of
             America;

       (8)   the applicant's certificate of citizenship issued by the United States citizenship and
             immigration services;

       (9)   the applicant’s certification of report of birth issued by the United States department
             of state;

       (10) the applicant's American Indian card, with KIC classification, issued by the United
            States department of homeland security;

       (11) the applicant’s final adoption decree showing the applicant's name and United
            States birthplace;

       (12) the applicant’s official United States military record of service showing the
            applicant’s place of birth in the United States; or

       (13) an extract from a United States hospital record of birth created at the time of the
            applicant's birth indicating the applicant’s place of birth in the United States.

(K.S.A. § 25-2309(l).)

       4.     Voters who applied to register to vote before 2013 are not subject to the DPOC

requirement. (K.S.A. § 25-2309(n).)


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       5.     Defendant Kansas Secretary of State Kris Kobach is the Chief Election Office for

the State of Kansas. (PTO Stip. ¶ 2.)

       6.     Pursuant to an administrative rule promulgated by Defendant Kansas Secretary of

State Kris Kobach, if an individual does not provide DPOC when submitting a voter registration

application, the application is deemed incomplete. (See Mar. 8, 2018 PM Trial Tr. 743:14-22

(Caskey Testimony).) If that individual then does not provide DPOC within 90 days, the

application will be canceled, and the individual must submit a new voter registration application

to reinitiate the voter registration application process. (See PTO Stip. ¶ 8; K.A.R. § 7-23-15.)

The rule became effective on October 2, 2015. (PTO Stip. ¶ 8.)

       7.     On May 17, 2016, this Court entered a preliminarily injunction barring Defendant

from enforcing the DPOC requirement with respect to Kansans who apply to register to vote at

the Division of Vehicles (“DOV”). (Mem. & Order, ECF No. 129.) That order was affirmed by

the Tenth Circuit in an initial order and judgment dated September 30, 2016, (Fish v. Kobach,

691 F. App’x 900 (10th Cir. 2016)), followed by a detailed opinion issued on October 19, 2016,

(Fish v. Kobach, 840 F.3d 710 (10th Cir. 2016)).

       8.     Prior to the preliminary injunction in this case, Kansas was one of only two states

that enforced a DPOC requirement for voter registration. The only other state was Arizona,

whose requirement is more liberal, insofar as it can be satisfied with a driver’s license number,

rather than a copy of an actual document. (See A.R.S. § 16–166(F)(1).)

       B. Voter Registration Application Process at DOV Offices

       9.     An eligible Kansas voter may apply to register to vote while applying for or

renewing a Kansas driver’s license or non-driver identification card at the DOV (“motor-voter

registrant”). (52 U.S.C. § 20504(c); K.S.A. § 25-2352.)

       10.    Between January 1, 2006 and March 23, 2016, 43.7% of Kansas voters applied to
                                                   3
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register to vote at the DOV. (PTO Stip. ¶ 34.)

       11.     Under Kansas law, a driver’s license applicant must show a document that

demonstrates the applicant’s lawful status or presence in the United States in order to obtain a

driver’s license. (See PTO Stip. ¶¶ 116, 117.)

       12.     The DOV website identifies 5 documents that U.S. citizens can present to

demonstrate lawful presence: a U.S. birth certificate, U.S. passport or Passport Card, U.S.

Consular Report of Birth Abroad, a Certificate of Naturalization, and a Certificate of Citizenship.

(PTO Stip. ¶ 116.)

       13.     Noncitizen legal permanent residents typically present a green card (i.e., a

noncitizen legal permanent resident document) to demonstrate lawful presence, and may receive

a standard Kansas driver’s license. (PTO Stip. ¶¶ 61-62).

       14.     Noncitizens with time-limited visas (e.g., students) typically present a document

identifying them as noncitizens (e.g., their time-limited visa) to demonstrate lawful presence, and

may receive a special Temporary Driver’s License (“TDL”), that expires on the same date as

their lawful presence document. (PTO Stip. ¶ 60.)

       15.     Although proof of lawful presence is a legal requirement for all driver’s license

applicants in Kansas, the DOV does not request proof of lawful presence for renewal applicants.

(See PTO Stip. ¶¶ 71, 116-17; Notice of Joint Stipulations, ECF No. 494 (“DOV”) Stip. ¶ 11.)

       16.     Pursuant to DOV procedures, the opportunity to register to vote is offered after

the prospective applicant completes the process for applying for or renewing a driver’s license or

non-driver identification card. (PTO Stip. ¶¶ 66-67; DOV Stip. ¶ 1; Mar. 8, 2018 PM Trial Tr.

838:20 – 840:1 (Caskey Testimony).)

       17.     The DOV has a policy of not offering voter registration to driver’s license



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applicants who self-identify as noncitizens, such as TDL applicants or driver’s license applicants

who show a green card to demonstrate lawful presence in the course of applying for a regular

driver’s license. (PTO Stip. ¶¶ 73, 74, 122; Mar. 8, 2018 PM Trial Tr. 884:9 – 885:4 (Caskey

Testimony).)

       18.     Pursuant to DOV procedures, if driver’s license applicants, either first-time or

renewal, verbally confirm that they would like to register to vote, the DOV employee prompts

them to read a voter oath located on the DOV counter in front of them and to indicate verbally if

they agree. (PTO Stip. ¶ 68; DOV Stip. ¶¶ 3, 5.) Customers are not required to provide a

signature after reading the voter oath. (DOV Stip. ¶ 6.)

       19.     These motor-voter applicants are then asked several questions including: “Are

you a U.S. citizen?” (PTO Stip. ¶ 69; DOV Stip. ¶ 7.) After the applicanst answer these

questions, the driver’s license examiner is supposed to record their responses. (DOV Stip. ¶ 7.)

Thereafter, a voter registration receipt is printed, the applicants pay the appropriate fees, and gets

their photo taken. (DOV Stip. ¶¶ 7-8.) At that point, they have finished the voter registration

application process at the DOV. (See PTO Stip. ¶ 70; DOV Stip. ¶¶ 7-8.)

       20.     The DOV electronically transmits voter registration applications to the

appropriate elections official and into ELVIS system. (PTO Stip. ¶ 72.)

       C. Kansas’s Election Voter Information System Database

       21.     The Election Voter Information System (“ELVIS”) is a statewide voter

registration database that is maintained by the Kansas Secretary of State (“KSOS”). (PTO Stip.

¶¶ 51-52.)

       22.     When a voter registration application is received by the relevant election office, a

record is created in ELVIS. (PTO Stip. ¶¶ 51, 55; Mar. 8, 2018 PM Trial Tr. 743:1-9 (Caskey

Testimony).) The ELVIS system assigns a unique identification number for each applicant.
                                                      5
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(PTO Stip. ¶ 54.)

       23.    A record is created in ELVIS regardless of whether a voter registration

application is complete (e.g., whether it is accompanied by DPOC), and/or whether the

application is ultimately successful. (PTO Stip. ¶ 56; Mar. 8, 2018 PM Trial Tr. 741:19 – 742:3;

742:9-11 (Caskey Testimony).)

       24.    County elections officers have responsibility for maintaining the database for their

own counties, including creating and updating records for each voter registration applicant.

(PTO Stip. ¶¶ 53, 55, 56; Mar. 8, 2018 PM Trial Tr. 743:1-9 (Caskey Testimony).)

       25.    ELVIS records contain codes to indicate the status of a voter registration

application, including whether an application was successful and is currently active or inactive,

(PTO Stip. ¶ 57; Mar. 8, 2018 PM Trial Tr. 744:21 – 745:1 (Caskey Testimony); Ex. 135, List of

ELVIS Codes.); whether the application was incomplete and designated as “in suspense”; and

whether the application was canceled. (Ex. 135; Mar. 8, 2018 PM Trial Tr. 743:14 – 745:11

(Caskey Testimony).)

       26.    If a voter registration application is incomplete, the application will be given the

code “S” for “suspense.” ELVIS uses the code “R” to indicate someone whose voter registration

application has been canceled. (Ex. 135, List of ELVIS Codes; Mar. 8, 2018 PM Trial Tr. 748:9

– 749:4 (Caskey Testimony).)

       27.    If there is no record that a voter registration applicant has provided DPOC, or in

the case of motor-voter registrants, if DOV employees have listed the application as missing

DPOC, the application is considered incomplete, and given the code “S” for “suspense,” and the

code “CITZ” to indicate lack of DPOC as the reason for placing the application in suspense.

(PTO Stip. ¶¶ 55-58; Mar. 8, 2018 PM Trial Tr. 743:23 – 744:17 (Caskey Testimony); Ex.135,



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List of ELVIS Codes.)

       28.     Shortly after it began enforcing the DPOC law in January 2013, the KSOS entered

into an interagency agreement with the Kansas Department of Health and Environment

(“KDHE”), under which KDHE would cross-reference applications suspended for lack of DPOC

to determine whether the agency had a Kansas birth certificate on file. (Ex. 1027, KDHE Mem.

of Agreement; Mar. 8, 2018 PM Trial Tr. 749:13-750:16 (Caskey Testimony); Mar. 7, 2018 PM

Trial Tr. 598:3-13 (Rucker Dep.).) The KSOS does not check with agencies outside of Kansas to

verify whether suspended applicants have DPOC on file. (PTO Stip. ¶ 33.)

       29.     ELVIS records also document, among other things, how the applicant submitted a

voter registration application. (PTO Stip. ¶ 59.) “MV” is the code recorded in ELVIS to indicate

that an applicant has applied to register to vote at the DOV. (PTO Stip. ¶ 59; Ex. 135, List of

ELVIS Codes.)

       D. Tallies of Registered Voters, Votes Cast, and Turnout in Kansas

       30.     According to ELVIS, there were more than 1.8 million registered voters in Kansas

as of the 2016 general election. (PTO Stip. ¶ 50.)

       31.     The total number of votes cast for the highest statewide office on the ballot in

each of the following general elections dating back to the year 2000 is as follows:

       Federal Election    Highest Statewide             Official Results - Total Votes
             Year           Office on Ballot                          Cast
             2000               President                          1,072,216
             2002              U.S. Senate                          776,850
             2004               President                          1,187,756
             2006               Governor                            849,700
             2008               President                          1,235,872
             2010              U.S. Senate                          837,692
             2012               President                          1,159,971
             2014              U.S. Senate                          866,191
             2016               President                          1,184,402
       Total Votes for Highest Statewide Office                    9,170,650

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         in Federal Election Years 2000 - 2016

(Notice of Joint Stipulations (“Election Nos. Stip.”), ECF No. 495, ¶ 1)

       32.     The official turnout in each of the listed elections in Sedgwick County, Kansas is

as follows:

                Federal Election Year                      Official Turnout
                2004 General Election                           181,626
                2006 Primary Election                            37,757
                2006 General Election                           118,674
                2008 Primary Election                            36,844
                2008 General Election                           197,044
                2010 Primary Election                            65,826
                2010 General Election                           136,828
                2012 Primary Election                            54,923
                2012 General Election                           187,286
                2014 Primary Election                            52,598
                2014 General Election                           145,073
                2016 Primary Election                      Data not available
                2016 General Election                           195,746
              Cumulative Official Turnout                     1,410,225

(Election Nos. Stip., ECF No. 495, ¶ 2.)

II.    STATEWIDE EFFECTS OF THE DOCUMENTARY PROOF-OF-CITIZENSHIP
       LAW.

       33.     The DPOC requirement has prevented large numbers of applicants from

registering to vote in Kansas. (PTO Stip. ¶¶ 36, 38; Mar. 6, 2018 PM Trial Tr. 156:20-157:8.)

       34.     The parties have stipulated that as of March 28, 2016, more than 16,000

applicants who applied to register to vote in person at DOV offices were blocked from

registering to vote because of the DPOC requirement. (PTO Stip. ¶ 36 (As of March 28, 2016,

there were 5,655 in-person motor-voter applicants who were placed in “suspense” status for

failure to provide DPOC); PTO Stip. ¶ 38 (As of March 23, 2016, there were 11,147 motor-voter

applicants whose applications were canceled under K.A.R. § 7-23-15 for failure to produce


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DPOC.).)

          35.    Plaintiffs offered the testimony of Dr. Michael McDonald to provide additional

information about the effects of the DPOC requirement. Dr. McDonald is an Associate Professor

of Political Science at the University of Florida and a leading scholar on American elections,

voter registration, and factors affecting voter behavior and turnout. (Mar. 6, 2018 AM Trial Tr.

120:5-127:4; Ex. 139, McDonald Updated CV.) He has received numerous research grants and

honors for his academic work. (Mar. 6, 2018 AM Trial Tr. 123:3-14; Ex. 139.)

          36.    Dr. McDonald has offered expert testimony in numerous election law cases, (see

Ex. 139, McDonald Updated CV, at 12-13), including cases involving voter registration and the

NVRA. See, e.g., League of Women Voters v. Browning, 575 F. Supp. 2d 1298, 1308 (S.D. Fla.

2008); see also Page v. Va. State Bd. of Elections, No. 3:13CV678, 2015 WL 3604029, at *9

n.16 (E.D. Va. June 5, 2015); Ariz. Minority Coal. for Fair Redistricting v. Ariz. Indep.

Redistricting Comm’n, 121 P.3d 843, 861 (Ariz. Ct. App. 2005).1

          37.    Defendant’s proffered expert Hans von Spakovsky has relied on Dr. McDonald’s

election turnout data in his own work.          (Mar. 9, 2018 PM Trial Tr. 1100:4-1101:4 (von

Spakovsky Testimony).)

          38.    Dr. McDonald examined data extracts from the ELVIS database to evaluate the

number of individuals whose voter registration applications were canceled or suspended for lack

of DPOC, and offered opinions about the effect of the DPOC requirement based on that analysis.

(Mar. 6, 2018 PM Trial Tr. 140:13 – 141:2.) He relied on three sources of voter registration data

obtained from the KSOS prior to the preliminary injunction entered in this case: (1) a list of

suspended applicants as of September 24, 2015, (2) a voter registration file dated December 11,
1
    The Court takes judicial notice of these decisions.



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2015, and (3) a list of canceled and suspended applicants as of March 31, 2016 disclosed by

Defendant in discovery after Plaintiffs filed suit. (Mar. 6, 2018 PM Trial Tr. 142:6-143:24,

146:9-13, 147:9-148:14; Ex. 72, McDonald Expert Rep., at 5; Ex. 73, Suppl. McDonald Rep., at

1.)2

       39.    Dr. McDonald opined that the DPOC law had imposed a “widespread” burden on

voter registration applicants that had prevented “large” numbers of individuals from becoming

registered to vote. (Mar. 6, 2018 PM Trial Tr. 156:20 – 157:8).

       40.    First, Dr. McDonald analyzed the total number of voter registration applicants—

regardless of method of registration—who had been placed in suspense due to failure to provide

DPOC at various points in time. Dr. McDonald found that, as of September 24, 2015, 32,171

voter registration applicants were suspended for failure to produce DPOC. (Ex. 72, McDonald

Expert Rep., at 16-17; Mar. 6, 2018 PM Trial Tr. 142:6 – 143:11.) Dr. McDonald identified

more than 3,000 additional voter registration applicants who, as of December 11, 2015, were

placed in suspense. He calculated that a total of 35,314 individuals whose applications were

suspended as of September 24, 2015 and/or December 11, 2015 for failure to provide DPOC.

(Mar. 6, 2018 PM Trial Tr. 153:1-15; Ex 72 at 2-3.) This number does not include individuals

who were initially suspended for lack of DPOC but whose status was resolved before September


2
 For the September 24, 2015, and December 11, 2015 data files, Dr. McDonald was not given
access to the ELVIS codes indicating whether an applicant had applied at a DOV office or
whether the applicant’s voter registration file had been suspended based on a lack of DPOC.
(Mar. 6, 2018 PM Trial Tr. 143:12-24.) But Dr. McDonald was able to reliably evaluate the
number of applicants suspended for failure to provide DPOC by eliminating other reasons why
an applicant may have been suspended. (Mar. 6, 2018 PM Trial Tr. 144:8 – 145:16.; Ex. 72,
McDonald Expert Rep., at 8-10.) For the March 31, 2016 voter registration data produced
pursuant to the protective order, Dr. McDonald was provided with the ELVIS codes designating
an individual’s method of registration and the reason why an application had been placed in
suspense. (Mar. 6, 2018 PM Trial Tr. 145:17-146:16, 147:9 – 148:10.)


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24, 2015, either by affirmatively submitting DPOC to the KSOS, or by being passively cleared

due to having a Kansas birth certificate on file. (Mar. 6, 2018 PM Trial Tr. 177:1-15.)

       41.     Second, Dr. McDonald evaluated individual-level voter registration information

to determine whether individuals whose applications were suspended subsequently became

registered, and found that, over a roughly three-month period, a majority of them did not. Dr.

McDonald used the unique voter registration identification number assigned to each applicant to

track individuals designated as in suspense as of September 24, 2015 and determined whether

these voters’ applications were later registered, canceled, or remained in suspense as of

December 11, 2015. (PTO Stip. ¶ 54; Mar. 6, 2018 PM Trial Tr. 148:15 – 149:20.)3

       42.     Of the 32,171 individuals whose voter registration applications were suspended as

of September 24, 2015 for failure to provide DPOC, most did not become registered to vote by

December 11, 2015. (Ex. 72, McDonald Expert Rep., at 16-17; Mar. 6, 2018 PM Trial Tr.

148:15 – 150:11.)    As of December 11, 2015, 70.9% of these applicants—a total 22,814

individuals—either remained suspended or had their applications canceled. (Ex. 72 at 16-17;

Mar. 6, 2018 PM Trial Tr. 148:15-150:11.) As of that date, 10,587 individuals remained

suspended, while 12,227 individuals had their applications canceled altogether.4 (Ex. 72 at 16-

17.)

       43.     Of the 32,171 applicants whose registrations were suspended as of September 24,

2015, only approximately one-quarter were successfully registered by December 11, 2015.

3
 On October 2, 2015, shortly after the date of the September 24, 2015 suspense list obtained by
Dr. McDonald, the KSOS began to cancel applications that remained in suspense for more than
90 days pursuant to K.A.R. § 7-23-15 (see PTO Stip. ¶ 8; K.A.R. § 7-23-15).
4
 Dr. McDonald’s initial report described individuals whose voter registration application had
become canceled pursuant to K.A.R. § 7-23-15 as “purged.” (Mar. 6, 2018 PM Trial Tr. 219:3-
10.)


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(Mar. 6, 2018 PM Trial Tr. 150:8-11; Ex. 72, McDonald Expert Rep., at 16-17.) While this

group of applicants did eventually become registered, they were blocked for a period of time due

to the DPOC requirement, and could not vote during that period.          Additional steps were

ultimately necessary for these individuals to become registered to vote. (Mar. 6, 2018 PM Trial

Tr. 151:18 – 152:12.)

       44.    Third, Dr. McDonald analyzed the total number of voter registration applications

suspended or canceled as of March 31, 2016—and specifically, the number of motor-voter

applicants whose applications were impeded by the DPOC requirement. (Mar. 6, 2018 PM Trial

Tr. 153:23 – 154:9.) As of that date, a total of 30,732 applicants were blocked by the DPOC

requirement—16,749 applicants who had their applications canceled, and 13,983 applicants who

were suspended. (Ex. 73, Suppl. McDonald Rep., at 5, 8; Mar. 6, 2018 PM Trial Tr. 154:10-18.)

The 30,732 applicants blocked by the DPOC requirement as of March 31, 2016 represented

approximately 12% of the total voter registration applications submitted since the law was

implemented in 2013. (Mar. 6, 2018 PM Trial Tr. 155:5 – 156:19.)

       45.    Of the 30,732 applicants whose applications were, as of March 31, 2016,

suspended or canceled due to failure to provide DPOC, approximately 75% were motor-voter

applicants. A total of 22,888 of the individuals suspended or canceled for lack of DPOC as of

March 31, 2016 had submitted a registration application through a motor-vehicle transaction—

either online or in-person.5 (Ex. 73, Suppl. McDonald Rep., at 1, 9-10; Mar. 6, 2018 PM Trial

Tr. 159:7-16; 165:9-166:14.)

5
 This number includes any voter registration application marked as a motor-vehicle transaction
within the ELVIS system, including the “MV” code for in-person DOV transactions, “MVO” for
online DOV registration applications, and “MVC” for registration applications submitted with an
online driver’s license change of address. (Ex. 73, Suppl. McDonald Rep., at 5-6; Mar. 6, 2018
PM Trial Tr. 159:17 – 160:9.)


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       46.      The total number of applicants blocked by the DPOC requirement would likely

have increased and escalated further before the 2016 presidential election without a preliminary

injunction. (Mar. 6, 2018 PM Trial Tr. 157:9-25.) This is partly because, as Dr. McDonald

explained, voter registration activity typically increases in the months leading up to a presidential

election. (Id. at 157:13-16.)

       47.      Dr. McDonald also examined the composition of the pool of applicants blocked

by the DPOC requirement, and found that it is disproportionately young compared to the

population of registered voters. Roughly 15% of registered voters in Kansas are between the

ages of 18 and 29. (Mar. 6, 2018 PM Trial Tr. 160:23-162:16; Ex. 72, McDonald Expert Rep., at

7.) In contrast, 43.2% of suspended or canceled motor-voter applicants as of March 31, 2016

were between the ages of 18-29—a rate nearly three times higher than the population of active

and inactive registrants. (Mar. 6, 2018 PM Trial Tr. 160:23-162:16; Ex. 73, Suppl. McDonald

Rep., at 10.)

       48.      The pool of voters blocked by the DPOC requirement is also disproportionately

unaffiliated with a political party. Approximately 31% of registered voters are unaffiliated with

a political party in Kansas. (Mar. 6, 2018 PM Trial Tr. 160:23-163:4; Ex. 72, McDonald Expert

Rep., at 7.) Yet, 53.4% of suspended and canceled motor-voter applicants were unaffiliated with

a political party. (Mar. 6, 2018 PM Trial Tr. 160:23-163:4; Ex. 73, Suppl. McDonald Rep., at

10.)

       49.      The disproportionate impact of the law on these subpopulations (young and

unaffiliated voters) derives in part from the fact that the DPOC requirement applies only to new

voter registration applicants—who are disproportionately young and unaffiliated with a political

party. (Mar. 6, 2018 PM Trial Tr. 175:7-12 (McDonald Testimony).)



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       50.     The consensus in social science research is that barriers to voter registration

increase the cost of voting and dissuade individuals from participating in the political process.6

(Mar. 6, 2018 PM Trial Tr. 163:5 – 164:20 (McDonald Testimony); Ex. 72, McDonald Expert

Rep., at 18-22.) Furthermore, the burdens imposed by the DPOC law are disproportionately

borne by young applicants and those unaffiliated with a political party: demographic groups that

already have a lower propensity to participate in the political process and are less inclined to

shoulder costs associated with voter registration. (Mar. 6, 2018 PM Trial Tr. 164:12 – 165:8

(“[I]f there is even a slight burden, . . . young voters won’t show up to vote at all”); Ex. 72 at 18-

22.) The fact that the law affects only new applicants means that it disproportionately affects

certain demographic groups who are already among the most vulnerable to voting barriers.

(Mar. 6, 2018 PM Trial Tr. 172:24-175:6, 175:13-176:10.)

       51.     It is likely that nearly all individuals identified in his report as suspended or

canceled for failure to provide DPOC are, in fact, qualified citizens who were blocked from

voting. Dr. McDonald noted that while some noncitizens may find their way onto registration

rolls, the numbers are likely to be very small. (Mar. 6, 2018 PM Trial Tr. 177:6-22.)

       52.     The KSOS’s policy of clearing nearly half the applicants suspended each month

after finding a Kansas birth certificate on file tends to support the fact that the vast majority of

canceled and suspended applicants are qualified citizens. (Mar. 6, 2018 PM Trial Tr. 177:6 –

178:6 (McDonald Testimony).) The applicants who were cleared through this policy did not

affirmatively provide DPOC; they were passively approved after the KSOS later independently
6
 Defendant’s proffered expert, Dr. Jesse Richman, has relied on the same “cost of voting” social
science research in his peer-reviewed article titled “Can the College Vote Turn Out,” where he
noted that “[e]lectoral rules that increase the costs of voting are expected to diminish voter
participation.” (Mar. 13, 2018 AM Trial Tr. 1567:24 – 1570:11 (Richman Testimony); Ex. 153,
Article by Dr. Richman “Can the College Vote Turnout.”)



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obtained a Kansas birth certificate on file with the KDHE. (See supra ¶ 28; Mar. 6, 2018 PM

Trial Tr. 177:6 – 178:6.) Since Kansas is only one state and many Americans move between

states, it is most likely that other suspended and canceled applicants were simply born in other

states. (Id. at 177:6 – 178:20.)

III.   EFFECTS OF THE DOCUMENTARY PROOF-OF-CITIZENSHIP LAW ON THE
       INDIVIDUAL PLAINTIFFS

       A. Steven Wayne Fish

       53.     Steven Wayne Fish is a U.S. Citizen, a resident of Kansas, and over eighteen

years old, and is therefore a qualified Kansas voter. (PTO Stip. ¶ 10; Mar. 7, 2018 PM Trial Tr.

498:23 – 499:22.) He is an overnight employee at an American Eagle distribution center. (Mar.

7, 2018 PM Trial Tr. 500:5-12.)

       54.     In August 2014, Mr. Fish attempted to register to vote while renewing his Kansas

driver’s license at the DOV. (Mar. 7, 2018 PM Trial Tr. 501:3-8.)

       55.     Mr. Fish was not told about the DPOC requirement and left the DOV office

believing that he was registered to vote. (Mar. 7, 2018 PM Trial Tr. 501:17-25; 502:6-8.) Mr.

Fish only learned that he was not registered when he subsequently received a notice in the mail

telling him that he needed to show DPOC. (Id. at 502:9-21.)

       56.     After receiving this notice, Mr. Fish searched for his birth certificate but could not

find it. (Mar. 7, 2018 PM Trial Tr. 502:16-21; 506:1-10.) He also attempted to obtain a

replacement birth certificate but could not figure out how to do so, because he was born on a

decommissioned Air Force Base in Illinois. (Id. at 499:3-14; 504:24 – 505:12.)

       57.     Mr. Fish was unable to vote in the 2014 general election, and his voter registration

application was subsequently canceled due to his failure to provide DPOC. (Mar. 7, 2018 PM

Trial Tr. 503:16-20; PTO Stip. ¶ 39; Ex. 1, Fish ELVIS Registrant Details.)


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       58.     In May 2016, Mr. Fish’s sister located a copy of his birth certificate that had

apparently been placed in the safe by Mr. Fish’s now-deceased mother. (Mar. 7, 2018 PM Trial

Tr. 505:18 – 507:10.) Although Mr. Fish’s DPOC was ultimately located, it took nearly two

years to find it—during which time Mr. Fish could not satisfy the DPOC requirement. (Id.

at 505:18 – 507:10.)

       B. Donna Bucci

       59.     Donna Bucci is a U.S. citizen, a resident of Kansas, and over eighteen years old,

and is therefore a qualified Kansas voter. (PTO Stip. ¶ 16; Mar. 6, 2018 AM Trial Tr. 98:25 –

99:5.) Ms. Bucci is a food service supervisor with the Kansas Department of Corrections. (Mar.

6, 2018 AM Trial Tr. 98:7-12.)

       60.     In 2014, Ms. Bucci attempted to register to vote while renewing a Kansas driver’s

license at the DOV. (Mar. 6, 2018 AM Trial Tr. 99:15-19.)

       61.     Ms. Bucci was not told about the DPOC requirement and left the driver’s license

office believing that she was registered to vote. (Mar. 6, 2018 AM Trial Tr. 100:3-11.) Ms.

Bucci only learned that she was not registered when she subsequently received a notice in the

mail telling her that she needed to show DPOC. (Id. at 100:16-20.)

       62.     Ms. Bucci does not have a copy of her birth certificate and does not possess a

passport; she cannot afford the cost of a replacement birth certificate from Maryland, where she

was born.    (Mar. 6, 2018 AM Trial Tr. 101:24-103:24.)         She testified that the cost of a

replacement birth certificate would affect her life significantly—it would be either her “share of

the rent or no place to live.” (Id. at 103:21-24.)

       63.     Ms. Bucci’s voter registration application was subsequently canceled due to her

failure to provide DPOC. (PTO Stip. ¶¶ 19, 43; Ex. 2, Bucci ELVIS Registrant Details.)



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       C. Charles Stricker

       64.     Charles Stricker is a U.S. citizen, a resident of Kansas, and over eighteen years

old, and is therefore a qualified Kansas voter. (PTO Stip. ¶ 21; Mar. 6, 2018 AM Trial Tr. 63:13-

17.) Mr. Stricker is the manager of a hotel in Wichita. (Mar. 6, 2018 AM Trial Tr. 64:23-25.)

       65.     In 2014, Mr. Stricker attempted to register to vote at the DOV while renewing his

driver’s license. (PTO Stip. ¶ 22; Mar. 6, 2018 AM Trial Tr. 67:25 – 68:6.)

       66.     Mr. Stricker was told he had insufficient documentation to obtain a driver’s

license and was sent home to obtain the necessary documents. (Mar. 6, 2018 AM Trial Tr. 68:9

– 69:1.) Mr. Stricker returned with “literally . . . everything that [he] could possibly get out of

[his] house,” including his birth certificate, mortgage statements, tax documents, tax returns, and

W-2s. (Id. at 69:9-17.) He responded in the affirmative when the DOV clerk asked him if he

wanted to register. (Id. at 70:16-21.) The only document Mr. Stricker received when he left

DOV was a temporary driver’s license that he remembers looking like “a fast-food receipt” with

his picture on it. (Id. at 71:2-23.) He did not receive a full-page notice regarding the DPOC

requirement. (Id. at 89:11-16, 86:23-87:21 (“[W]hat I was given was strictly a small slip of

paper. I was not given a full page like this.”).)

       67.     Mr. Stricker asked the DOV clerk whether he needed to do anything else to

register and was told that he had completed the process and that a voter card would later be

mailed to him. (Mar. 6, 2018 AM Trial Tr. 71:2-72:4.) Mr. Stricker was not advised at any time

about a DPOC requirement for voter registration and left the DOV believing he was registered to

vote. (Id. at 70:22-71:1; 72:5-9.)

       68.     On Election Day in November 2014, Mr. Stricker went to his polling place to

vote. (Mar. 6, 2018 AM Trial Tr. 72:14-22.) The volunteer could not find Mr. Stricker’s name

on the voting roll, and he was required to cast a provisional ballot. (Id. at 72:14 – 74:4.) He felt
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confused, publicly exposed, and embarrassed by how he was treated. (Id. at 73:8 – 74:11 (“It

was almost like I was the one that did something wrong.”).) This was the first time that Mr.

Stricker learned that he was not, in fact, registered to vote. (Id. at 74:12-25.)

       69.     Mr. Stricker’s voter registration application was subsequently canceled on the

grounds that he had not presented DPOC.            (PTO Stip. ¶¶ 23, 45; Ex. 4, Stricker ELVIS

Registrant Details.)

       70.     In advance of the 2016 election, Mr. Stricker called the Sedgwick County

Election Office to ensure that he was registered as a result of the preliminary injunction and

would be permitted to vote. (Mar. 6, 2018 AM Trial Tr. 79:8-22.) Mr. Stricker was told by

election officials that they were not sure if he would be permitted to vote in the 2016 election due

to unresolved legal issues. (Id. at 79:23 – 80:5.) Mr. Stricker also checked the KSOS’s online

voter database, but the database did not return a record of him being registered. (Id. at 80:6-12.)

He was left confused and frustrated about his voter registration status. (Id. at 80:13-25.)

       D. Thomas Boynton

       71.     Thomas Boynton is a U.S citizen, a resident of Kansas, and over eighteen years

old, and is therefore a qualified Kansas voter. (PTO Stip. ¶ 26; Mar. 6, 2018 PM Trial Tr.

262:18-263:2.) Mr. Boynton moved to Kansas for the first time in July 2014 to begin teaching as

professor of English at Wichita State University. (Mar. 6, 2018 PM Trial Tr. 263:1-11.)

       72.     In early August 2014, Mr. Boynton went to a driver’s license office to obtain a

Kansas driver’s license. (Mar. 6, 2018 PM Trial Tr. 263:24 – 264:15.) Although his ELVIS

records do not indicate that he applied to register to vote at the DOV, Mr. Boynton testified

credibly that, after he completed his driver’s license transaction, the DOV examiner asked Mr.

Boynton if he wanted to register to vote, and he responded yes. (Id. at 264:10-15.)

       73.     Mr. Boynton brought several documents with him to the DOV office that day: his
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out-of-state license, social security card, original birth certificate, and utility bills. (Mar. 6, 2018

PM Trial Tr. 264:23 – 265:1.) He does not recall which of these documents the DOV clerk

asked to see, but he provided the clerk with each document that she requested. (Id. at 265:5-10.)

Mr. Boynton was not told about the DPOC requirement and left the DOV believing he was

registered to vote. (Id. at 264:10-18; 265:18-20.)

       74.     On Election Day in November 2014, Mr. Boynton went to his polling place to

vote, but the poll volunteer did not find him on the voter roll. (Mar. 6, 2018 PM Trial Tr.

266:4-13.) At the volunteer’s direction, Mr. Boynton cast a provisional ballot and hoped it

would be counted. (Id. at 266:7-17; 267:15-22.) This was the first time that Mr. Boynton

learned that he was not, in fact, registered to vote. (Id. at 265:18 – 266:17.)

       75.     Around December or January of 2014-15, Mr. Boynton received a notice

informing him that he needed to provide DPOC in order to register to vote. (Mar. 6, 2018 PM

Trial Tr. 267:23 – 268:10.) Even though Mr. Boynton had previously provided DPOC at a DOV

office, (id. at 264:24 – 265:1), the ELVIS system erroneously had failed to successfully register

him as a voter, (id. at 266:24 – 267:4.)

        76.     Mr. Boynton’s voter registration application was subsequently canceled on the

grounds that he had not presented DPOC.            (PTO Stip. ¶¶ 27, 41; Ex. 3, Boynton ELVIS

Registrant Details.)

        77.     On subsequent visits to the DOV, Mr. Boynton declined to register to vote,

because his past experience had led him to conclude that such an effort would be futile. (Mar. 6,

2018 PM Trial Tr. 269:10 – 271:5).

        E. Douglas Hutchinson

        78.     Douglas Hutchinson is a U.S. citizen, a resident of Kansas, and over eighteen

years old, and is therefore a qualified Kansas voter. (PTO Stip. ¶ 30.)
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       79.     Mr. Hutchinson attempted to register to vote at the DOV while renewing his

driver’s license. (PTO Stip. ¶ 31.)

       80.     Mr. Hutchinson’s voter registration application was subsequently canceled on the

grounds that he had not presented DPOC. (PTO Stip. ¶¶ 32, 47; Ex. 5, Hutchinson ELVIS

Registrant Details.)

       F. The Cancellation of the Individual Plaintiffs’ Registration Applications

       81.     Pursuant to K.A.R. § 7-23-15, the voter registration of each of the Individual

Plaintiffs was canceled for failure to provide DPOC. (PTO Stip. ¶¶ 39, 43, 45, 47; Mar. 6, 2018

PM Trial Tr. 269:2-5 (Boynton Testimony); Ex. 3, Boynton ELVIS Registrant Details.)

Pursuant to that rule, each of the Individual Plaintiffs was required to submit a new voter

registration application in order to become registered to vote.

       82.     After the Court’s preliminary injunction went into effect, however, all motor-

voter applicants whose applications had been in suspense solely due to the failure to provide

DPOC—including the Individual Plaintiffs—were removed from “canceled” status. (Mar. 9,

2018 AM Trial Tr. 945:16 – 946:2 (Caskey Testimony).) After that time, the KSOS asserts that

it located the DPOC of some of the Individual Plaintiffs—including Mr. Stricker, Mr. Boynton,

and Mr. Hutchinson—and switched those Plaintiffs to active status. (Mar. 8, 2018 PM Trial Tr.

832:16-20; 840:9 – 841:18 (Caskey Testimony); Ex. 838, Stricker ELVIS File, at 4; Ex. 829,

Boynton ELVIS file, at 4; Mar. 6, 2018 PM Trial Tr. 272:2-5 (Boynton Testimony); Ex. 848,

Hutchinson ELVIS file, at 4.)         But for the preliminary injunction, the voter registration

applications of these three Individuals Plaintiffs would have remained “canceled,” and could not

have been switched to “active” status.

       83.     The Individual Plaintiffs’ experiences illustrate the burden the DPOC requirement

places on voter registration applicants generally. As their testimony demonstrates, Mr. Fish, Ms.
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Bucci, Mr. Stricker, and Mr. Boynton each faced bureaucratic and/or financial barriers that

prevented them from complying with DPOC requirement and, as a result, were prevented from

voting.     (PTO Stip. ¶¶ 11, 17, 22, 31; Mar. 7, 2018 PM Trial Tr. 502:9 – 503:15 (Fish

Testimony); Mar. 6, 2018 AM Trial Tr. 101:24 – 103:24 Bucci Testimony); Mar. 6, 2018 AM

Trial Tr. 70:22 – 73:7 (Stricker Testimony)); Mar. 6, 2018 PM Trial Tr. 267:23 – 268:9 (Boynton

Testimony).)

IV.       EFFECTS OF THE DOCUMENTARY PROOF-OF-CITIZENSHIP LAW ON
          PLAINTIFF LEAGUE OF WOMEN VOTERS OF KANSAS

          84.   Margaret Ahrens, the immediate past co-president of Plaintiff League of Women

Voters of Kansas (the “Kansas League”) and an advisor and mentor to the current leadership,

testified on behalf of the Kansas League. (Mar. 7, 2018 AM Trial Tr. 326:18-25.) Ms. Ahrens

first joined the League of Women Voters in Minnesota over 50 years ago and has been a

continuous member of the Kansas League for 14 years. (Id. at 325:13-24; 325:24 – 326:9.)

          85.   The Kansas League is a nonpartisan, nonprofit volunteer organization that

encourages informed and active participation of citizens in government and works to influence

public policy through education and advocacy. (Mar. 7, 2018 AM Trial Tr. 337:1-4; 329:8-13

(Ahrens Testimony).) Founded almost 100 years ago, the Kansas League is active throughout

Kansas, with nine local affiliates and more than 800 members. (Id. at 328:12 – 329: 7; Ex. 1200,

Convention Booklet for 2017, at 5, 10-11.)

          86.   The Kansas League was established in order to encourage and assist voters to

access the vote, register, and “participate in the vote” in an informed manner. (Mar. 7, 2018 AM

Trial Tr. 328:17 – 329:7; 330:12-22 (Ahrens Testimony).) As Ms. Ahrens testified, “[t]he

biggest passion of the [Kansas L]eague is to engage every possible citizen in the vote . . . .” (Id.

at 330:12 – 16.) To accomplish this mission, the Kansas League provides educational resources


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and holds voter registration drives at various locations including schools, libraries, grocery

stores, nursing homes, naturalization ceremonies and community events. (Id. at 330:6-9; 330:23

– 331:11; 332:16 – 333:2; 333:16-19; 343:19-23.) The Kansas League also performs studies on

a variety of public policy issues to inform membership action and advocacy efforts as well as to

educate its members and the public on these issues. (Id. at 328:17 – 329:7; 330:2-11; 334:25 –

336:25; 361:22 – 362:10.) The Kansas League assists all prospective voters, but it is particularly

committed to engaging individuals who are “underrepresented in the vote,” including the first

time voter, the elderly, and individuals with limited resources and time. (Id. at 332:7 – 333:19.)

       87.     The Kansas League has opposed the SAFE Act since before its passage. (Mar. 7,

2018 AM Trial Tr. 337:10 – 338:7 (Ahrens Testimony).) The Kansas League opposed the law

when it was before the Kansas legislature because the Kansas League “saw [the law] as a

complex network of hoops and jumps for the average Kansas citizen” that would “create barriers

to the vote,” including the DPOC requirement, that the Kansas League had “never seen.” (Id. at

337:21 – 338:7.)

       88.     Once it went into effect, the DPOC requirement affected the Kansas League’s

work detrimentally and substantially in at least three respects.

       89.     First, the DPOC requirement significantly hampered the Kansas League’s voter

registration work. Ms. Ahrens described the impact of the DPOC Law on the Kansas League’s

ability to fulfill its mission as “huge” and “absolutely a blow” and stated that the Kansas League

“was really knocked off its feet.” (Mar. 7, 2018 AM Trial Tr. 338:12 – 339:9.)

       90.     When the law came into effect, the Kansas League initially stopped all

registration activity in every county but one, in order to protect volunteer members from any

liability that could arise from handling or copying other people’s personal documents. (Mar. 7,



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2018 AM Trial Tr. 339:10 – 340:5, 341:12 – 16, 342:5-16; Ex. 14, LWVK Policy of Copying

Proof of Citizenship Records.) The Kansas League leadership spent considerable resources on

developing a copying policy to mitigate the risks associated with handling DPOC. (Mar. 7, 2018

AM Trial Tr. at 341:9-11 (“Q: And what went into creating this policy? A: Well, a lot of

experience and effort and lots of volunteer time.”).)

       91.     Once the copying policy was in place, the Kansas League re-initiated registration

efforts, but the number of individuals the Kansas League could successfully register declined

significantly. (Mar. 7, 2018 AM Trial Tr. 343:16 – 344:20; 346:7-12; 346:19 – 347:17 (Ahrens

Testimony); Ex. 7, Ahrens-Neal Email re: Wichita Voter Reg. (reporting a drop from 4000

successful registrations in 2012 to 400 in 2014 in Sedgwick County); Ex. 8, Ahrens-Neal Email

re Registration efforts in Emporia (reporting that successful registrations in Emporia “has

dropped at least 75% if not more because of the [DPOC] law”).)

       92.     This decline was due to the fact that many individuals do not have the necessary

documents at hand—or are not willing to provide such documents—to satisfy the DPOC

requirement. (Mar. 7, 2018 AM Trial Tr. 346:19 – 347:17 (Ahrens Testimony) (stating that

“[w]e did not find people willing and eager or knowledgeable about the necessity for bringing in

a birth certificate or . . . proof of citizenship to a voter registration table or a place where they

could expect to register to vote with help. That was not something people had.”); id. at 426:8 –

427:1 (Court: “But in terms of maintaining these important documents in their residence or

somewhere they have access to, what has been your experience about those populations? A:

That’s a really big issue. They don't have their documents at hand. And as a rule . . . I think that

people in poverty and young people . . . that’s the last thing they’re about to think about . . . .

[T]he poor move more often. They don’t have locked cases . . . and it’s just asking a great



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deal.”); Ex. 8 (noting “problem” of drop in successful registrations in Emporia after DPOC law

went into effect “since people do not carry their birth certificates around with them”).)

       93.     Kansas League members also had to invest more time and resources into helping

people register to vote.    (Mar. 7, 2018 AM Trial Tr. 355:4 – 356:20; 384:7-16 (Ahrens

Testimony); Ex. 17, LWV “How to Get Voters in Suspense Fully Registered”).)

       94.     In one registration effort, Kansas League volunteers in Douglas County went to

high schools to register voters but returned with such “large numbers of incomplete voter

registrations” due to the fact that the students did not have DPOC at hand that the volunteers

called the students’ families and schools and went back three times “to try to get as many young

people registered.” (Mar. 7, 2018 AM Trial Tr. 346:19 – 349:17 (Ahrens Testimony).)

       95.     During another voter registration effort at Washburn University, Kansas League

volunteers provided multiple opportunities for students to complete their voter registration

applications and to provide DPOC, by maintaining a voter registration table at the university

over multiple weeks. Despite this concerted effort, out of approximately 400 students who

attempted to register to vote, only about 75 students successfully completed their registration

applications. (Mar. 7, 2018 AM Trial Tr. 424:20 – 425:19; 433:25 – 434:5.)

       96.     Ms. Ahrens described the DPOC law’s effect on the Kansas League’s ability to

successfully assist voters with their registrations as “devastating.” (Mar. 7, 2018 AM Trial Tr.

344:5-12.)

       97.     Second, the DPOC requirement has forced the Kansas League to devote

substantial resources to assist voters whose applications are in “suspense” due to the failure to

provide DPOC. To reach these suspended voters, the Kansas League has purchased from the

KSOS both the list of voters whose applications are incomplete (the “suspense list”) as well as



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the full voter file several times.     (Mar. 7, 2018 AM Trial Tr. 350:22 – 351:24 (Ahrens

Testimony).) It has then used a variety of means to encourage and assist those suspended voters

to satisfy the DPOC requirement in order to complete their registrations. For example, the

Kansas League has published the suspense list on the Kansas League website and circulated the

list to local newspapers to do the same in order to notify applicants that their registrations are not

complete. (Id. at 350:22 – 353:12.)

       98.     Kansas League volunteers also spent considerable time and effort to reach

individuals on the suspense list directly in order to assist them in completing their registration

applications. (Mar. 7, 2018 AM Trial Tr. 352:3 – 355:3; 381:19 – 383:6 (Ahrens Testimony);

Ex. 17, LWV “How to Get Voters in Suspense Fully Registered.”)                   For example, after

unsuccessful attempts to reach individuals on the suspense list by phone and email, Kansas

League volunteers in Douglas County, carrying a copier, visited the residences of 115 people

whose voter registration applications were on the suspense list. (Mar. 7, 2018 AM Trial Tr.

352:3 – 355:3; Ex. 17 at 2.) Of those 115 people, only 30 ultimately registered. (Mar. 7, 2018

AM Trial Tr. 354:16 – 355:3; Ex. 17 at 2.) At least half of these 30 individuals who completed

their registrations did not personally possess or were not able to provide DPOC to the Kansas

League volunteers and were unable to complete their registrations immediately on-site. (Mar. 7,

2018 AM Trial Tr. 352:3 – 355:3; 422:10 – 424:17.)

       99.     Since the DPOC Law went into effect, the Kansas League has devoted thousands

of hours to contacting the tens of thousands of voters on the suspense list and attempting to help

them satisfy the DPOC requirement. (Mar. 7, 2018 AM Trial Tr. 347:18 – 350:8.)

       100.    Third, the DPOC requirement has forced the Kansas League to spend a

considerable amount of member resources—including volunteer time—and money to educate the



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public about registering under the DPOC law. (Mar. 7, 2018 AM Trial Tr. 350:22 – 353:16;

356:21 – 361:18 (Ahrens Testimony); Ex. 13, LWV Flyers for Public Distribution; Ex. 17, LWV

“How to Get Voters in Suspense Fully Registered.”)

       101.    The Kansas League created thousands of informational trifolds “to help people

understand the changes in the law and how to participate in the vote” that volunteers distributed

to community colleges, public libraries, and high schools across the state. (Mar. 7, 2018 AM

Trial Tr. 357:2 – 359:6 (Ahrens Testimony); Ex. 13, LWV Flyers for Public Distribution.) The

Kansas League had in the past developed written educational materials to assist voters in

registering in the past but “not to this extent.” (Mar. 7, 2018 AM Trial Tr. 413:3-6.)

       102.    The Kansas League also developed a teaching module and an accompanying

instructional video to distribute on its website and to universities, community colleges,

vocational and technical schools, and high schools throughout the state in order to reach new

voters in particular regarding how to register to vote under the SAFE Act. (Mar. 7, 2018 AM

Trial Tr. 356:21 – 361:18 (Ahrens Testimony).)

       103.    Following the Court’s preliminary injunction in this case, the Kansas League

learned that some county elections officials were not sending out “postcards” or “certificates of

registration” to individuals who were registered to vote pursuant to court orders but had not

provided DPOC. (Mar. 7, 2018 AM Trial Tr. 372:23 – 375:25, 396:15 – 398:24 (Ahrens

Testimony); Ex. 66, Shawnee County Voter Reg. Certificate.)             These “postcards” inform

registrants of their state and local voting districts as well where their polling location is, and is

traditionally the way Kansans are informed that they are registered to vote. (Mar. 7, 2018 AM

Trial Tr. 372:23 – 375:25; Ex. 66) The letter received by individuals registered to vote pursuant

to court orders did not provide them with their voting district or polling location information.



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(Mar. 7, 2018 AM Trial Tr. 372:23 – 373:17; 397:6 – 398:2.)

       104.    Upon learning that some county elections officials were not sending out

“postcards” to all individuals registered pursuant to court orders, Kansas League volunteers

devoted time to surveying other local elections officials in order to determine their practices in

regards to sending postcards. (Mar. 7, 2018 AM Trial Tr. 373:18-23 (Ahrens Testimony).)

       105.    Following the Court’s preliminary injunction in this case, the Kansas League

again obtained a copy of the suspense list from the KSOS. (Mar. 7, 2018 AM Trial Tr. 365:13 –

367:16 (Ahrens Testimony).) This list included the names of voters who were registered and

who could vote under court orders, including this Court’s preliminary injunction ruling. (Id. at

365:13 – 367:16.) The KSOS refused the Kansas League’s request for a list of suspended

applicants that did not include voters registered under court orders. (Id. at 365:13 – 367:16.) As

a result, the Kansas League is no longer able to effectively use the suspense list to inform and

reach voters who are unable to vote because their registration applications are incomplete. (Id. at

365:13 – 367:16.)

       106.    Because of the need to combat the effects of the DPOC requirement, the Kansas

League has had to divert its limited resources and focus away from other initiatives, such as

studies and advocacy on taxation, public education funding, and mental health services, among

other issues, in order to focus on the barriers to voter registration imposed by the DPOC

requirement. (Mar. 7, 2018 AM Trial Tr. 361:22 – 363:5 (Ahrens Testimony).) Even within the

realm of its primary work to protect the vote, the Kansas League “had no resources” to address

concerns it had with respect to the barriers to the vote imposed by the SAFE Act’s new photo ID

requirement despite the fact that this was a “major issue.” (Id. at 362:20 – 363:5.) Ms. Ahrens

testified credibly that the activities that the Kansas League undertook in response to the DPOC



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requirement “totally drained our resources . . . both in terms of volunteerism and also in terms of

money.” (Id. at 362:16-19.)

V.     DEFENDANT’S EVIDENCE AS TO THE BURDENS OF THE DPOC
       REQUIREMENT

       107.    Defendant offered four kinds of evidence to suggest that the DPOC requirement is

not burdensome: (1) the existence of an alternative hearing process for voter registration

applicants to establish citizenship without DPOC, by requesting a hearing before the State

Election Board (K.S.A. § 25-2309(m); Mar. 8, 2018 PM Trial Tr. 773:23 – 775:5 (Caskey

Testimony); Ex. 837, Request for Consideration Form (“RCD Form”)); (2) two surveys of

DPOC possession rates; (3) turnout evidence; and (4) post-preliminary injunction evidence. This

evidence either supports Plaintiffs’ claims or is methodologically flawed or legally irrelevant.

       A. DPOC Law Hearings

       108.    The State Election Board is comprised of the Secretary of State, the Lieutenant

Governor and the Attorney General. (Mar. 8, 2018 PM Trial Tr. 780:10 – 781:8 (Caskey

Testimony); Ex. 837, RCD Form, at 2.)

       109.    An individual must submit an RCD Form in order to schedule a hearing to

establish citizenship for purposes of voter registration. (Mar. 8, 2018 PM Trial Tr. 775:2-20

(Caskey Testimony); Ex. 837, RCD Form.) The RCD Form states that a false statement on this

affirmation is a severity level 9 felony and then requires applicants to declare under penalty of

perjury that they “do not possess any of the documents . . . that may be used for proof of

citizenship according to Kansas law.” (Ex. 837 at 1; Mar. 8, 2018 PM Trial Tr. 776:9-13; 777:8

– 778:9 (Caskey Testimony).)

       110.    After submitting an RCD Form, an applicant schedules a hearing with the State




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Election Board. 7 (Mar. 8, 2018 PM Trial Tr. 774:5-14 (Caskey Testimony); Ex. 837, RCD

Form.) The only information provided by the Form RCD regarding scheduling is that “the Board

will give the applicant at least five days notice of the date, time and location of the hearing.”

(Ex. 837 at 2; Mar. 8, 2018 PM Trial Tr. 774:5-21.) In scheduling the hearing, the applicant’s

availability is not the only relevant consideration for the State Election Board. (Mar. 8, 2018 PM

Trial Tr. 781:22-25 .)

       111.    The KSOS provides no guidance as to how one may go about proving citizenship

at a hearing. The Form RCD states only that the applicant may “provide supporting evidence of

his/her U.S. citizenship” and lists no examples. (Ex. 837, RCD Form, at 2.) The KSOS does not

provide an exhaustive list of evidence or alternative forms of documentation sufficient to

establish citizenship though this process.    (Mar. 8, 2018 PM Trial Tr. 786:8-10 (Caskey

Testimony); Ex. 837.)

       112.    Defendant offered no evidence that most Kansas voter registration applicants who

might need to use the hearing process are aware of its existence. Several of the Individual

Plaintiffs testified that they were not informed of the hearing process at the time that they

registered to vote, or at the time that they learned that their registration applications were

suspended. (Mar. 7, 2018 PM Trial Tr. 503:4-9 (Fish Testimony); Mar. 6, 2018 AM Trial Tr.

101:4-8 (Bucci Testimony); Mar. 6, 2018 PM Trial Tr. 268:22 – 269:1 (Boynton Testimony).)

For example, Ms. Bucci only learned about the hearing process after she initiated this litigation,

by being informed about the existence of the hearing process during her deposition. (Mar. 6,

2018 AM Trial Tr. 101:4-8.)
7
 While Defendant suggested at trial that the designees of the State Election Board members
could participate in the hearings in their stead, the RCD Form does not indicate that to
prospective applicants. (Ex. 837, RCD Form, at 2.)


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       113.    Ms. Ahrens testified that the Kansas League had not encountered anyone who was

“willing to go as far as to try to” go through the hearing process and that she could not recall

“anyone who would have had the – patience and the gumption and the personal resources to

wade through” this alternative process. (Mar. 7, 2018 AM Trial Tr. 363:12-24; see also id.

414:19-24 (“It is my testimony that for someone . . . to have the confidence and time to walk

through the system, make the application, fill the form and make a conference call with the

Secretary of State and other leaders in our state is more than almost anyone would do.”)

       114.    Ms. Bucci testified that she would not be able to participate in even a telephonic

hearing of this nature, because she is not allowed to take a break from work to use her cell

phone. (Mar. 6, 2018 AM Trial Tr. 114:3-14; 115:25 – 116:6.)

       115.    Although Defendant’s proffered expert witness Dr. Richman referenced the

hearing process as evidence that the DPOC requirement is not burdensome, he acknowledged

that he does not know whether eligible voters in Kansas are aware of the hearing, (Mar. 13, 2018

AM Trial Tr. 1594:21 – 1595:1), or how many people in Kansas had access to the hearing, (Id. at

1595:2 – 6). He also testified that the process of obtaining a hearing constitutes an additional

step that increases the marginal cost of registering to vote. (Id. at 1595:7-13.). As Dr. Richman

acknowledged in a peer-reviewed article called “Can the College Vote Turn Out,” “[e]lectoral

rules that increase the costs of voting are expected to diminish voter participation.” (Id. at

1567:24 – 1570:11; Ex. 153, Article by Dr. Richman “Can the College Vote Turnout”.)

       116.    Another of Defendant’s profferred expert witnesses, Hans von Spakovsky, also

offered the opinion that the DPOC requirement in Kansas is not burdensome because of the

existence of the alternative hearing option. (Mar. 9, 2018 PM, Trial Tr. 1114:7-11.) However, at

the time that he offered this opinion, Mr. von Spakovsky did not know how often the hearing



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procedure had been used in Kansas or to what extent Kansans are informed or are aware of this

procedure. (Mar. 9, 2018 PM, Trial Tr. 1114:12 – 1116:7.)

       117.      Since the effective date of the DPOC requirement, only five individuals have

utilized the hearing process to establish that they are U.S. citizens in order to register to vote.

(Mar. 12, 2018 AM Trial Tr. 1239:12 – 23; Ex. 150, Hearing Records (hearing records of only 5

individuals).)

       118.      Defendant Kobach proffered the testimony of one of these five individuals, Jo

French.   Ms. French testified that the hearing process was “very relaxed,” but she also

acknowledged that she “worked very hard to get [it] done,” (Mar. 12, 2018 PM Trial Tr. 1410:5-

22), and her purpose in offering her testimony was to make Defendant Kobach “look good,” (Id.

at 1423:5-15; 1429:22 – 1430:3). As a result of the hearing process, Ms. French described

herself and Deputy Secretary of State Eric Rucker as her “friends.” (Id. at 1424:10 – 1425:3.)

       119.      The substance of Ms. French’s testimony suggests that the hearing procedure does

not mitigate the burdens of the DPOC requirement. First, Ms. French had to pay $8 for the state

of Arkansas to search for her birth certificate—which she already knew it could not locate as she

had requested the document twice before—in order to obtain official confirmation that her birth

certificate did not exist. (Mar. 12, 2018 PM Trial Tr. 1415:17 – 1416:4.) She then had to collect

various other documents, and enlisted the help of four individuals to do so: (1) Deputy Secretary

of State Rucker, who reached out to Ms. French’s friends; (2) Kay Huggins, a friend in Arkansas

who helped locate Ms. French’s baptism record and wrote a letter on her behalf; (3) the school

secretary at Rector’s School District in Arkansas who helped locate Ms. French’s school records;

and (4) Ms. Sherry Doles, Ms. French’s cousin, who spoke with Mr. Rucker. (Id. at. 1416:5 –

1419:4, 1424:15 – 1425:5; Ex. 150, Hearing Records, at 55-73.) Next, Ms. French had to enlist



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the assistance of another friend, Ms. Susan, who drove her to and from the hearing, which was

40 minutes from her home, on a rainy day which are difficult travel days for Ms. French due to a

knee replacement. (Mar. 12, 2018 PM Trial Tr.1419:10-22.) Ms. French testified that the entire

process, from her initial voter registration attempt until completion of her hearing, took her over

5 months. (Id. at 1412:19-21; 1419:10-13; Ex. 150.)

       120.    Present during Ms. French’s hearing was Defendant Kobach, the Kansas

Lieutenant Governor, and a representative from the Attorney General’s Office.           (Ex. 150,

Hearing Records, at 55.) Also in attendance were at least two personnel from the KSOS, and

members of the media. (Mar. 12, 2018 PM Trial Tr. 1419:23 – 1421:15.) The hearing lasted 30-

35 minutes. (Id at 1410:14-20.)

       121.    Following the hearing Ms. French stated: “I just thought it was strange that I had

to go through this procedure to be able to vote. And any other state you go in, throw down your

driver’s license and that gives you the right to vote. So this was totally off the wall for me.”

(Mar. 12, 2018 PM Trial Tr. 1421:20 – 1422:4.) She also stated, “I don’t look funny. I don’t

talk funny, I’ve been here all my life,” and that she couldn’t imagine having to go through so

much to prove she could vote. (Id. at 1421:16 – 1422:10.)

       122.    The record contains information about four other individuals who utilized the

hearing process, and their experiences provide further evidence as to the DPOC requirement’s

burdens. (Ex. 150, Hearing Records.) One individual who established citizenship through a

hearing, with the initials T.C., was represented by counsel at the hearing. (Ex. 150 2). Another

individual who used the hearing process, Dale Weber, stated that he did not possess citizenship

documents and procuring such documents was cost prohibitive. (Ex. 150 at 46.) A third

individual was born in the Philippines illegitimately, came to the United States as a young girl



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with her mother, who was a green card holder and later naturalized while her daughter was under

the age of 18, which automatically rendered the daughter a U.S. citizen as well; but the applicant

lacked any documentation of these events, and was forced to appear before three high-ranking

government officials in order to register to vote. (Mar. 12, 2018 AM Trial Tr. 1228:2-21; Ex.

150 at 50-53.)

       123.      During Mr. Weber’s hearing, the State Election Board accepted an affidavit that

Mr. Weber executed on his own behalf as proof of his citizenship. (Ex. 150, Hearing Records, at

46.) That is consistent with Defendant Kobach’s past representation, as a member of the State

Election Board, that a declaration and nothing more would be sufficient to establish citizenship

at a hearing. (Mar. 8, 2018 PM Trial Tr. 787:20 – 788:9 (Caskey Testimony).)

       B. Defendant’s Evidence Regarding DPOC Possession Rates

       124.      Defendant proffered the testimony of two expert witnesses, Patrick McFerron and

Dr. Richman, regarding the rate of DPOC possession in Kansas, derived from two separate

surveys.

           i. McFerron’s Survey Regarding Document Possession Rates Among Eligible
              Kansas Voters

       125.      At Defendant’s request, the polling firm of Defendant’s proffered expert Patrick

McFerron conducted a telephone survey regarding “the rates of possession of . . documentary

proof of citizenship in Kansas (the “McFerron Survey”). (Mar. 19, 2018 AM Trial Tr. 1885:21-

24, 1903:20 – 1904:8.)

       126.      Mr. McFerron is a pollster, not a statistician. (Mar. 19, 2018 AM Trial Tr.

1951:9.) Mr. McFerron took one statistics course as an undergraduate and one statistics course

while he was a master’s student, though he cannot recall the name of the graduate statistics

course. (Id. at 1961:6-1962:1.) Although Mr. McFerron has heard of the common statistics term


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“T Statistic,” he does not know what it means nor does he know how to calculate it. (Id. at

1962:19-1963:3.) Mr. McFerron has never written a peer-reviewed article. (Id. at 1955:2-4.)

Nor has he ever served as a peer reviewer for a journal. (Id. at 1955:5-7.) Mr. McFerron has not

published anything on survey methodology or polling methodology. (Id. at 1954:14-16.) At the

time of deposition, Mr. McFerron was not familiar with the American Association of Public

Opinion Research. (Id. at 1957:18-22.) He is not familiar with the basic concept of social

desirability as it relates to survey research. (Id. at 1946:12-19.) Mr. McFerron has never

previously testified as an expert witness. (Id. at 1950:5-7.)

       127.    While Mr. McFerron was proffered as Defendant’s expert,8 his submission in this

case fails to conform to the requirements of Federal Rules of Civil Procedure Rule 26(a)(2)(B).

The two-page summary that purports to summarize the results of the McFerron Survey does not

contain a statement of Mr. McFerron’s compensation,9 a statement of his qualifications, or a list

of all publications that he has either authored or co-authored in the past ten years. (Mar. 19, 2018

8
  Throughout Mr. McFerron’s direct examination, Defendant vacillated between treating Mr.
McFerron as a lay witness and treating him as an expert witness. (See, e.g., Mar. 19, 2018 AM
Trial Tr. 1933:8-17) (“Ms. Becker: And I would like to just state for the record that defendant
listed [Mr. McFerron] as a fact witness. He did not provide an expert report . . . Court: Well,
you’re being schizophrenic because you say that but then, on the other hand, you continue to
elicit testimony that really sounds like the testimony that you elicit from an expert witness.”)) At
the end of the direct examination, it appeared that Defendant settled on proffering Mr. McFerron
as an expert witness. (Id. at 1936:25 – 1937:17) (“Court: Ms. Becker, it would really help me in
analyzing this if you would tell me. Is [Mr. McFerron] being offered as an expert . . . someone
offering lay opinion? What is [Mr. McFerron] being offered for? A: . . . he’s being offered as an
expert . . . Court: All right. Because you not more than a few minutes ago told me the
opposite . . . . A: We’re electing expert.”)) Plaintiffs have preserved their objection that Mr.
McFerron is not qualified to testify in this case. (See id. at 1896:7 – 1898:22.)
9
 On direct examination, Mr. McFerron testified that he had charged Defendant $9,000 for the
McFerron Survey, (Mar. 19 AM Trial Tr. 1904:9-11), but he did not disclose until cross
examination that Defendant had two weeks earlier promised—through “email traffic” that was
not produced—to pay him additional compensation for “research” and for “testimony,” (id. at
1959:14 – 1960:13).


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AM Trial Tr. 1953:10 – 1954:2; see Ex. 863, Survey of Noncitizens and Executive Summary,10

at 1-2.) Mr. McFerron did not sign the two-page report that purports to summarize the results of

the McFerron Survey. (Mar. 19. 2018 AM Trial Tr. 1953:1-9; see Ex. 863 at 1-2.) At the time

that he conducted the McFerron Survey, Mr. McFerron himself did not know whether he was

being paid to be a fact witness or to be an expert witness. (Mar. 19 2018 AM Trial Tr. 1949:5-

13.)

       128.    The McFerron Survey purportedly found that 98% of “legal residents

surveyed . . . have either a birth certificate showing citizenship or a US passport readily

available” and that “[t]his increases to 99% when including other hospital records or military

records.” (Ex. 863, Survey of Noncitizens and Executive Summary, at 1.)

       129.    Plaintiffs’ rebuttal expert Dr. Matthew Barreto evaluated the McFerron Survey

and testified credibly as to the survey’s flaws. Dr. Barreto is a Professor of Political Science in

Chicano Studies at the University of California, Los Angeles. (Mar. 19, 2018 PM Trial Tr.

2046:18-20, 2047:18 – 2048:5.) He has taught several classes on research methodology and

survey methodologies, as well as classes on statistical analysis. (Id. at 2047:21 – 2048:5.) He

has authored four books and about 60 articles and book chapters—all of which have been subject

to peer review. Id. at 2048:10-16.) He is also the co-founder of the research and polling firm

Latino Decisions. (Id. at 2051:20-22.) In addition, Dr. Barreto’s expert testimony has been

credited by several courts in voting rights cases. See, e.g., Frank v. Walker, 17 F. Supp. 3d 837

(E.D. Wis. 2014), rev'd on other grounds; Veasey v. Perry, 71 F. Supp. 3d 627 (S.D. Tex. 2014),

aff’d in part, rev’d in part on other grounds, Veasey v. Abbott, 830 F.3d 216 (5th Cir. 2016) (en

10
  Ex. 863, Survey of Noncitizens and Executive Summary has not been officially admitted by
the Court. At trial, the Court permitted admission of this survey under advisement. (Mar. 19.
2018 AM Trial Tr. 1906:5-6.)


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banc).11

          130.   The McFerron Survey suffers from at least six flaws that render it unreliable as to

DPOC possession rates. First, the McFerron Survey does not contain a large enough sample for

reliable estimates about individuals who might be burdened by the DPOC requirement. The

McFerron Survey targeted eligible Kansas voters generally, rather than the pool of individuals

who are actually subject to the DPOC requirement: eligible Kansas voters who are not yet

registered to vote. (Ex. 863, Survey of Noncitizens and Executive Summary, at 8; see also Mar.

19. 2018 AM Trial Tr. 1984:13-15 (McFerron Testimony).) The McFerron Survey contained a

sample of only 65 individuals who were not yet registered to vote. (Ex. 863 at 8.) This is

substantially less than the sample size of 300-500 people that Mr. McFerron testified would be

necessary for reliable statistical results at the statewide level. (Mar. 19. 2018 AM Trial Tr.

1983:14-1984: 25.)

          131.   Second, even with respect to the eligible population generally, the sample of 500

Kansas adults in the McFerron Survey was not a representative sample of the entire eligible

voting population. (Mar. 19, 2018 PM Trial Tr. 2056:18-21 (Barreto Testimony).) The “most

important and single first principle” one considers in a survey is whether the survey sample is

representative of the population as a whole. (Id. at 2057:12 – 2058:1.) The McFerron Survey

did not look at respondents’ educational attainment, household income categories, and

homeownership or renter status in order to ensure representativeness. (Id. at 2058:8 – 2059:5.)

          132.   Rather than using weights, as is typical of most survey researchers, the McFerron

Survey relied on a quota-based approach. (Mar. 19, 2018 AM Trial Tr. 1964:10-11 (McFerron

Testimony); Mar. 19, 2018 PM Trial Tr. 2063:10-24 (Barreto Testimony).)               Most survey
11
     The Court takes judicial notice of these decisions.



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researchers use a weighting system to account for differences between a survey sample and the

larger population. (Mar. 19, 2018 AM Trial Tr. 1964:7-9, 1965:15-17 (McFerron Testimony).)

By contrast, quota sampling is a method of sampling that sets quotas for respondents who satisfy

given criteria, in this case geography, age, and gender. (Mar. 19, 2018 AM Trial Tr. 1934:7-12

(McFerron Testimony).) Mr. McFerron provides no citation to support his use of the quota

system. (Id. at 1964:14-17.) His use of quota sampling resulted in demographic inconsistences

between his survey and the Kansas citizen voting age population as a whole. (Mar. 19, 2018 PM

Trial Tr. 2067:15-20 (Barreto Testimony).) For example, Mr. McFerron reported in his survey

that 39% of households were below $50,000, while the census reports that this figure was 48%.

(Id. at 2067:21 – 2068:2.)

       133.    With respect to income, the McFerron Survey simply asked respondents a binary

question of whether their income is over or under $50,000 a year, (Mar. 19, 2018 AM Trial Tr.

1977:23 – 1978:3 (McFerron Testimony); Mar. 19, 2018 PM Trial Tr. 2061:8-14 (Barreto

Testimony)), which is insufficient to ensure that the survey sample matches the Kansas

population in terms of income stratification. (See Mar. 19, 2018 AM Trial Tr. 1972:15-19

(McFerron Testimony).) In particular, Mr. McFerron made no effort to ensure that his survey

sample was representative of the Kansas population in terms of the percentage of people living

below the poverty line, (id. at 1972:12-14), which is a critical omission given that poverty might

affect the probability that a person possesses a citizenship document like a passport. (Mar. 19,

2017 PM Trial Tr. 2060:13-19 (Barreto Testimony).)

       134.    The McFerron Survey was further biased in that the sample of those polled

differed from the Kansas population in other ways. For example, 50% of the McFerron Survey

respondents had a U.S. passport, but when checked against other records and documents



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provided by the State Department, only about 30% of Kansas households actually had a U.S.

passport. (Mar. 19, 2018 PM Trial Tr. 2068:14-24 (Barreto Testimony).) In addition, 83% of

the McFerron Survey respondents were registered to vote, but Census data—on which

Defendant’s other expert, Dr. Steven Camarota, relied when measuring registration rates, (Ex.

1140, Camarota Expert Rep., at 10)12—indicated that only approximately 68% of Kansans were

registered to vote. (Mar. 19, 2018 PM Trial Tr. 2069:22 – 2070:2 (Barreto Testimony).)

       135.   Third, the McFerron Survey was also implemented contrary to generally accepted

survey practices. (Mar. 19, 2018 PM Trial Tr. 2057:1-5 (Barreto Testimony).) The survey was

only conducted in the evening hours between Monday to Wednesday, (id. at 2081:2-14), and not

administered on any Sunday. (Mar. 19, 2018 AM Trial Tr. 1981:4-6 (McFerron Testimony).)

This sampling schedule precluded participation from individuals who, due to their work

schedule, may not have been available during those hours. (Mar. 19, 2018 PM Trial Tr. 2083:1-

7 (Barreto Testimony).)    The implementation of the McFerron Survey was performed in

violation of norms in the field of survey research. (Mar. 19, 2018 PM Trial Tr. 2057:1-5

(Barreto Testimony).)

       136.   Fourth, when reporting these results, Mr. McFerron did not include a response

rate, which makes it impossible to assess the reliability and the generalizability of the data

collected. (Mar. 19, 2018 AM Trial Tr. 1958:5-7, 1969:15-19 (McFerron Testimony); Mar. 19,

2018 PM Trial Tr. 2062:10-21 (Barreto Testimony).)

       137.   Fifth, the critical questions on the McFerron Survey about DPOC possession are

contaminated by bias, because their wording primed respondents to state that they possessed



12
  Ex. 1140, Camarota Expert Report, was provisionally admitted at trial under advisement by
the Court. (Mar. 12, 2018 AM Trial Tr. 1265:10-22.)

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DPOC even if they did not.       Before any questions about possession of DPOC are asked,

respondents were asked a series of nine questions that were prefaced with the following:

       Now I want to read you a short list of documents. Only one of these documents is
       needed in order to register to vote in Kansas. For each of these, please let me
       know if you have that document at your home, office, or other location or if
       someone else keeps the document for you and could get it to you if necessary, or
       if the document does not exist.

(Ex. 863, Survey of Noncitizens and Executive Summary, at 3; Mar. 19, 2018 AM Trial Tr.

1943:22 – 1944:16 (McFerron Testimony).) The nine questions that followed then asked about

the types of documents that can be used to meet the DPOC requirement (e.g., birth certificates).

(Ex. 863 at 3; Mar. 19, 2018 AM Trial Tr. 1913:8-18.) The initial prefatory statement, however,

primed the respondent that one of the documents on a list he/she would hear was needed in order

to register to vote in Kansas. (Mar. 19, 2018 PM Trial Tr. 2075:4 – 2076:14; see also 2079:3 –

2080:11 (Barreto Testimony).) Extensive political science research suggests that such priming

will lead to overreporting of whether individuals have access to documents. (Id. at 2076:15-

2077:20.)

       138.    Sixth, the McFerron Survey is also of limited value in determining the burdens of

the DPOC requirement, because it did not ask important follow-up questions. The individuals

who conducted the McFerron Survey did not break the preface into sub-parts, e.g., they did not

wait until after the respondent said that they did not have the particular document to ask whether

someone else keeps the document for them. (Mar. 19, 2018 AM Trial Tr. 1947:6-10 (McFerron

Testimony).) Respondents were not asked how long it would take for them to get a copy of their

birth certificates. (Id. at 1947:11-13.) Nor were they asked how much it would cost them to

obtain a birth certificate. (Id. at 1947:14-17.) Respondents were also not asked whether the

name on their birth certificate matches their current name. (Id. at 1947:18-21.) They were not



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asked whether the name on any document that could have been used to meet the DPOC

requirement matches their current name.         (Id. at 1947:18 – 1948:2.)        Mr. McFerron

acknowledged that people sometimes change their names, and thus, a person who answered that

they do possess DPOC might still be unable to satisfy the DPOC requirement because of a name

mismatch. (Id. at 1948:3-6).)

            ii. Dr. Richman’s Survey of Document Possession Rates Among Voters on the
                Suspense List

       139.    Defendant’s proffered expert Dr. Richman conducted a survey of individuals on

the Suspense Voter List, to assess the degree to which suspended voters have access to DPOC.

He estimated that 2.2% of self-identified citizens on the Suspense List do not possess DPOC, do

not have someone else who keeps such a document for them, and were not born in Kansas (and

thus, cannot rely on the KSOS’s efforts to locate the birth certificates of native Kansans). (Mar.

13, 2018 AM Trial Tr. 1586:25 – 1587:7.) Dr. Richman thus concludes that 97.8% of citizens on

the suspense list have what he describes as “immediate access” to DPOC. (Id. at 1586:15-24;

1591:22 – 1592:3.)

       140.    Dr. Richman’s estimate as to the DPOC possession rate among suspended citizens

is based on a total of 32 respondents who self-identified as U.S. citizens. (Mar. 13, 2018 AM

Trial Tr. 1590:15-24.) Concerned that these 32 individuals may have misstated their citizenship

status on the survey, Dr. Richman sought (but did not receive) confirmation through the

Department of Homeland Security that they were, in fact, U.S. citizens. (Id. at 1590:25 –

1591:10.)

       141.    While Dr. Richman claimed to estimate the number of individuals who had

“immediate access” to DPOC, his estimate includes individuals who do not personally possess

DPOC, but have someone who “keeps” such a document for them. (Mar. 13, 2018 AM Trial Tr.


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1586:25 – 1587:16, 1591:22 – 1592:25.) Obtaining a document from another person constitutes

an “additional step” in the voter registration process, which increases the costs of voting (id. at

1594:2-8 (Richman Testimony).) As Dr. Richman himself has written in his published articles:

“Electoral rules that increase the costs of voting are expected to diminish voter participation.”

(Id. at 1568:2 – 1570:11.)

       142.      Although Dr. Richman speculated that it would be relatively easy for a

registration applicant to obtain a citizenship document from another person who “keeps” the

document for them, his survey provides no information as to where the person who keeps the

document is, (Mar. 13, 2018 AM Trial Tr. 1592:21-25), for instance in another state, (id. at

1593:1-3), or how difficult it would be for the respondent to obtain the documents from the

person who keeps it, (id. at 1593:4-12). As such, Richman conceded that it was an overstatement

to say that a respondent has “immediate access” to DPOC when answering yes to the survey

question, (id. at 1593:13 – 1594:1).

       143.      Dr. Richman’s estimate of the DPOC possession rate concerns only people on the

Suspense List; it does not purport to assess the percentage of all eligible Kansas voters generally,

or the percentage of eligible but unregistered voters, who (1) do not have documents that would

satisfy the DPOC requirement, (2) do not have someone who keeps such a document for them,

and (3) were not born in the state of Kansas. (Mar. 13, 2018 AM Trial Tr. 1587:11-16, 1588:25

– 1589:5.) Dr. Richman testified that he sought to obtain information from the KSOS that would

allow him to calculate such an estimate, but that this information was not provided to him. (Id.

at 1589:6-12.)

       C. Defendant’s Proffered Evidence Regarding Turnout and Registration Rates

       144.      Defendant’s proffered expert Dr. Camarota offered testimony concerning

registration and turnout rates in Kansas, and opined that this evidence suggested that the DPOC
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requirement is not burdensome.

       145.    Dr. Camarota is the Director of Research at the Center for Immigration Studies

(“CIS”), a position that he held since 2000; he has worked at CIS since 1996. (Mar. 12, 2018

AM Trial Tr. 1308:13-24.) As the Director of Research at CIS, Dr. Camarota compiles reports

that generally concern immigration and citizenship topics. (Id. at 1336:12-15.) These reports are

not subject to the academic peer review process. (Id. at 1308:25 – 1309:7.) Dr. Camarota’s

dissertation was not about voter registration, voter turnout, or even voting generally. (Id. at

1307:23 – 1308:9.) He has never published a peer-reviewed publication related to the effect of

voter registration requirements on voter participation rates, voter registration requirements, voter

registration, voter turnout, or anything related to voting. (Id. at 1311:15 – 1312:8.)

       146.    Dr. Camarota believes that the current “level of immigration” is placing a strain

on one of the “glue[s] that holds the country together”—the English language. (Mar. 12, 2018

AM Trial Tr. 1339:11-21.) Dr. Camarota also believes that at the federal level, noncitizens are

more likely to commit crimes than citizens. (Id. at 1339:5-10). Further, as Director of Research

for CIS, Dr. Camarota has written: “It is almost certain that a majority of the non-citizens

convicted of federal crimes are illegal immigrants,” (Ex. 151, Center for Immigration Studies:

“Non-Citizens Committed a Disproportionate Share of Federal Crimes, 2011-16” at 1; see Mar.

12, 2018 AM Trial Tr. 1338:2-20), even though, by his own admission, “we cannot say for sure

[that a majority of non-citizens convicted of federal crimes are illegal immigrants] because that

information is not provided.” (Ex. 151 at 1.)

       147.    Dr. Camarota has testified in one case concerning voting.          In this case, Dr.

Camarota’s testimony was first limited based on his lack of qualifications, and then ultimately

rejected as misleading. In Bellitto v. Snipes, No. 16-CV-61474, 2017 WL 2972837, at *9 (S.D.



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Fla. July 12, 2017), the court initially issued a pretrial ruling finding that Dr. Camarota was “not

qualified to offer testimony as to the degree of accuracy of . . rates [of voter registration from

the Census Bureau's American Community Survey (“ACS”)].” (Mar. 12, 2018 AM Trial Tr.

1306:18 – 1307:8.) Following trial, the court conclusively rejected Dr. Camarota’s testimony

and analysis of ACS data, finding them to be “misleading” and “inaccurate” because he cherry

picked survey results, which does “not allow for an accurate comparison.” Bellitto v. Snipes, No.

16-61474, slip op. at 18, 19-20 (S.D. Fla. Mar. 30, 2018), ECF No. 244.

       148.    In this case, Dr. Camarota evaluated ACS data regarding overall voter registration

and turnout rates in Kansas between the 2010 and 2014 midterm elections, as well as similar data

from two neighboring states, Nebraska and Oklahoma, and national data from the United States

as a whole.13 (Mar. 12, 2018 AM Trial Tr. 1270:2 – 1271:10.) He testified that, in Kansas, the

ACS registered a small decrease in the overall voter registration rate but a small increase in

overall voter turnout in 2014 versus 2010. (Id. at 1320:12-16, 1270:2 – 1271:10; Ex. 1140,

Camarota Expert Rep., at 10.) Dr. Camarota relies on this survey information to conclude that

“there is no indication that Kansas’s proof of citizenship requirement has negatively affected

registration and voting rates of U.S. citizens in the state.” (Ex. 1140 at 8.)

       149.    Dr. Camarota does not provide a breakdown of the people who registered to vote

before the DPOC law went into effect on January 1, 2013 and the people who registered to vote

after it went into effect. (Mar. 12, 2018 AM Trial Tr. 1270:2 – 1271:10) (“The Court: In other

words, there’s not a breakdown between the people that registered to vote before DPOC became
13
  Dr. Camarota also drew conclusions based on administrative data provided to him by State
Elections Director Bryan Caskey. (Mar. 12, 2018 AM Trial Tr. 1312:20 – 1313:1.) Despite not
knowing how Mr. Caskey maintained the data and knowing that administrative data can often
have inconsistencies, (id. at 1313:2-7), Dr. Camarota asked Mr. Caskey for whatever data he had
because “time was of the essence.” (Id. at 1315:17 – 1316:2.)



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effective on January 1, 2013 and after . . . . No breakdown. Correct? A. Yeah, this is just who

was registered at each point in time.”) Likewise, Dr. Camarota did not supplement his July 1,

2016 expert report with comparisons of voter registration data and voter turnout data from the

2012 presidential election (i.e., the presidential election before the DPOC law went into effect)

with voter registration data and voter turnout data from the 2016 presidential election (i.e., the

presidential election after the DPOC law went into effect). (Id. at 1323:22 – 1324:4; Ex. 1140,

Camarota Expert Rep., at 15.)

       150.    Dr. McDonald, who has substantial experience analyzing and publishing research

on voter registration and turnout, credibly testified that measuring a change in overall registration

and voting rates in Kansas between two midterm elections does not meaningfully assist in

evaluating the law’s impact on voter registration for at least three reasons.

       151.    First, because the DPOC law applies only to new applicants, it would not

reasonably be expected to have a major impact on total registration and turnout rates in Kansas,

as measured by survey data. (Mar. 6, 2018 PM Trial Tr. 158:1-21.) The large majority of voters

in Kansas registered before 2013, and were exempt from the DPOC requirement. (K.S.A. § 25-

2309(n); PTO Stip. ¶ 50; Mar. 6, 2018 PM Trial Tr. 154:24 – 156:2.) Comparatively speaking,

the total of approximately 30,000 Kansas voters blocked by the DPOC requirement is “a small

number relative to the overall number of [1.8 million] registrants in Kansas . . . [a]nd so it would

be difficult to tease out with an aggregate analysis what the effect of a law like that is” on overall

registration and turnout in the state. (Mar. 6, 2018 PM Trial Tr. 240:23-24:18 (McDonald

Testimony).)

       152.    Second, Dr. Camarota’s opinion is not a reliable basis for assessing the effect of

the DPOC requirement because Dr. Camarota failed to control for differences in the electoral



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environments in 2010 and 2014. In concluding that “Kansas saw no significant change in the

share of voting-age citizens who voted” based on a comparison of data from the 2010 and 2014

elections, (Ex. 1140, Camarota Expert Rep., at 3), Dr. Camarota assumed that the only difference

between those two elections was the implementation of the DPOC requirement. (Mar. 6, 2018

PM Trial Tr. 179:13-19 (McDonald Testimony) (“And the reason why I call [Dr. Camarota’s

approach] indirect evidence is because in order to make a valid comparison of that nature, I have

to assume that the only thing that has changed, say, from the 2010 election to the 2014 election

in Kansas, is the documentary proof of citizenship law. That is just not true. There are other

election effects that are going on.”).)

       153.    Dr. Camarota did not control for any differences between the 2010 and 2014

elections that could have affected overall registration and turnout levels, such as differences in

the level of competitiveness or in the particular tactics that various campaigns used. (Ex. 1140,

Camarota Expert Rep. at 3; Mar. 12, 2018 AM Trial Tr. 1328:11 – 1330:11 (Camarota

Testimony).) The electoral environment in Kansas in 2010 and 2014 was very different because

the senate and gubernatorial races were much more competitive in 2014 than in 2010 and those

differences—among other factors—frequently affect overall turnout levels. (Mar. 6, 2018 PM

Trial Tr. 179:20 – 180:25 (McDonald Testimony); see Mar. 12, 2018 PM Trial Tr. 1366:9 –

1367:22 (Camarota Testimony).) Dr. Camarota conceded that these factors could affect turnout

rates in Kansas and that he did not control for them. (Mar. 12, 2018 AM Trial Tr. 1329:8-20.)

       154.    In arriving at his conclusion that Kansas “bucked the national trend” of a decline

in voter registration between 2010 and 2014, (Mar. 12, 2018 AM Trial Tr. 1277:23 – 1278:17;

Ex. 1140, Camarota Expert Rep., at 13)), Dr. Camarota did not control for any differences in

state laws between 2010 and 2014. (See Mar. 12, 2018 AM Trial Tr. 1345:16 – 1345:19 (“Q: So



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assuming that Texas didn't have a voter ID [law] in 2010 and it did have one in 2014, you didn't

control for that. Correct? . . . A: [N]o, I did not.”)) Nor did Dr. Camarota assess whether the 2010

and 2014 elections in Nebraska or Oklahoma were comparable to those in Kansas during the

same years, thereby hindering any attempt to draw comparisons between the 2010 and 2014

elections in these states. (Id. at 1330:6-11.)

       155.    Third, Dr. Camarota’s analysis relies unnecessarily on survey data—rather than

direct data regarding individuals whose applications were blocked—and thus introduces a range

of variables and uncertainty to the analysis. (Mar. 6, 2018 PM Trial Tr. 181:19 – 183:14

(McDonald Testimony); see Mar. 12, 2018 AM Trial Tr. 1316:20 – 1317:11 (Camarota

Testimony).) It is more reliable to use direct, individual-level data from the Kansas voter file

regarding actual voter registration applicants who were suspended or canceled—which is what

Plaintiffs’ expert Dr. McDonald did—rather than relying on survey evidence about aggregate

levels of turnout. (Mar. 6, 2018 PM Trial Tr. 181:1-18, 183:15-24 (McDonald Testimony).)

       156.    Regardless of whether, according to survey data, overall registration or turnout

rates went up or down in Kansas between 2010 to 2014, more than 30,000 applicants were

prevented from registering to vote because of the DPOC requirement. (Id. at 154:10-24.)

       D. Defendant’s Proffered Evidence About the Number of Suspended and Canceled
          Voters After the Preliminary Injunction Went Into Effect

       157.    Defendant also proffered evidence about the number of suspended or canceled

voters after the Court’s May 17, 2016 preliminary injunction. (Mar. 8, 2018 PM Trial Tr.

892:10-24, 896:2-11 (Caskey Testimony).) The Court excluded this evidence because it was not

timely disclosed to Plaintiffs, despite Defendant’s continuing duty to disclose evidence

responsive to discovery requests concerning the number of voter registration applicants who

were suspended or canceled due to the DPOC requirement. (Id. at 894:19 – 895:8, 896:13 –


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899:11, 901:2 – 902:11.) Nevertheless, the evidence at trial indicated that, even if this post-

preliminary injunction evidence had been admitted, it would have little probative value.

       158.    First, the evidence proffered by Defendant indicated that thousands of voter

registration applicants continue to be suspended or canceled due to the DPOC requirement,

which is not materially different from the evidence that was admitted concerning the effect of the

DPOC requirement.       (Mar. 8, 2018 PM Trial Tr. 892:10-24, 896:2-11, 899:5-11 (Caskey

Testimony).)

       159.    Second, and more importantly, reductions in the numbers of canceled and

suspended applicants are due to the Court’s preliminary injunction order. As a result of the

Court’s preliminary injunction, the KSOS has not canceled any motor-voter applications for

failure to provide DPOC. (Mar. 9, 2018 AM Trial Tr. 945:16 – 946:3 (Caskey Testimony).)

Therefore, as Defendant’s expert Dr. Camarota acknowledged, the preliminary injunction is a

“confounding factor that would not allow us to evaluate the likely impact of the [SAFE Act].”

(Mar. 12, 2018 PM Trial Tr. 1377:22-25 (Camarota Testimony).)

VI.    PURPORTED INCIDENTS OF NONCITIZEN REGISTRATION

       A. Lay Testimony Concerning Purported Incidents of Noncitizen Registration

           i. Defendant’s      Pre-Trial   Assertions    Regarding     Incidents   of   Noncitizen
              Registration

       160.    Prior to trial, Defendant asserted that, dating back to the year 2000, State

Elections Director Bryan Caskey and Sedgwick County Election Officer Tabitha Lehman had

collectively identified 127 individuals who they believe were noncitizens at the time that they

registered to vote or attempted to register to vote. (PTO Stip. ¶¶ 83-84.)

       161.    127 individuals equal approximately .007% of the 1.8 million registered voters in

Kansas. (PTO Stip. ¶¶ 80-81.)


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        162.   Most of these 127 individuals were not confirmed to be noncitizens at the time of

their registration applications. A majority (79) of these 127 individuals were identified by

comparing the voter file to the TDL list, (PTO Stip. ¶ 94), but the KSOS did not take steps to

confirm that these TDL holders were still noncitizens (and had not obtained citizenship) at the

time that they registered to vote. (Mar. 13, 2018 AM Trial Tr. 1574:2-10, 1576:4-16 (Richman

Testimony); Mar. 13, 2018 PM Trial Tr. 1718:19-25 (Hersh Testimony).)

        163.   Most of these 127 individuals did not successfully register to vote. Of these 127

individuals, only 43 successfully registered to vote. (PTO Stip. ¶ 85.)

        164.   Only 11 of these 43 successful registrants have ever voted. (PTO Stip. ¶ 87.) For

context, in general elections from 2000 through 2016, a total of more than 9 million votes were

recorded for the highest statewide office on the ballot. (See Election Nos. Stip., ECF No. 495,

¶ 1.)

        165.   Of the 127 individuals Defendant believed were noncitizens at the time they

registered or attempted to register to vote, only 47 were marked in ELVIS as having failed to

provide DPOC (as opposed to being prevented from successfully registering for other reasons).

(PTO Stip. ¶ 86.)

        166.   Of these 127 individuals, only 88 are motor-voter applicants. (PTO Stip. ¶ 88.)

Of those 88 motor-voter applicants, only 25 successfully registered to vote. (PTO ¶ 89.) Only 5

of these 25 successful motor-voter registrants have ever voted. (PTO Stip. ¶ 91.) Only 32 were

marked in ELVIS as having failed to provide DPOC (as opposed to being prevented from

successfully registering for other reasons). (PTO ¶ 90.)

        167.   At trial, Defendant did not present evidence concerning all 127 of these purported

incidents. Rather, his evidence, taken at face value, amounts to at most 120 purported incidents



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of noncitizen registration or attempted registration: (1) 38 incidents of purported noncitizen

registration or attempted registration found on a spreadsheet of individuals in Sedgwick County;

(2) 79 possible noncitizens on the voter rolls identified by comparing the voter rolls with a list of

TDL holders; and (3) 3 possible noncitizens on the voter rolls identified by comparing the voter

rolls with jury questionnaire responses.

       168.     A majority of these 120 individuals were identified through a TDL match, and

thus, as explained above, were not confirmed to be noncitizens at the time of their registration

applications.

       169.     Of these 120 individuals, Defendant presented evidence at trial of at most 35

instances of successful registrations by noncitizens. Of the 120 purported incidents of noncitizen

registration or attempted registration there were 38 are from the spreadsheet of individuals in

Sedgwick County. See infra ¶ 171. Of those 38 cases, only 18 successfully registered to vote.

See infra ¶ 172. With respect to the remaining 82 incidents—79 of which were identified by

TDL match, and 3 by examining juror questionnaires—at most 17 of them represented successful

registrations (14 from the TDL match, and 3 from the jury questionnaires). See infra ¶¶ 179,

186. When combined with the 18 successful cases from Sedgwick County, this amounts to a

total of 35 possible successful noncitizen registrations dating back to the year 1999.

       170.     Of these 35 incidents identified, only 6 voted (5 from the Sedgwick County

spreadsheet, and 1 from the TDL match). See infra ¶¶ 173, 181.

           ii. Testimony of Tabitha Lehman Regarding Sedgwick County Individuals

       171.     A spreadsheet originally created by Ms. Lehman—but now maintained and edited

by the KSOS—lists 38 individuals whom she believes were noncitizens at the time that they

were registered to vote or attempted to register to vote over a 18-year period (1999 – 2017).

(Mar. 8, 2018 AM Trial Tr. 682:13-20 (Lehman Testimony; Ex. 1133, Updated Sedgwick Cty.
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Chart.) The spreadsheet compiles information concerning purported incidents of noncitizen

registration or attempted registration that Ms. Lehman collects based on reports provided by her

employees. (Mar. 7, 2018 PM Trial Tr. 549:17-24.) Ms. Lehman did not personally discover the

purported incidents on the spreadsheet or have personal contact with each applicant on the

spreadsheet. (Mar. 7, 2018 PM Trial Tr. 549:17 – 550:2, 551:19-21.)

       172.   Of the 38 individuals collected by Ms. Lehman, only 18 successfully registered to

vote in Kansas. (Mar. 8, 2018 AM Trial Tr. 681:7-10; Ex. 1133, Updated Sedgwick Cty. Chart,

at 1-3.) These 18 individuals registered to vote over a 12-year period. (Ex. 1133 at 1-3; Mar. 8,

2018 AM Trial Tr. 681:7-15 (Lehman Testimony).)

       173.   Of these 18 individuals, 5 voted. (Mar. 8, 2018 AM Trial Tr. 685:5-15; Ex. 1133,

Updated Sedgwick Cty. Chart, at 1-3.)

       174.   Of the 18 alleged noncitizens who successfully registered in Sedgwick County, 9

registered to vote through the DOV.        (Mar. 8, 2018 AM Trial Tr. 681:16-22 (Lehman

Testimony); Ex. 1133, Updated Sedgwick Cty. Chart, at 1-3.) Of the 9 alleged noncitizens who

were successfully registered to vote in Sedgwick County through the DOV, 2 individuals voted.

(Mar. 8, 2018 AM Trial Tr. 681:23 – 682:1; Ex. 1133 at 2-3.)

       175.   A closer look at the information in Ms. Lehman’s spreadsheet and the underlying

voter registration records for these applicants shows that several of the 18 alleged noncitizens

who were successfully registered in Sedgwick County were on the rolls due to administrative

error and/or registrant mistake or confusion. For example:

       a. Thirteen of the 18 alleged noncitizens who successfully registered in Sedgwick

           County were on the voter registration rolls for extended periods of time, but never

           voted, indicating their registration was most likely unintentional and the result of



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   error or mistake. (Ex. 1133, Updated Sedgwick Cty. Chart, at 1-3 (alleged noncitizen

   registrant 1424962 registered for nearly 12 years but never voted as a noncitizen;

   (alleged noncitizen registrant 5053234 registered for 8 years but never voted as a

   noncitizen; alleged noncitizen registrant 5055911 registered for 8 years but never

   voted as a noncitizen; alleged noncitizen registrant 5063593 registered for 7 years but

   never voted as a noncitizen; alleged noncitizen registrant 5291075 registered for 6

   years but never voted as a noncitizen; alleged noncitizen registrant 5399277

   registered for 5 years but never voted as a noncitizen; alleged noncitizen registrant

   5401038 registered for 5 years but never voted as a noncitizen; alleged noncitizen

   registrant 5381681 registered for 5 years but never voted as a noncitizen); Mar. 8,

   2018 AM Trial Tr. 683:7-16 (alleged noncitizen registrant 1373536 registered for 18

   years but never voted as a noncitizen); id. at 683:17-21 (alleged noncitizen registrant

   4296515 was registered for 12 years but never voted as a noncitizen); id. at 683:22 –

   684:1 (alleged noncitizen registrant 5217728 was registered for 6 years but never

   voted as a noncitizen); id. at 684:2-8; alleged noncitizen registrant 5407885 was

   registered for 7 years but never voted as a noncitizen); id. at 684:9-12 (alleged

   noncitizen registrant 5408582 was registered for 7 years but never voted as a

   noncitizen).

b. The individual identified by the KSOS as noncitizen registrant 5407885 listed an “A

   number” or “Alien number” in the field for “Naturalization number (if applicable)”

   on her voter registration form evidencing the registrant’s confusion about voter

   qualifications. (Mar. 8, 2018 AM Trial Tr. 689:8 – 690:16 (Lehman Testimony);

   Ex. 143, ELVIS Registrant Details for “MB,” at 29; see also Ex. 74, 2017.03.15



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           Minnite Expert Rep., at 18 (opining that an applicant’s use of an alien registration

           number of voter registration application “suggest[s] voter confusion rather than an

           intent to deceive”).)

       c. The individual identified by the KSOS as noncitizen registrant 1447321 voted 4 times

           between 2004 and 2008 but stated that she “was a permanent resident of the U.S. and

           did not know she wasn’t allowed to vote until after 2008 when one of her friends told

           her she couldn’t, she then stopped voting.” (Ex. 1133, Updated Sedgwick Cty. Chart,

           at 1; Ex. 1292, Underlying Documents for Ex. 1133, at 25.)

       176.    Ms. Lehman’s spreadsheet and the underlying voter registration records for these

applicants likewise show that several of the 20 alleged noncitizens who attempted to register also

did so as a result of administrative error and/or applicant mistake or confusion. For example:

       177.    Alleged noncitizen applicant 5657157 indicated to the DOV that she was not a

citizen, but the DOV had nonetheless processed a voter registration application for this

individual. (Ex. 1133, Updated Sedgwick Cty. Chart, at 3; Ex. 22, Lehman email re: noncitizen

attempting to register; Ex. 99, ELVIS Registrant Details for “AS,” at 5; Mar. 9, 2018 AM Trial

Tr. 1004:20-25, 1005:17-22 (Minnite Testimony); Mar. 7, 2018 PM Trial Tr. 531:4 – 532:13

(Lehman Testimony).) As Ms. Lehman stated in an email with the former election director, Brad

Bryant, “I think you did the right thing cancelling the registration [of registrant 5657157]. I just

wish DMV would not register people who they know to be noncitizens.” (Ex. 22, Lehman email

re: noncitizen attempting to register; Ex. 99 at 5.) And upon learning about her voter application,

the applicant wrote to the DOV “Please put on your record that I am not a citizen. I cannot

vote.” The applicant underlined “am not” and “I cannot vote.” (Ex. 99 at 4; Mar. 9, 2018 AM

Trial Tr. 1005:9-16 (Minnite Testimony).)



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       178.    Alleged noncitizen applicant 5772434 also indicated to the DOV that she was not

a citizen, but the DOV had nonetheless processed a voter registration application for this

individual. The notes field in the applicant’s ELVIS file states that the applicant “came into the

office with a POC notification letter and stated that her registration was a mistake on the part of

the DMV when she renewed her license. She is not a U.S. citizen. She filled out a cancellation

form.” (Ex. 1133, Updated Sedgwick Cty. Chart, at 5; Ex. 101, ELVIS Registrant Details for

“GR,” at 4; Mar. 8, 2018 AM Trial Tr. 692:6-16 (Lehman Testimony); Mar. 9, 2018 AM Trial

Tr. 996:4 – 998:5 (Minnite Testimony).) There is no evidence that this applicant signed an oath

indicating that she was a U.S. citizen. (Mar. 8, 2018 AM Trial Tr. 692:22-693:4 (Lehman

Testimony); Ex. 101; Mar. 9, 2018 AM Trial Tr. 998:6-18 (Minnite Testimony).)

       179.    The DOV processed a voter registration application for the individual identified

by the KSOS as noncitizen applicant 5642186 even though this applicant later produced a

“Resident Alien” as proof of U.S. citizenship and responded in the negative when asked by the

Sedgwick County Election Office if the applicant was a U.S. citizen. (Mar. 9, 2018 AM Trial Tr.

at 1001:12 – 1002:9; 1003:2 – 21 (Minnite Testimony); Ex. 1133, Updated Sedgwick Cty. Chart,

at 4; Ex. 100, ELVIS Registrant Details, at 4, 7.) The applicant completed a request to cancel his

registration. (Ex. 100, ELVIS Registrant Details, at 4-5, 7.)

       180.    Also included among the 20 purported instances of attempted noncitizen

registrations in Ms. Lehman’s spreadsheet are alleged noncitizens who did not respond to the

question “Are you a citizen of the United States of America” on the voter registration form and

thus their applications should have been rejected as incomplete on their face. (Mar. 8, 2018 AM

Trial Tr. 691:12-21 (Lehman Testimony) (acknowledging that application without response to

citizenship question is incomplete).) For example:



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       a. The individual identified by the KSOS as noncitizen applicant 5733764, submitted a

           voter registration form without responding to the question “Are you a citizen of the

           United States of America” on the voter registration form. (Mar. 8, 2018 AM Trial Tr.

           690:20 – 691:21 (Lehman Testimony); Mar. 9, 2018 AM Trial Tr. 1005:23 – 1007:12

           (Minnite Testimony); Ex. 1133, Updated Sedgwick Cty. Chart, at 4; Ex. 98, ELVIS

           Registrant Details for “MM,” at 2.) Notably, this applicant later responded “Yes” to

           this same question on the voter registration form that the applicant completed on the

           day she became a U.S. citizen. (Ex. 98 at 3-5.)

       b. Alleged noncitizen applicant 5660352 also submitted a voter registration form

           without responding to the question “Are you a citizen of the United States of

           America” on the voter registration form. (Mar. 9, 2018 AM Trial Tr. 999:3 – 1001:11

           (Minnite Testimony); Ex. 1133, Updated Sedgwick Cty. Chart, at 3-4; Ex. 97, ELVIS

           Registrant Details for “BC,” at 3-4.) The notes field in the applicant’s ELVIS file

           states the applicant “informed [the election official] that she is not a citizen” and that

           she would send a cancellation form “ASAP.” (Mar. 9, 2018 AM Trial Tr. 1000:2 –

           1001:12 (Minnite Testimony); Ex. 97 at 2; Ex. 1133 at 3-4.)

       181.    Ms. Lehman also testified that she had sent on to Defendant Kobach as an

instance of a noncitizen who attempted to register an applicant who had checked “No” in

response to the question “Are you a citizen of the United States of America” on the voter

registration form.   (Mar. 7, 2018 PM Trial Tr. 529:18 – 530:22; Ex. 80, Kansas Voter

Registration Application for “EE”; see also Mar. 9, 2018 PM Trial Tr. 1004:7-19 (Minnite

Testimony).) This is additional evidence that some of the identified incidents of noncitizen

registration or attempted registration identified by Defendant likely reflect administrative error



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and/or voter confusion.       (Mar. 9, 2018 PM Trial Tr. 1004:7-19; 1006:13-24 (Minnite

Testimony).) In fact, Ms. Lehman herself acknowledged that the DOV makes mistakes. (Mar.

7, 2018 PM Trial Tr. 532:9-13 (“Q: This is someone who told the DMV that she is not a citizen.

Correct? A: As far as I know. Q And this was a mistake by the DMV. Correct? A: It would

appear to be”).)

           iii. Testimony of Bryan Caskey Regarding TDL Holders

       182.    Mr. Caskey testified that by comparing the TDL lists to the voter rolls, the KSOS

identified 79 individuals who were registered to vote and had once held a TDL. (Mar. 8, 2018

PM Trial Tr. 752:23 – 753:5.)

       183.    Plaintiff’s rebuttal expert, Dr. Eitan Hersh, provided credible testimony that this

number, like those offered by Ms. Lehman in Sedgwick County, is misleading. Dr. Hersh is an

expert in voter registration records and matching analysis. He is a tenured professor of political

science at Tufts University, (Mar. 13, 2018 PM Trial Tr. 1710:13-17), whose academic research

is focused on studying large-scale individual databases, like voter registration files, and matching

those databases to other sources of individual-level data, (id. at 1711:1-13) (noting that Dr. Hersh

has published peer-reviewed research on the topic). Dr. Hersh performed his own matching

analysis, finding 82 matches in total—substantially similar to the 79 matches identified by Mr.

Caskey. (id. at 1724:3-12.)

       184.    Dr. Hersh analyzed the 79 individuals identified by Mr. Caskey and provided

additional information on these individuals based on ELVIS records.14 He found that only 14



14
  Dr. Hersh’s second supplemental report provides information from the ELVIS file for 80
matched individuals, not 79. (Ex. 107, 2d Suppl. to Hersh Expert Rep., at 3.) This is because Mr.
Caskey, in his affidavit dated Jan. 30, 2017, indicated that he had found 80 matches in his
comparison of the TDL list to the ELVIS file. (See Caskey Decl. (1/30/17), ECF No. 384-9,


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successfully registered to vote in Kansas. (Ex. 107, 2d Suppl. to Hersh Expert Rep., at 3 (11

Active, 3 Inactive).) 12 currently have or had the “CITZ” code in their ELVIS records at one

point.   (Ex. 107 at 3.)   In other words, of these 79 individuals a total of only 26 either

successfully registered to vote or were blocked from registering because of the DPOC

requirement. Only one of these 79 individuals ever voted in Kansas. (Ex. 107 at 3.)

         185.   Of these 79 individuals, 25 were motor-voter applicants. (Ex. 107, 2d Suppl. to

Hersh Expert Rep., at 3.) Nine are motor-voter applicants who successfully registered to vote in

Kansas. (Ex. 107 at 3 (8 Active, 1 Inactive).) One is a motor-voter applicant whose ELVIS

record has or had the “CITZ” code at one point. (Ex. 107 at 3.) Only 1 motor-voter applicant

from the TDL match ever voted in Kansas. (Ex. 107 at 3.)

         186.   As Dr. Hersh explained, matches from the TDL list to the voter file do not

necessarily represent noncitizens who are registered or who attempted to register to vote, for at

least two reasons. First, there is the problem of false positives—that is, records that appear to be

a match but in fact represent two different people. (Mar. 13, 2018 PM Trial Tr. 1717:21 –

1718:18.) For example, two different individuals with the same common name and birth date

may have been matched incorrectly as a false positive. (Id. at 1718:8-18.)

         187.   Second, even in the event of a correct match, the mere fact that someone appears

on both the TDL list and the voter file does not mean that the person was a noncitizen at the time

that person applied to register to vote. It is possible that someone could obtain a TDL, and then

naturalize prior to registering to vote. (Mar. 13, 2018 PM Trial Tr. 1718:19-25; see also Ex. 74,

2017.03.15 Minnite Expert Rep., at 17.)        Defendant’s expert Dr. Jesse Richman similarly


at 1.).) As Mr. Caskey clarified in his affidavit dated Mar. 24, 2017, one of the matches is a
duplicate, and the corrected total is hence 79. (Caskey Decl. (3/24/17), ECF No. 367-3, at 2.)


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testified that, for the same reason, he does not believe that someone is a noncitizen simply by

virtue of appearing on the TDL list. (Mar. 13, 2018 AM Trial Tr. 1574:2-10, 1576:4-16.)

       188.    Defendant did not establish that the 79 individuals from Mr. Caskey’s TDL match

were in fact noncitizens at the time that they registered to vote.

           iv. Testimony of Bryan Caskey Regarding Juror Questionnaires

       189.    Mr. Caskey testified that by comparing citizenship responses on juror

questionnaires to the voter rolls, the KSOS identified 3 individuals who self-identified as

noncitizens on juror questionnaires who were also registered to vote. (Mar. 8, 2018 PM Trial Tr.

754:22 – 755:13).

       190.    Defendant did not offer any supporting evidence that these individuals were in

fact noncitizens at the time they registered to vote.

       191.    Individuals who state on a jury questionnaire that they are noncitizens are not

necessarily noncitizens, because citizens sometimes claim to be noncitizens in order to evade

jury duty. (Mar. 8, 2018 PM Trial Tr. 754:14 – 755:13, 757:20-25 (Caskey Testimony); Mar. 9,

2018 PM Trial Tr. 1081:21 – 1082:10 (von Spakovsky Testimony).)

       B. Defendant’s Proffered Expert Testimony Concerning Purported Incidents of
          Noncitizen Registration

       192.    In addition to the lay testimony described above, Defendant proffered expert

testimony concerning specific incidents of purported noncitizen registration in the form of: (1) a

TDL-suspense list match performed by Dr. Jesse Richman; (2) a match of green card records in

DOV files to the voter file presented by Richman; and (3) the testimony of Hans von Spakovsky.




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           i. Dr. Richman’s TDL-Suspense List Match

       193.    Defendant proffered Dr. Jesse Richman 15 as an expert to conduct matching

between the TDL list and the suspense list. The suspense list that he used is a subset of the voter

file, consisting of individuals who have attempted to register to vote but whose form is

incomplete because they have not provided documentary proof of citizenship, (Mar. 13, 2018

AM Trial Tr. 1570:25 – 1571:7), or for reasons other than documentary proof of citizenship, (id.

at 1571:11-14).

       194.    Dr. Richman has never been qualified as an expert witness in any other case.

(Mar. 13, 2018 AM Trial Tr. 1555:3-18.) He has never published any peer-reviewed research

based on matching analysis of databases to a state’s voter registration file. (Id. at 1561:3-7.)

       195.    Dr. Richman identified 16 people who are purportedly on both the suspense list

and the TDL list. (Mar. 13, 2018 AM Trial Tr. 1570:12-24.) As noted, Richman acknowledged

that a match between the TDL list and the ELVIS file does not necessarily indicate that the

applicant was a noncitizen at the time that they applied to register to vote. (Id. at 1574:2-10,

1576:4-16.)

       196.    Based on his TDL match, Dr. Richman estimated that, assuming all 16 people he

identified are in fact noncitizens, 88 out of about 18,000 individuals on the suspense list are

noncitizens. (Mar. 13, 2018 AM Trial Tr. 1573:11-14.) Taking Dr. Richman’s estimate at face

value, noncitizens constitute less than one half of one percent of the Suspense List. (Id. at


15
  Dr. Jesse Richman was proffered as an expert in elections, voter registrations, survey
construction and analysis and political methodology. Plaintiffs objected and sought to exclude
Dr. Richman under Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). (Pls.’ Mot. to
Exclude the Test. and Rep. of Jesse Richman, ECF No. 389; Pls.’ 2d Mot. to Exclude the Test.
and Rep. of Jesse Richman, ECF No. 427.) This Court denied that motion except with respect to
Dr. Richman’s proffered testimony on legal conclusions, which this Court excluded.


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1573:15-21.)

          ii. Regular Driver’s License / Voter Registration List Match

          194.        Dr. Richman presented, in his initial report, a match conducted by DOV

               staff between the ELVIS file and people who are listed in the driver’s license

               database as having shown a noncitizen permanent resident document (i.e., a

               “green card”) while obtaining a regular driver’s license. (Mar. 13, 2018 AM Trial

               Tr. 1577:2-14; Ex. 952, Richman Expert Rep. at 6-7.) Dr. Richman did not

               request or perform this match; it was simply provided to him. (Id. at 1577:25 –

               1578:11.) He does not know what criteria were used in the matching analysis that

               was performed by the DOV, (id. at 1582:13-20), nor did he take any steps before

               he submitted his reports in this case to assess the accuracy of the matching

               analysis, (id. at 1582:21 – 1583:4).

          195.        The DOV match does not indicate why an individual is on the Suspense

               List, whether it was due to failure to provide DPOC or for some other reason.

               (Mar. 13, 2018 AM Trial Tr. 1581:9-14.)

          196.        Dr. Richman’s supplemental report included additional analysis and

               identified 12 people who applied to register to vote on the same day that they

               obtained a driver’s license using a green card. (Mar. 13, 2018 AM Trial Tr.

               1579:21 – 1580:1.) Although it is likely that these individuals were in fact

               noncitizens at the time that they applied to register to vote, Dr. Richman

               acknowledged that, given that these individuals applied to register to vote on the

               same day that they showed a green card in the course of obtaining their driver’s

               license, it is likely that they self-identified as noncitizens—but were nevertheless

               erroneously offered voter registration by a DOV employee in violation of DOV
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               policy. (Id. at 1580:17-23.)

           iii. The Testimony of Defendant’s Expert Hans von Spakovsky

       197.    Defendant also offered the testimony of Hans von Spakovsky 16 to support his

contention that there is a substantial problem of noncitizen voter registration in Kansas. (Mar. 9,

2018 PM Trial Tr. 1064:8 – 1089:20.) Mr. von Spakovsky is a senior legal fellow at The

Heritage Foundation, which he acknowledged is “a think tank whose mission [is to] formulate

and promote conservative public policies.” (Id. at 1099:25 – 1100:3; Ex. 864, von Spakovsky

Resume, at 1.) He is an adjunct, non-tenured professor at the Law School of George Mason

University. (Id. at 1056:8-18, 1099:12-14.) He has never testified as an expert witness before.

(Ex. 864 at 1-9.) He has no advanced degree in any social science, (Mar. 9, 2018 PM Trial Tr.

1094:18-23, 1097:6-8; Ex. 864 at 4), and has not published or conducted any peer-reviewed

research on any subject, including voter fraud or voting, (Mar. 9, 2018 PM Trial Tr. 1094:18-23,

1097:6-8). Mr. von Spakovsky would not identify any individual other than himself whom he

would consider an expert on noncitizen registration. (Mar. 9, 2018 PM Trial Tr. 1123:16-22,

1124:6-13.)

       198.    Mr. von Spakovsky testified that it is his opinion that there is a problem with

noncitizens being able to easily register to vote in the United States, (Mar. 9, 2018 PM, Trial Tr.

1067:10-16), and that the attestation regime is not a sufficient means to prevent noncitizens from


16
   Mr. von Spakovsky was proffered as an expert in elections, election administration and voter
fraud. Plaintiffs objected and sought to exclude Mr. von Spakovsky under Daubert. (Pls.’ Mot.
to Exclude the Test. & Rep. of Hans von Spakovsky, ECF No. 428.) This Court denied that
motion except with respect to Mr. von Spakovsky’s proffered testimony on surveys, which this
Court excluded. (Mar. 6, 2018 PM Trial Tr. 299:6 – 300:11 (Daubert and Expert Rulings by the
Court).) Relatedly, Mr. von Spakovsky’s expert report in this case was admitted subject to
redactions of any references to these topics. (Mar. 9, 2018 PM Trial Tr. 1066:16-24; Ex. 865,
von Spakovsky Expert Rep.)


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registering to vote, (Id. at 1071:16-1072:1; Ex. 865, von Spakovsky Rep., at 2).           Mr. von

Spakovsky bases this opinion on “[a] few examples”17 of non-citizen registration over the last

three decades that he believes shows that non-citizen registration is “an ongoing problem.” (Id.

at 1067:10 – 1069:11.) Many of the examples “catalogue[d]” by Mr. von Spakovsky involved

non-citizen registration in states other than Kansas. (Id. at 1074:4 – 1075:2; Ex. 865 at 3-10.)

       199.    With respect to Kansas specifically, Mr. von Spakovsky opined that, prior to the

DPOC law going into effect, “Kansas clearly has had a problem with noncitizens registering to

vote despite the citizenship question and oath on the voter registration forms.” (Ex. 865, von

Spakovsky Rep., at 2.) In forming this opinion, Mr. von Spakovsky testified that, out of the

approximately 1.7 million registered voters in Kansas, he was not aware of any instances of

noncitizen registration in Kansas other than 30 instances of possible noncitizen registration or

attempted registration in Sedgwick County listed on a spreadsheet provided to him by Defendant

Kobach.    (Mar. 9, 2018 PM Trial Tr. 1148:24 – 1149:6; Ex. 865 at 2-3.)               He did not

independently seek any other information about noncitizen registration in Kansas.            (Id. at

1152:23 – 1153:4, 1172:24 – 1173:5 (agreeing that references to the Sedgwick County

spreadsheet is the only Kansas-specific evidence he cites in his report relating to the issue of

noncitizen registration).)

       200.    Mr. von Spakovsky acknowledged that noncitizens who become registered often

do so as a result of a mistake, but testified that, in his opinion, whether or not a noncitizen


17
  The Court excluded testimony from Mr. von Spakovsky regarding purported examples of
noncitizen registration in Pennsylvania, Virginia, and New Jersey because these examples were
not included in his report. (Mar. 9, 2018 PM Trial Tr. 1069:16 – 1070:7, 1174:17 – 1178:12.)
With respect to Pennsylvania, Mr. von Spakovsky conceded that the instance he had identified of
noncitizens being added to the voter rolls in Pennsylvania had actually arisen due to a “glitch” in
the Pennsylvania DMV’s electronic registration system. (Id. at 1190:18 – 1191:13.)


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registration is the product of a mistake is irrelevant, based on the premise that “anytime a non-

citizen registers, anytime a non-citizen votes, they are—whether intentionally or—or by

accident, I mean, they are defrauding legitimate citizens from a fair election.” (Mar. 9, 2018 PM

Trial Tr. 1072:17-20.)      In other words, with respect to noncitizen registration, Mr. von

Spakovsky treated the mere fact that 30 noncitizens had registered or attempted to register to

vote as ”defrauding legitimate citizens from a fair election”; their intent was largely irrelevant.

       201.      By contrast, when assessing the burdens of the DPOC requirement, von

Spakovsky opined that the fact that thousands of registration applications had been suspended

because of the requirement was irrelevant, because, in his view, individuals who truly intended

to become registered to vote could do so if they make an effort. (Mar. 9, 2018 PM Trial Tr.

1093:8-16.) Intent—or Mr. von Spakovsky’s perception of it—was irrelevant in his assessment

noncitizen registration, but it was the touchstone of his evaluation of the burdens of the DPOC

requirement.18

       202.      Mr. von Spakovsky further opined that the mere possibility that noncitizen voting

could affect the outcome of a close election justifies a DPOC requirement. (Mar. 9, 2018 PM

Trial Tr. 1079:20 – 1080:16.) He admitted, however, that he was unable to identify a single

election whose outcome was affected by noncitizen voting. (Id. at 1159:2-4.)

       203.      Mr. von Spakovsky employed no discernible methodology in forming his

conclusions. He admitted that he has “no idea” whether his analytical approach, which has no


18
   Mr. von Spakovasky’s opinion as to the burdens of the DPOC requirement has little probative
value. He acknowledged that, at the time that he offered this opinion, he was not even aware of
how many Kansans had their registrations canceled because they had not provided DPOC. (Mar.
9, 2018 PM, Trial Tr. 1112:1 – 1114:6.) Moreover, Mr. von Spakovsky testified that he cannot
think of any voter registration requirements in the United States that are a burden. (Id. at 1108:6
– 1109:5.)


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name, comports with generally-accepted standards in the social sciences. (Mar. 9, 2018 PM

Trial Tr. 1136:16 – 1137:3, 1137:13-23.)

       204.    Mr. von Spakovsky did not present as an objective witness, but as an advocate.

He acknowledged that it would be inconsistent with providing an objective expert opinion to

provide evidence that only supports one side. (Mar. 9, 2018 PM Trial Tr. 1094:6-10.) However,

in describing examples of noncitizen registration, Mr. von Spakovsky frequently misrepresented

facts or omitted details that did not support his opinion. (Id. at 1152:7-22, 1159:15 – 1161:18,

1162:7 – 1166:20; Ex. 865, von Spakovsky Rep., at 3-4.) For example, Mr. von Spakovsky

opined that “[c]learly aliens [in Sedgwick County] who applied to register at the DMV were not

dissuaded from falsely asserting U.S. citizenship by the oath requirement,” (id. at 1151:10-16;

Ex. 865 at 3), but he admitted that he had no personal knowledge as to whether or not any of

these individuals had in fact falsely asserted U.S. citizenship when they became registered to

vote. (Id. at 1152:7-17.) He acknowledged on cross-examination that he did not examine the

facts of these individual cases. (Id. at 1152:18-22.)

       205.    In another example of misleading testimony, Mr. von Spakovsky stated in his

report that a local NBC television station in Florida identified 100 individuals excused from jury

duty who were possible noncitizens on the voter rolls; but on cross-examination, he admitted that

he did not mention the fact that there was a follow-up story by the same NBC station that

determined that at least 35 of those 100 individuals had documentation to prove that they were,

in fact, U.S. citizens. (Mar. 9, 2018 PM Trial Tr. 1159:15 – 1161:18; Ex. 865, von Spakovosky

Rep., at 4.) He claimed that, at the time of his expert report, he was unaware of the NBC follow-

up report, and only learned about it at his deposition. (Id. at 1159:15 – 1160:9.) However, Mr.

von Spakovsky never submitted a supplement or correction to his expert report to acknowledge



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this omission. (See id. at 1160:10 – 18, 1161:7-18.)

       206.    In another example from his expert report, Mr. von Spakovsky cited a U.S. GAO

study for the proposition that the GAO “found that up to 3 percent of the 30,000 individuals

called for jury duty from voter registration rolls over a two-year period in just one U.S. district

court were not U.S. citizens.” (Ex. 865, von Spakovsky Rep., at 5.) On cross-examination,

however, he acknowledged that he omitted the following facts: the GAO study contained

information on a total of eight district courts; four of the eight reported that there was not a

single-noncitizen who had been called for jury duty; and the three remaining district courts

reported that fewer than 1% of people called for jury duty from voter rolls were noncitizens.

(Mar. 9, 2018 PM Trial Tr. 1162:7 – 1166:9; Ex. 865 at 5; Ex. 127, GAO Report: “Additional

Data Could Help State & Local Elections Officials Maintain Accurate Voter Reg. Lists,” at 47-

48.) In sum, his report misleadingly described only the district court with the highest percentage

of people reporting that they were noncitizens, while omitting any mention of the seven other

courts described in the GAO report, including those that had no incidents of noncitizens on the

rolls. (Mar. 9, 2018 PM Trial Tr. 1166:10-20)

       207.    Mr. von Spakovsky further admitted that he wrote an op-ed in 2011 claiming that

50 noncitizens from Somalia voted in an election in Missouri, despite the fact that nearly one

year earlier the Missouri Court of Appeals issued an opinion, Royster v. Rizzo, 326 S.W.3d 104

(Mo. Ct. App. 2010),19 finding that no fraud had taken place in that election. (Mar. 9, 2018 PM

Trial Tr. 1167:3-23.) While he testified that he was not aware of the court opinion at the time he

wrote the op-ed, Mr. von Spakovsky admitted that he never published a written retraction of his


19
  The Court took judicial notice of this court decision. (Mar. 9, 2018 PM Trial Tr. 1170:13 –
1171:3.)


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assertion about Somalian voters illegally participating in that election. (Mar. 9, 2018 PM Trial

Tr. 1167:19-23.)

       208.   Given his extensive research and commentary on voter fraud, it is implausible that

Mr. von Spakovsky’s repeated omissions were inadvertent. Rather, the record supports an

inference that Mr. von Spakovsky purposefully presented incomplete and misleading testimony

to advance his policy agenda.

       209.   For example, although Mr. von Spakovsky testified that, at the time he was

retained as an expert in this case in 2016, he had not yet formed an opinion about whether the

DPOC law was burdensome for voters, (Mar. 9, 2018 PM, Trial Tr. 1106:5-22.), he also admitted

that, at least as early as 2012, he was already an advocate for DPOC requirements like the one at

issue in this case. (Id. at 1116:12-17.) Moreover, as early as 2001, Mr. von Spakovsky was

already of the view that the NVRA was “a universal failure,” and testified that the NVRA “was

so flawed as to actually undermine our registration system.” (Id. at 1117:10 – 1118:23; Ex. 144,

von Spakovsky Test. before Senate Rules Comm., at 1.)

       210.   Mr. von Spakovsky’s bias is also demonstrated by his long record of collaborating

with Defendant Kobach—which he did not disclose to the Court until he was cross-examined

about it. (Mar. 9, 2018 PM Trial Tr. 1055:18 – 1089:22 (von Spakovsky direct examination); Ex.

865, von Spakovsky Rep., at 1-19.) For example, Mr. von Spakovsky contributed to Defendant

Kobach’s first campaign for Secretary of State and wrote an email promoting a fundraiser for

that campaign. (Mar. 9, 2018 PM Trial Tr. 1154:7-15.) He did not mention this support in his

report. (Id. at 1154:16-20; Ex. 865, von Spakovsky Rep., at 1-19.)

       211.   When Mr. von Spakovsky opined in his report that the incidents of noncitizen

registration collected by Ms. Lehman in Sedgwick County are likely just the “tip of the iceberg,”



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(Mar. 9, 2018 PM Trial Tr. 1072:2 – 1074:3; 1154:21 – 1155:1; Ex. 865, von Spakovsky Rep., at

2-3), he used the exact same phrase employed by Defendant Kobach to describe the same 30

incidents of noncitizen registration in Sedgwick County in a press release issued just a few

months earlier, (id. at 1155:17 – 1157:81; Ex. 147, Press Release).

       212.    More recently, Mr. von Spakovsky was also a member of the now-defunct

Presidential Commission on Election Integrity alongside Defendant Kobach. (Mar. 9, 2018 PM

Trial Tr. 1154:7-15.) Regarding the formation of that Commission, Mr. von Spakovsky wrote an

email in 2017 stating that it is his opinion that there are no “mainstream Republican officials and

academics” that “know anything about” the issue of voter fraud. (Id. at 1126:11 – 1127:5; Ex.

145, von Spakovsky 2/2017 Heritage Foundation Email, at 2.)              After a meeting of the

Commission, he falsely denied that he was the author of that email and claimed to be satisfied

with the bipartisan composition of the Commission. (Mar. 9, 2018 PM Trial Tr. 1128:11-12,

1131:24 – 1132:13, 1135:8 – 1136:1; Ex. 146, von Spakovsky 9/2017 ProPublica Audio Tr.)

       213.    The preponderance of evidence in this case supports a finding that Mr. von

Spakovsky is not an unbiased objective expert, that he attempted to conceal his bias, that he

intentionally presented misleading testimony, and is not a credible witness.

       C. Assessment of Defendant’s Evidence of Specific Incidents of Possible Noncitizen
          Registration by Plaintiffs’ Experts

           i. The Testimony of Plaintiffs’ Expert Dr. Lorraine Minnite

       214.    To assess Defendant Kobach’s claims about specific incidents of noncitizen

registration, Plaintiffs offered the testimony of Dr. Lorraine C. Minnite. Dr. Minnite is an

associate professor at Rutgers University-Camden, a tenured position, where her research

focuses on American politics and elections. (Mar. 9, 2018 AM Trial Tr. 956:25 – 957:17;

Ex. 140, Minnite Updated CV, at 1.) She currently serves as the Chair of the Department of


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Public Policy and Administration and was previously the Director of the Rutgers University-

Camden Urban Studies Program. (Id. at 958:18-24; Ex. 140, at 12.) Dr. Minnite’s teaching

portfolio includes classes on social science research methodologies, among others. (Id. at 957:15

– 958:17.) She is the recipient of numerous research grants and honors. (Mar. 6, 2018 PM Trial

Tr. 292:3-7; Ex. 140 at 2, 11-12.)

       215.    Dr. Minnite has extensively researched and studied the incidence and effect of

voter fraud in American elections. Her published research on the topic spans over a decade and

includes her full-length, peer reviewed book, The Myth of Voter Fraud, for which Dr. Minnite

has received grants and professional distinction, and numerous articles and chapters in edited

volumes. (Mar. 9, 2018 AM Trial Tr. 961:10-20, 961:24 – 962:23; Ex. 140, Minnite Updated

CV, at 3-10; Ex. 77, 2016.02.25 Minnite Expert Rep., at 2.) This topic has been the focus of her

work and research for the past seventeen years. (Mar. 9, 2018 AM Trial Tr. 959:18 – 960:1.)

       216.    Dr. Minnite has been offered and accepted as an expert on the incidence and

effect of voter fraud in numerous cases, including in One Wisconsin Inst., Inc. v. Thomsen, 198

F. Supp. 3d 896, 911 (W.D. Wis. 2016); Ohio Org. Collaborative v. Husted, 189 F. Supp. 3d

708, 720 (S.D. Ohio 2016), rev’d on other grounds sub nom., Ohio Democratic Party v. Husted,

834 F.3d 620 (6th Cir. 2016); Lee v. Virginia State Bd. of Elections, 188 F. Supp. 3d 577, 596-97

(E.D. Va. 2016), aff’d, 843 F.3d 592 (4th Cir. 2016); N.C. State Conference of the NAACP v.

McCrory, 182 F. Supp. 3d 320, 441-43 (M.D.N.C. 2016), aff’d in part, rev’d and remanded on

other grounds, 831 F.3d 204 (4th Cir. 2016), cert denied, U.S., 137 S. Ct. 1399 (2017); Veasey v.

Perry, 71 F. Supp. 3d 627, 640 (S.D. Tex. 2014), aff’d in part, vacated in part; rev’d in part on

other grounds sub nom, Veasey v. Abbott, 830 F.3d 216 (5th Cir. 2016), cert denied, U.S., 137 S.

Ct. 612 (2017); Frank v. Walker, 17 F. Supp. 3d 837, 848 (E.D. Wis. 2014), rev’d on other



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grounds, 768 F.3d 744 (7th Cir. 2014); Applewhite v. Commonwealth of Pennsylvania, No. 330

M.D. 2012, 2014 WL 184988, at *57 (Pa. Commonwealth Ct. Jan. 17, 2014), and Democratic

Nat’l Comm. v. Republican Nat’l Comm., 671 F. Supp. 2d 575, 591-93 (D.N.J. 2009), aff’d, 673

F.3d 192 (3d Cir. 2012). (Mar. 9, 2018 AM Trial Tr. 966:15 – 967:18; Ex. 140, Minnite Updated

CV, at 10-11, 14-15.). 20

          217.   For purposes of her research, Dr. Minnite defines voter fraud as “the intentional

corruption of the electoral process by voters.” (Mar. 9, 2018 AM Trial Tr. 970:18 – 971:13; Ex.

77, 2016.02.25 Minnite Expert Rep., at 7-8.) This focus on mens rea in Dr. Minnite’s definition

is “typical[]” in the context of fraud. (Mar. 9, 2018 PM Trial Tr. 1089:23-6 (Court contrasting

Dr. Minnite’s definition of voter fraud with Mr. von Spakovsky’s).)

          218.   In forming her opinions on the incidence of voter fraud and noncitizen registration

in Kansas, Dr Minnite relied on numerous quantitative, qualitative and archival sources. These

include, among other sources, thousands of news reports, publically available reports, court

opinions, and various documents relied on by Defendant as evidence of noncitizen registration,

including various iterations of Ms. Lehman’s spreadsheet and underlying voter registration

records. (Mar. 9, 2018 AM Trial Tr. 985:1 – 988:22; see also, e.g., Ex. 77, 2016.02.25 Minnite

Expert Rep., at 2-3; Ex. 76, 2016.04.12 Minnite Suppl. Rep., at 1-5, Ex. 75, 2016.06.10 Minnite

Rebuttal Rep., at 1-15; Ex. 74, 2017.03.15 Minnite Expert Rep., at 1-3, 8-9, 15-19.) To evaluate

these sources, Dr. Minnite employed a “mixed methods” research approach, in which data from

different data sources is triangulated in order to identify patterns across the sources. (Mar. 9,

2018 AM Trial Tr. 964:18 – 965:17; 988:4 – 989:3; Ex. 77 at 8-9.) This methodology is

generally accepted in the social sciences and is the method of analysis that Dr. Minnite has

20
     The Court takes judicial notice of these decisions.


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utilized in her peer-reviewed research on voter fraud and in each of the cases in which she has

testified as an expert on this topic. (Mar. 9, 2018 AM Trial Tr. 964:18 – 965:17; 988:4 – 989:3;

Ex. 77 at 8.)

       219.     As Dr. Minnite testified, there is no empirical evidence to support Secretary

Kobach’s claims in the media that voter fraud and noncitizen registration and voting were

“massive” or “pervasive” problems. (Mar. 9, 2018 AM Trial Tr. 982:13-21; 991:5; Ex. 77,

2016.02.25 Minnite Expert Rep., at 15-28; 30, 32-33; Ex. 76, 2016.04.12 Minnite Suppl. Rep., at

1-5; Ex. 75, 2016.06.10 Minnite Rebuttal Rep., at 3-7; Ex. 74, 2017.03.15 Minnite Expert Rep.,

at 1-12; 15-20; see also Mar. 9, 2018 AM Trial Tr. 978:1 – 979:8 (describing Ballot Access and

Voting Integrity Initiative, a federal initiative whose “high priority . . . was to find voter fraud

and voter intimidation” and testifying that in first 3 years of program, there were 40 indictments

brought involving voters but no indictments of noncitizen voting in Kansas); Ex. 77 at 10 (noting

further that more than 250 million votes were cast in federal elections during the first 3 years of

BAVII program and that while 20 of the 40 cases of election crimes committed by voters

involved noncitizens none were in Kansas.)

       220.     Instead, while a handful of noncitizens have appeared on the registration rolls in

Kansas over the last twenty years, many of these cases reflect isolated instances of avoidable

administrative errors on the part of government employees and/or misunderstanding on the part

of applicants. (Mar. 9, 2018 AM Trial Tr. 994:5-12; 995:5-22; 1006:13-24 (Minnite Testimony);

Ex. 77, 2016.02.25 Minnite Expert Rep., at 28-33; Ex. 76, 2016.04.12 Minnite Suppl. Rep., at 2-

5; Ex. 74, 2017.03.15 Minnite Expert Rep., at 18-19.) This includes many of the cases of

purported noncitizen registration or attempted registration collected in Ms. Lehman’s

spreadsheet. (See supra ¶¶ 171-78.) This finding is consistent with and supported by the



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testimony of Ms. Lehman, who acknowledged that Kansans have been registered in error due to

administrative mistakes. (Mar. 9, 2018 AM 1007:1 – 1008:8 (Minnite Testimony); Mar. 7, 2018

PM Trial Tr. 531:4-10, 532:5-13, 675:5-13 (Lehman Testimony).)

       221.    Defendant Kobach’s “most significant allegations” of voter fraud in the news and

in other public statements are false or unsubstantiated or the result of administrative error and/or

voter confusion. (Mar. 9, 2018 AM Trial Tr. 990:11 – 994:12 (Minnite Testimony); Ex. 77,

2016.02.25 Minnite Expert Rep., at 17-26.) For example, like his proffered expert Mr. von

Spakovsky, Defendant Kobach has repeatedly claimed that approximately 50 noncitizens from

Somalia voted in the 2010 Democratic primary race in Kansas City, Missouri for the 40th

District of the Missouri House of Representatives. (Mar. 9, 2018 AM Trial Tr. 991:14- 993:5

(Minnite Testimony); Ex. 77 at 24-25.) The Missouri Court of Appeals in Royster, 326 S.W.3d

104, however, found no evidence of voter fraud in that election. (Mar. 9, 2018 AM Trial Tr.

991:6- 993:5 (Minnite Testimony); Ex. 77 at 24-25.)

       222.    Rather than an accurate characterization of the evidence, Defendant Kobach’s

repeated claims of pervasive voter fraud represent a successful case of “agenda setting” by

Defendant Kobach, as reflected by the dramatic increase in stories referencing voter fraud in the

Kansas news media that coincided with Defendant Kobach’s first campaign for Secretary of

State in 2010. (Mar. 9, 2018 AM Trial Tr. 989: 3 – 990:22 (Minnite Testimony); Ex. 77,

2016.02.25 Minnite Expert Rep., at 16.)

       223.    In addition, Defendant Kobach has, as of the time of trial, prosecuted only two

cases of noncitizen voting since obtaining prosecutorial powers in 2015. (PTO Stip. ¶¶ 107; 113-

14.) This evidence further undermines Defendant Kobach’s claims of “massive” noncitizen

voter fraud and is consistent with the pattern revealed by other sources that there are only a



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handful of instances of noncitizen registration and voting. (Mar. 9, 2018 AM Trial Tr. 994:13 –

995:22 (Minnite Testimony); Ex. 77, 2016.02.25 Minnite Expert Rep., at 26-28.)

            ii. The Testimony of Plaintiffs’ Expert Dr. Eitan Hersh

        224.     Plaintiffs’ expert Dr. Eitan Hersh also offered an assessment of some of the

evidence of specific incidents of possible noncitizen registration offered by Defendant Secretary

Kobach.

        225.     The number of purported incidents of noncitizen registration found by Defendant

is consistent with the quantity of other low-incidence idiosyncrasies in ELVIS and in voter files

more generally, and is suggestive of administrative errors. (Mar. 13, 2018 PM Trial Tr. 1727:3 –

1728:16.) For example, 100 individuals in ELVIS have birth dates in the 1800s, and 400

individuals have birth dates before their date of registration. (Id. at 1727:15-20.) In a state with

1.8 million registered voters, issues of this magnitude are generally understood as administrative

mistakes, rather than as efforts to corrupt the electoral process. (Id. at 1727:3 – 1728:16.)

Accidental registrations could have occurred as a result of clerks’ administrative errors in

inputting handwritten data from paper forms. (Id. at 1729:17 – 1730:4.)

        226.     The very low incidence of voting among purported noncitizen registrants suggests

that those individuals ended up in ELVIS due to accidents, as opposed to intentional unlawful

registrations.   (Mar. 13, 2018 PM Trial Tr. 1728:17 – 1729:16.)          The voting rate among

purported noncitizen registrations on Mr. Caskey’s TDL match list is around 1%, whereas the

voting rate among registrants in Kansas more generally is around 70%. (Mar. 13, 2018 PM Trial

Tr. 1729:7-16.) If these purported noncitizen registrations were intentional, one would expect

these individuals to vote more frequently; the fact that they do not suggests that these

registrations are the product of administrative mistakes by government employees or by the

applicants themselves. (Mar. 13, 2018 PM Trial Tr. 1728:20-1729:16.)
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VII.   DEFENDANT’S              STATISTICAL          ESTIMATES          OF       NONCITIZEN
       REGISTRATION

       227.      In addition to the various matching analyses described above, Defendant’s expert

Dr. Richman also produced various statistical estimates as to the number of noncitizens who

have registered or have attempted to register to vote in Kansas, based primarily on surveys and

other samples.

       228.      Dr. Richman has published one peer-reviewed article on noncitizen registration,

in the British Journal Electoral Studies. (Mar. 13, 2018 AM Trial Tr. 1561:8-15) The article

was based on data collected through a survey known as the Cooperative Congressional Elections

Study (“CCES”), a large online survey concerning American voting behavior. (Mar. 12, 2018

PM Trial Tr. 1449:20-1450:9.) Dr. Richman is not and has never been involved in designing or

implementing the CCES. (Mar. 13, 2018 AM Trial Tr. 1561:20-24.) In fact, Dr. Richman

himself has limited direct experience with respect to conducting original survey research. He has

published only one peer-reviewed paper based on a survey that he designed. (Mar. 13, 2018 AM

Trial Tr. 1556:6-12.)     He has never published any peer-reviewed research addressing the

accuracy of survey responses for a survey that he designed, (Mar. 13, 2018 AM Trial Tr.

1559:23-1560:3), or any peer-reviewed research involving his own efforts to compare survey

responses to government records in order to assess the validity of those survey responses, (Mar.

13, 2018 AM Trial Tr. 1560:4-9). He has never, other than in this case, designed or implemented

any survey to measure citizenship rates of survey respondents. (Mar. 13, 2018 AM Trial Tr.

1560:12-23.)

           A. Dr. Richman’s Statistical Estimates of Noncitizen Registration or Attempted
           Registration in Kansas

       229.      Dr. Richman offers four different estimates for the rate at which noncitizens in

Kansas have registered or have attempted to register to vote without identifying a single “best

                                                    72
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estimate among them. (Mar. 13, 2018 AM Trial Tr. 1615:23-1616:2.) They are based on four

different data sources: (i) 14 Kansas respondents in the CCES who stated that they were

noncitizens, out of which 4 stated that they were registered to vote, (Ex. 952, Richman Expert

Rep., at 5); (ii) records of approximately 800 newly-naturalized citizens in Sedgwick County, 8

of whom had records of pre-existing registration applications, (Ex. 952 at 5); (iii) a survey of 37

TDL holders, 6 of whom stated that they were registered or had attempted to register to vote,

(Ex. 952 at 10); and (iv) 19 survey responses from a group of “incidentally-contacted”

noncitizens, 1 of whom stated that they were registered or had attempted to register to vote, (Ex.

952 at 11-12). Dr. Richman also conducted a survey of more than 500 registered voters in 4

counties, of whom zero indicated that they were noncitizens, but Richman did not calculate an

estimate of noncitizen registration based on this particular survey. (Ex. 952 at 11.)

       230.    Dr. Richman does not provide an estimate of the number of noncitizens in Kansas

who registered or attempted to register to vote specifically through a DMV office in Kansas.

(Mar. 13, 2018 AM Trial Tr. 1603:20-1604:1.)          He also does not provide an estimate of

noncitizens in Kansas who have actually voted. (Mar. 13, 2018 AM Trial Tr. 1604:2-7.)

       231.    Dr. Richman’s four estimates of noncitizen registration and the margins of error

associated with each estimate, along with an estimate derived from Richman’s survey of 500

registered voters, can be summarized as follows:21

           Summary of Dr. Richman’s Estimates of Non-Citizens Registered
                                 (or Attempted to Register)


21
  All estimates and margin of error calculations, with the exception of the estimate based on the
survey of registered voters, are listed in Ex. 958, Richman Suppl. Rep., at 8-9, Tbl. 2. The
estimate and margin of error calculation based on Richman’s survey of registered voters is
described in Ex. 102, Ansolabehere Expert Rep., at 36, Tbl. 2.


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Data Source          Richman              Richman Calculation of      Ansolabehere
                     Estimate of %        Error Margin (Wilson        Calculation of Error
                     of Non-Citizens      (Score) Method)             Margin
                     Registered (or
                     Attempted to
                     Register)

CCES (2006-                28.6%               11.7% - 54.6%                0.9% - 56.3%
2012)                                      32.9 percentage points      55.4 percentage points
4 of 14

Sedgwick                    1.0%                0.5% - 2.0%                 -2.6% - 4.6%
County                                      1.5 percentage points       7.2 percentage points
Naturalization
8 of 791

TDL Survey                 16.5%                7.7% - 31.1%                0.1% - 32.9%
6 of 37                                    23.4 percentage points      32.8 percentage points

Incidentally                5.3%                0.9% - 24.6%              -4.84% - 15.36%
Contacted Non-                             23.7 percentage points      20.2 percentage points
Citizens
1 of 19

Registered                   0%              Not Calculated By              -4.2% - 4.2%
Voters                                           Richman                8.4 percentage points
0 of 576

          232.   Plaintiffs offered the testimony of their rebuttal expert, Dr. Stephen Ansolabehere,

to assess Dr. Richman’s various statistical estimates.         Dr. Ansolabehere opined that Dr.

Richman’s various estimates—either collectively or individually—did not provide statistically

valid evidence of noncitizen registration in Kansas. Dr. Ansolabehere is the Frank G. Thompson

Chair at Harvard University in the Department of Government. (Mar. 13, 2018 PM Trial Tr.

1760:12-20.) He has been on the board of American National Election Studies for 12 years,

which is the longest running political science research project, (Mar. 13, 2018 PM Trial Tr.

1761:9-12), has been the founding director of the Caltech/MIT voting technology project, (Mar.


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13, 2018 PM Trial Tr.1761:12-16), and has worked for CBS News since 2006 on the election

night decision desk that designs the surveys used and the data collection process, (Mar. 13, 2018

PM Trial Tr. 1761:17-21). He has published five books and approximately 80 articles in a

variety of disciplines but primarily in political science, and on a variety of topics, including

survey research methods, statistics for analyzing large sample data, and for matching large

surveys. (Mar. 13, 2018 PM Trial Tr. 1762:1-10.) He has received a variety of research grants.

(Ex. 136, Ansolabehere Updated CV, at 12-13.)

          233.   Dr. Ansolabehere has testified in numerous voting rights cases, including Cooper

v. Harris, _U.S._, 137 S. Ct. 1455, 1477 (2017),22 League of Women Voters v. Detzner, 172 So.

3d 363, 445 (Fla. 2010),23 and Veasey v. Abbott, 830 F.3d 216, 259 (5th Cir. 2016) (en banc),

cert denied, _U.S._, 137 S. Ct. 612 (2017), 24 which all cited Dr. Ansolabehere’s testimony

favorably. (Mar. 13, 2018 PM Trial Tr. 1763:14-1765:8; 1767:5-10.)

          234.   Dr. Ansolabehere is the creator and principal investigator of the CCES, the survey

on which Richman relied in his single published article on noncitizen registration. (Mar. 13,

2018 PM Trial Tr. 1761:2-8; Mar. 13, 2018 AM Trial Tr. 1561:25-1562:3.) Dr. Richman

considers Dr. Ansolabehere to be knowledgeable about survey research, (Mar. 13, 2018 AM

Trial Tr. 1563:5-16 (Richman Testimony)), and believes that Dr. Ansolabehere has a good

reputation as a political scientist among other political scientists, (Mar. 13, 2018 AM Trial Tr.

1563:17-20 (Richman Testimony)).




22
     The Court took judicial notice of this opinion. (Mar. 13, 2018 PM Trial Tr. 1764:10-14.)
23
     The Court took judicial notice of this opinion. (Mar. 13, 2018 PM Trial Tr. 1765:3-8.)
24
     The Court took judicial notice of this opinion. (Mar. 13, 2018 PM Trial Tr. 1767:5-10.)


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           i. Dr. Ansolabehere’s Meta-Analysis of Dr. Richman’s Data

       235.    Dr. Ansolabehere produced a “meta-analysis” of Dr. Richman’s various data and

estimates of noncitizen registration. (Ex. 102, Ansolabehere Expert Rep., at 36-37, Tbl. 2.) The

meta-analysis aggregates all of Dr. Richman’s data of possible noncitizen registration, and takes

it at face value, assuming that the data are accurate and that Dr. Richman’s samples are

representative of Kansas’s adult noncitizen population. (Mar. 13, 2018 PM Trial Tr. 1772:9-21;

1774:6-15.)

       236.    Dr. Ansolabehere’s meta-analysis includes Dr. Richman’s survey of over 500

registered voters in 4 counties. (Mar. 13, 2018 PM Trial Tr. 1796:3-7.) As Dr. Ansolabehere

explained, there is no valid reason for excluding this data from the meta-analysis. (Mar. 13,

2018 PM Trial Tr. 1796:2-6.)

       237.    The meta-analysis produces a single estimate that 1.3% of noncitizens in Kansas

are registered or have attempted to register to vote. (Mar. 13, 2018 PM Trial Tr. 1774:16-20; Ex.

102, Ansolabehere Expert Rep., at 36-37, Tbl. 2.)

       238.    The meta-analysis reveals that Dr. Richman’s data do not provide persuasive

evidence of a statistically significant rate of noncitizen registration in Kansas for two reasons.

First, the meta-analysis demonstrates that “there’s a great amount of variation” among

Richman’s various estimates of noncitizen registration, (Mar. 13, 2018 PM Trial Tr. 1775:14-

15), which are inconsistent with each other, ranging from approximately 1,000 noncitizens

registered to vote in Kansas, to approximately 32,000 noncitizens registered. This “variation

reflects our uncertainty about the actual estimate.” (Mar. 13, 2018 PM Trial Tr. 1775:15-16.).

       239.    Second, the meta-analysis reveals that Dr. Richman’s findings about noncitizen

registration, taken as a whole, are not statistically significant. The meta-analysis produced an

estimate that 1.3% of noncitizens in Kansas are registered or have attempted to register to vote,
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with a margin of error of 7.6 percentage points. (Mar. 13, 2018 PM Trial Tr. 1775:5-1776:17.)

Thus, even assuming that Richman’s data are valid, collectively they produce an estimate of

noncitizen registration that is not statistically distinct from zero. (Mar. 13, 2018 PM Trial Tr.

1776:18-1777:1.)

       240.   In calculating the margin of error for this estimate and for Dr. Richman’s other

various estimates of noncitizen registration, Dr. Ansolabehere used the conventional method

employed by political scientists. (Mar. 13, 2018 AM Trial Tr. 1616:9-19 (Richman Testimony).)

Although Dr. Richman criticized this method of calculating the margin of error, Dr. Richman

himself used the same method in his peer-reviewed article on noncitizen registration, and for the

one margin of error calculation that he included in his initial expert report. (Mar. 13, 2018 AM

Trial Tr. 1616:16-19.) Dr. Richman also conceded that, in calculating margins of error in his

peer-reviewed article on noncitizen registration, he employed the conventional method because it

is the most widely-used approach among political scientists, and that he believed that it was

methodologically appropriate to do so. (Mar. 13, 2018 AM Trial Tr. 1609:6-11; 1610:1-12.)

       241.   Notably, in his initial report, Dr. Richman failed to report margins of error for all

but one of his estimates of noncitizen registration in Kansas, the estimate based on noncitizens

who were incidentally contacted. (Mar. 13, 2018 AM Trial Tr. 1610:21-1611:4 (Richman

Testimony).) As Dr. Richman himself acknowledged, this failure to report margins of error in

his initial report does not conform to peer-review standards. Dr. Richman himself admitted that

when publishing academic articles featuring statistical estimates, he typically includes standard

error calculations. (Mar. 13, 2018 AM Trial Tr. 1607:17-25.) For example, in Dr. Richman’s

peer-reviewed article on noncitizen registration, he calculated and reported margins of error for

his various estimates of noncitizen registration, and stated that he would not have submitted the



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article for publication without first calculating the margins of error, (Mar. 13, 2018 AM Trial Tr.

1608:1-7, 1608:19-25), because it would not have comported with accepted standards in political

science, (Mar. 13, 2018 AM Trial Tr. 1609:1-5). Yet Dr. Richman offered no explanation as to

why he failed to do so for his initial report in this case.

        242.    Although Dr. Richman did eventually include margin of error calculations for his

various estimates, he did so using various alternative methods that he had never used before.

(Mar. 13, 2018 AM Trial Tr. 1616:20-25, 1617:1-13.) It was not methodologically appropriate

to use these unconventional methods for calculating margins of error for the estimates in this

case. (Mar. 13, 2018 PM Trial Tr. 1874:15-1875:2.)

        243.    As explained below, Dr. Richman’s various individual estimates also fail to

provide statistically reliable evidence of noncitizen registration in Kansas.

            ii. CCES

        244.    Dr. Richman produced an estimate that approximately 32,000 noncitizen are

registered to vote in Kansas, based on data from the Cooperative Congressional Election Study

or CCES. Dr. Richman’s estimate in this case based on CCES data is similar to the research on

noncitizen registration that he performed for his peer-reviewed article on the subject, which also

relied on CCES data. (Mar. 13, 2018 AM Trial Tr. 1561:8-19.)

        245.    Dr. Richman identified 14 Kansas-based CCES respondents from 2006 through

2012 who self-identified as noncitizens, 4 of whom stated that they were registered to vote.

(Mar. 13, 2018 AM Trial Tr. 1617:14-1618:10.) Because 4 divided by 14 equals 28.6%, Dr.

Richman estimates that 28.6% of noncitizens in Kansas are registered to vote, and then

multiplied that percentage by the total noncitizen population in Kansas, to arrive at an estimate

that approximately 32,000 noncitizens in Kansas could be registered to vote. (Mar. 13, 2018 AM

Trial Tr. 1618:11-17.)
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       246.    Dr. Richman’s estimate of noncitizen registration based on CCES suffers from at

least four flaws, and does not provide persuasive or credible evidence of noncitizen registration

for several reasons.

       247.    First, the sample size of 14 is too small to have sufficient statistical precision for

reliable estimates of the adult noncitizen population in Kansas as a whole. (Mar. 13, 2018 PM

Trial Tr. 1779:6-20; Mar. 13, 2018 AM Trial Tr. 1621:6-9 (Richman conceding that the sample

size was small.).) See Blackwell v. Strain, 496 F. App’x. 836, 843 (10th Cir. 2012) (finding

seven data points unreliable due to the small sample size); United States v. James, 257 F.3d

1173, 1180 (10th Cir. 2001) (statistical evidence must be based on adequate sample size). Even

Defendant himself admitted during opening statements that he is “not relying on that [estimate]

because it is [based on] such a small sample size.” (Mar. 6, 2018 AM Trial Tr. 44:15-16.)

Estimates based on such small samples have large margins of error, and do not amount to

reliable or probative statistical evidence. See Nat’l Credit Union Admin. Bd. v. RBS Securities,

Inc., Nos. 11-2340-JWL, 11-2649-JWL, 12-2591-JWL, 12-2648-JWL, 13-2418-JWL, 2014 WL

1745448, at *6 (D. Kan. Apr. 30, 2014) (pointing to small sample sizes, large margins of errors

and unreliable stratification as examples of unreliable methodology); Opal Fin. Grp., Inc. v.

Opalesque, Ltd., 634 F. App’x 26, 29 (2d Cir. 2015) (affirming district court’s decision to accord

“little to no weight” to an estimate of 17.6% with error margin of plus or minus 10%).

       248.    Second, Dr. Richman’s estimate based on the CCES is unreliable because he has

not established that his sample of 14 CCES respondents were actually noncitizens. As Dr.

Ansolabehere explained in a peer-reviewed article, individuals who are in fact U.S. citizens

sometimes mistakenly click the wrong box when responding to the CCES, and erroneously self-

identify as noncitizens. (Mar. 13, 2018 PM Trial Tr. 1782:4-8; 1782:9-14) Even though this



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“citizenship misreporting” error occurs relatively infrequently, the number of errors is large

when compared to the number of individuals who identify themselves as noncitizens on CCES,

and thus fatally contaminates any attempt to use the CCES to make statistical estimates about

noncitizens. (Mar. 13, 2018 PM Trial Tr. 1780:23-1782:3.) Indeed, Dr. Richman’s published

findings about noncitizen voting can be accounted for entirely by citizenship misreporting. (Mar.

13, 2018 PM Trial Tr. 1782:21-1783:2; Mar. 13, 2018 AM Trial Tr. 1626:22-25) (Richman is

aware of the argument and Ansolabehere’s article in Electoral Studies).            A group of

approximately 200 political scientists signed an open letter criticizing Richman’s work on

essentially the same grounds. (Mar. 13, 2018 AM Trial Tr. 1727:15-19.) Richman acknowledged

that, at the time of his deposition, he could not recall a single instance in which something

similar had occurred. (Mar. 13, 2018 AM Trial Tr. 1628:4-10)

       249.   Dr. Richman acknowledged that he considers this a cogent criticism of his paper,

(Mar. 13, 2018 AM Trial Tr. 1625:4-1626:20), and agreed that if this critique regarding

citizenship misreporting is correct, it would “significantly reduce” his estimates based on the

CCES, (Mar. 13, 2018 AM Trial Tr. 1627:1-7). Although Dr. Richman purported to respond to

Dr. Ansolabehere’s criticisms regarding citizenship misreporting in a working paper, that

working paper has not been published in a peer-reviewed journal, but rather is available only on

Dr. Richman’s personal webpage. (Mar. 13, 2018 AM Trial Tr. 1628:11-1629:6.)

       250.    Given the well-documented problem of citizenship misreporting in the CCES,

Dr. Ansolabehere testified that, as the designer of the CCES, he did not have confidence that the

14 CCES respondents on whom Dr. Richman based his estimate were in fact noncitizens. (Mar.

13, 2018 PM Trial Tr. 15-20.)

       251.   Third, Dr. Richman’s CCES estimate is inflated due to registration overreporting.



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Registration over-reporting occurs when individuals respond to a survey question that they are

registered to vote when, in fact, they are not. (Mar. 13, 2018 AM Trial Tr. 1566:10-14.) As Dr.

Hersh explained, this occurs due to social desirability bias: respondents misreport behaviors that

they believe are socially desirable, for instance, charitable giving, blood donation or voter

registration. (Mar. 13, 2018 PM Trial Tr. 1726:9-1727:2.)

       252.    In a peer-reviewed article, Drs. Ansolabehere and Hersh have documented

overreporting of registration in the CCES—that is, CCES respondents saying that they are

registered to vote when in fact they are not. (Mar. 13, 2018 PM Trial Tr. 1784:2-1785:4) (Dr.

Ansolabehere discussing his findings of registration overreporting in a peer-reviewed article

entitled “Validation.”) Dr. Richman does not dispute the existence of registration over-reporting,

(Mar. 13, 2018 AM Trial Tr. 1566:15-17), acknowledged that Dr. Ansolabehere has documented

registration over-reporting in the CCES, (Mar. 13, 2018 AM Trial Tr. 1566:18-21), and stated

that he has no reason to doubt Dr. Ansolabehere’s findings in this regard, (Mar. 13, 2018 AM

Trial Tr. 1566:22-1567:1).

       253.    Here, the evidence indicates that Dr. Richman’s CCES-based estimate of

noncitizen registration is substantially inflated due to registration overreporting on the CCES.

Although 4 of the respondents in the CCES sample stated that they were registered to vote, only

1 of the 4 self-reported registrations can be validated to an actual voter file—which means that 3

of the 4 did not in fact register to vote in Kansas. (Mar. 13, 2018 PM Trial Tr. 1780:8-16;

1785:5-11.)   These three misreported their registration status, accounting for 75% of Dr.

Richman’s estimate. (Mar. 13, 2018 PM Trial Tr. 1785:13-16).

       254.    Dr. Richman did not dispute that this was the case. (Mar. 13, 2018 AM Trial Tr.

1624:5-10 (Richman acknowledging Ansolabehere’s validation findings.)) In fact, in his peer-



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reviewed article on noncitizen registration, Richman accounted for registration over-reporting by

conducting a “validation” analysis based on individuals who could be linked to an actual voter

registration record. (Mar. 13, 2018 AM Trial Tr. 1567:2-17.) In his supplemental report, Dr.

Richman produced an estimate of noncitizen registration based on validated voter registration

records from the CCES; the estimate had a confidence interval of more than 20 percentage

points, (Mar. 13, 2018 AM Trial Tr. 1624:11-1625:3), and was therefore not statistically reliable.

       255.    Fourth, the CCES is not representative of the noncitizen population generally, and

cannot form the basis for reliable statistical estimates about that population; because the CCES is

designed to study elections, it is designed to be a sample of only citizens and not of noncitizens.

(Mar. 13, 2018 PM Trial Tr. 1778:5-12.) Self-identified noncitizens in the CCES tend to be

better educated, older, and whiter, all characteristics that are correlated with higher rates of

registration and a higher likelihood of misreporting registration. (Mar. 13, 2018 PM Trial Tr.

1783:10-1784:1.)

       256.    Dr. Richman did not weight the sample to accurately reflect the noncitizen

population of Kansas.      Even though Dr. Richman weighted his estimates of noncitizen

registration using CCES data in his Electoral Studies article, among other things, by race and

Hispanic ethnicity, (Mar. 13, 2018 AM Trial Tr. 1622:5-22), he did not conduct any weighting

for his estimates of noncitizen registration based on the same underlying data in his reports,

(Mar. 13, 2018 AM Trial Tr. 1565:21-1566:6; 1622:24-1623:3).

                      ii. Sedgwick County Naturalization Data

       257.    Dr. Richman produced another estimate that approximately 1,100 noncitizens in

Kansas are registered to vote, based on information on newly-naturalized citizens in Sedgwick

County. Dr. Richman had information on 789 newly naturalized citizens in Sedgwick County,

(Mar. 13, 2018 AM Trial Tr. 1631:7-11), 8 of whom already had records in the Kansas voter file,
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(Mar. 13, 2018 AM Trial Tr. 1631:12-15). Because 8 divided by 789 equals about 1%, Richman

estimates that 1% of noncitizens in Kansas are registered to vote, and after multiplying that

percentage by the total noncitizen population in Kansas, produces an estimate that approximately

1,100 noncitizens in Kansas could be registered to vote. (Mar. 13, 2018 AM Trial Tr. 1631:19-

24.)

        258.    The estimate of noncitizen registration based on Sedgwick County Naturalization

Data suffers from numerous flaws and does not provide persuasive or credible evidence of

noncitizen registration, for at least three reasons.

        259.    First, the estimate is not statistically significant. Although this estimate is based

on the largest sample size of any of Dr. Richman’s estimates of noncitizen registration in Kansas,

and therefore has the smallest confidence interval and greatest statistical certainty of any of these

estimates, (Mar. 13, 2018 AM Trial Tr. 1632:8-20), it is not statistically distinguishable from

zero, (Mar. 13, 2018 PM Trial Tr. 1787:20-1788:18).

        260.    Second, the estimate of noncitizen registration based on Sedgwick County

naturalization data is not based on a representative sample of noncitizen adults in Kansas. This

sample includes only newly-naturalized citizens, and categorically excludes undocumented

immigrants and legally present noncitizens who have not naturalized. (Mar. 13, 2018 AM Trial

Tr. 1634:17-21 (Ansolabehere Testimony); see also Ex. 74, 2017.03.15 Minnite Expert Rep., at

6-8.) Noncitizens who naturalize tend to be older, more stable in their living situations and

better-educated than noncitizens who do not. (Mar. 13, 2018 PM Trial Tr. 1786:21-1787:2). All

of these factors tend to correlate with higher registration rates. (Ex. 102, Ansolabehere Expert

Rep., at 23.) As a result, an estimate of noncitizens based on naturalized citizens is likely to

overestimate the number of noncitizens who are registered to vote in Kansas. (Mar. 13, 2018



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PM Trial Tr. 1787:3-12.)

       261.    Dr. Richman did not weight the sample of newly-naturalized citizens to accurately

reflect the noncitizen population of Kansas. Even though Dr. Richman weighted his estimates of

noncitizen registration in his published research by, among other things, race and Hispanic

ethnicity, (Mar. 13, 2018 AM Trial Tr. 1622:5-22), and he weighted his Suspense List survey by

age and gender, he did not conduct any weighting for his estimates of noncitizen registration

based on the Sedgwick County data in his reports, (Mar. 13, 2018 AM Trial Tr. 1633:18-23;

1634:5-9). Dr. Richman did not collect information from the voter registration applications of

these individuals that, for example, could have enabled him to weight his sample by age. (Mar.

13, 2018 AM Trial Tr. 1633:24 – 1634:2.)

       262.    Dr. Richman speculated that registration rates among those about to naturalize are

likely to be lower than registration rates among other noncitizens, (Mar. 13, 2018 AM Trial Tr.

1636:12-17), but he acknowledged that he has never done any research that attempts to quantify

or compare registration rates among those noncitizens who naturalize and those who do not,

(Mar. 13, 2018 AM Trial Tr. 1636:3-7); and the only authority he cites in support of that

proposition is an interview with a single former Immigration and Customs Enforcement officer

on FOX News, (Mar. 13, 2018 AM Trial Tr. 1637:25-1639:4).

       263.    Third, Defendant did not establish that this estimate is based on noncitizens who

had successfully registered to vote prior to naturalizing. In his initial report in this case, quoting

Tabitha Lehman, Richman noted that the 8 supposed noncitizen registrants “were already in

ELVIS.” (Ex. 952, Richman Expert Rep., at 5.) But as Richman admitted himself, individuals

who merely attempt to register to vote can be found in ELVIS, even if they never successfully

registered. (Mar. 13, 2018 AM Trial Tr. 1570:15-1571:14) (noting that individuals may be in



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ELVIS because they failed to provide DPOC or for other reasons). Defendant has failed to

demonstrate that this estimate is based on successful registrants.

                       iii. TDL Survey

       264.      Dr. Richman produced another estimate that approximately 18,000 noncitizens in

Kansas are registered to vote, based on a survey of temporary driver’s license (TDL) holders. A

total of 37 TDL holders responded to the survey; of these 37 individuals, 6 self-reported that they

had registered to vote or had attempted to register to vote. (Mar. 13, 2018 AM Trial Tr. 1639:8-

23.) Because 6 divided by 37 equals about 16.5%, Richman estimates that about 16% of

noncitizens in Kansas are registered to vote, and after multiplying that percentage by the total

noncitizen population in Kansas, he estimates that approximately 18,000 noncitizens are

registered or have attempted to register to vote in the state of Kansas. (Mar. 13, 2018 AM Trial

Tr. 1640:2-7.)

       265.      In his opening statement, Defendant Kobach cited this figure of 18,000, and

described it as the “best estimate” of noncitizen registration in the state of Kansas. (Mar. 6,

2018 AM Trial Tr. 46:4-7)

       266.      Dr. Richman did not agree with Defendant’s assessment. Unlike with his other

estimates of noncitizen registration, Dr. Richman weighted his estimate based on the TDL survey

sample to match the overall noncitizen population in Kansas along various demographic

characteristics. (Mar. 13, 2018 AM Trial Tr. 1643:2-8.) This had the effect of reducing his

initial estimate of noncitizen registration based on the TDL by about a third, from about 18,000

to around 13,000 noncitizens registered to vote in Kansas. (Mar. 13, 2018 AM Trial Tr. 1643:2-

11.) Dr. Richman testified that, as a political scientist, he considers this weighted estimate of

13,000 to be more reliable than the unweighted estimate of 18,000. (Mar. 13, 2018 AM Trial Tr.

1643:12-17.)
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        267.    The estimate of noncitizen registration based on the TDL Survey suffers from at

least four flaws, and thus does not provide persuasive or credible evidence of noncitizen

registration.

        268.    First, the sample size of 37 is too small to draw credible estimates. (Mar. 13, 2018

PM Trial Tr. 1768:22-1769:13.) Dr. Richman himself admitted that the TDL sample has a very

“modest sample size,” and that the estimate therefore has “substantial uncertainty.” (Mar. 13,

2018 AM Trial Tr. 1640:22-1642:7). As calculated by Dr. Richman, the confidence interval for

this estimate is quite large, over 20 percentage points (Mar. 13, 2018 AM Trial Tr. 1640:8-13),

which is too uncertain to form a reliable basis for an estimate of noncitizen registration. See

Nat’l Credit Union Admin. Bd., 2014 WL 1745448, at *6; Opal Fin. Grp., Inc., 634 F. App’x at

29.

        269.    Second, Dr. Richman’s TDL survey does not provide information as to the

number of noncitizens who successfully registered to vote, as opposed to merely attempting to

register but failing. Dr. Richman’s survey instrument for the TDL survey used a “double-

barreled” question—asking people whether they registered to vote or “attempted to register,”

which obscures the difference between those who successfully registered to vote and those who

merely attempted to do so. (Mar. 13, 2018 AM Trial Tr. 1645:14-1646:3; Mar. 13, 2018 PM

Trial Tr. 1789:25-1790:12.) As Dr. Richman acknowledged, when a respondent answers yes to

this question, it is impossible to determine whether the respondent successfully registered to vote

or merely attempted to register to vote and failed. (Mar. 13, 2018 AM Trial Tr. 1646:4-9,

1647:1-7; Mar. 13, 2018 PM Trial Tr. 1790:13-17.)

        270.    Dr. Richman’s survey provides no information as to why a noncitizen who

attempted to register to vote was unsuccessful, or when that attempt occurred. That is, if a



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respondent attempted to register to vote but was unsuccessful, the survey does not indicate

whether that was because of the DPOC requirement or for some other reason, for example, being

informed of the citizenship requirement for voter registration. (Mar. 13, 2018 AM Trial Tr.

1647:81648:7.) Incidents of “attempted registration” in this survey are therefore not probative of

whether the DPOC requirement is necessary to prevent noncitizen registration.

       271.    Third, Dr. Richman’s estimate of noncitizen registration based on the TDL is

attributable entirely to registration overreporting, i.e., individuals who said that they had

registered or had attempted to register, but who in fact had done neither. Dr. Hersh looked for

the 6 individuals who self-reported as being registered to vote or having attempted to register to

vote in the ELVIS database of individuals who have registered to vote or who have submitted a

voter registration form, but was unable to find them. (Mar. 13, 2018 PM Trial Tr.1725:17-

1726:8; Mar. 13, 2018 PM Trial Tr. 1653:16-1654:10) (Richman testifying that he was aware of

Hersh’s findings). Dr. Richman did not conduct a similar analysis, and did not dispute Dr.

Hersh’s findings in this regard. (Mar. 13, 2018 PM Trial Tr. 1654:18-1655:9.)

       272.    Fourth, Dr. Richman did not provide a response rate for his TDL survey, making

it impossible to assess the statistical reliability of the survey.    (Mar. 13, 2018 PM Trial

Tr.1655:10-25; Mar. 13, 2018 PM Trial Tr. 1791:18-1792:19.) The response rate to a survey is

the percentage of individuals who answer a survey. (Mar. 13, 2018 PM Trial Tr. 1790:25-

1791:14.) A survey with a particularly low response rate may be unreliable due to “non-response

bias,” a problem in which the survey sample is not representative of the larger population. (Mar.

13, 2018 PM Trial Tr. 1790:25-1791:14.) It is standard in political science journals to publish a

response rate alongside the survey in order to evaluate whether a survey might suffer for non-

response bias. (Mar. 13, 2018 PM Trial Tr. 1790:25-1792:10.)



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       273.    Although Dr. Richman provided an estimate for the overall response rate for all of

his surveys aggregated together, he was unable to provide a response rate for his survey of TDL

holders. (Mar. 13, 2018 PM Trial Tr. 1655:10-25.) It is therefore impossible to assess the

statistical reliability of the TDL survey.

                       iv. Incidental Contacts

       274.    Dr. Richman produced another estimate that approximately 6,000 noncitizens in

Kansas are registered or have attempted to register to vote, based on survey responses from

“incidentally-contacted” noncitizens.        In the course of conducting his various surveys, Dr.

Richman encountered individuals he did not intend to contact, but accidentally communicated

with. (Mar. 13, 2018 AM Trial Tr. 1611:5-11.) Nineteen of these individuals self-reported as

noncitizens, 1 of whom stated on the survey that he/she had registered to vote or attempted to

register to vote. (Mar. 13, 2018 PM Trial Tr. 1656:1-10.) Because 1 divided by 19 equals 5.3%,

Dr. Richman estimates that 5.3% of noncitizens in Kansas are registered to vote or have

attempted to register to vote, and after multiplying that percentage by the total noncitizen

population in Kansas, estimates that about 6,000 noncitizens are registered to vote or have

attempted to do so. (Mar. 13, 2018 PM Trial Tr. 1656:18-1657:2.)

       275.    The estimate of noncitizen registration based on those incidentally contacted

noncitizens suffers from at least five flaws and does not provide persuasive or credible evidence

of noncitizen registration for several reasons.

       276.    First, Dr. Richman himself acknowledged in his initial report that, using the

conventional method for calculating a margin of error, the estimate is not statistically

distinguishable from zero. (Mar. 13, 2018 PM Trial Tr. 1798:18-23.)

       277.    Second, regardless of the method used for calculating the margin of error, this

estimate is derived from an “extremely small” sample of 19 survey respondents, and therefore
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has a low statistical power. (Mar. 13, 2018 PM Trial Tr. 1798:7-23). The estimate is based on a

single individual stating that he/she was registered or had attempted to register to vote and also

stating that he/she was a noncitizen. (Mar. 13, 2018 AM Trial Tr. 1611:12-23.) Dr. Richman

himself acknowledged that the estimate is “very uncertain.” (Mar. 13, 2018 AM Trial Tr.

1612:5-13.) Using any of the methods of calculating margins of error that Dr. Richman employs

in his supplemental report, the confidence interval for his estimate based on those who were

incidentally contacted is more 20 percentage points, (Mar. 13, 2018 PM Trial Tr. 1657:5-9),

which is too large to form a reliable or probative estimate of noncitizen registration in Kansas.

See Nat’l Credit Union Admin. Bd., 2014 WL 1745448, at *6; Opal Fin. Grp., Inc., 634 F. App’x

at 29.

         278.   Third, the survey sample is arbitrary. It is not based on any conceptualization or

design that is based in any statistical foundation. (Mar. 13, 2018 PM Trial Tr. 1798:24-1799:8.)

The respondents are individuals that the designers of other surveys did not seek to encounter.

(Mar. 13, 2018 PM Trial Tr. 1798:24-1799:8.) It cannot be described as a representative sample

of noncitizens in Kansas.

         279.   Fourth, the estimate is based on the same double-barreled survey question that

rendered the TDL survey estimate unreliable as a measure of registration or attempted

registration in Kansas. There is no way to know whether the lone individual in the sample who

answered affirmatively to the registration question successfully registered to vote or simply

attempted to register to vote. (Mar. 13, 2018 PM Trial Tr. 1656:11-14; 1797:6-9.) And if the

individual attempted to register to vote, there is no way to know what prevented the individual

from doing so. (Mar. 13, 2018 PM Trial Tr. 1656:15-17.)

         280.   Fifth, the sample was not weighted to adjust the sample to accurately reflect the



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noncitizen population of Kansas. Even though Dr. Richman had age, race and ethnicity

information from the sample, he did not weight the sample on those variables to match the larger

adult noncitizen population in Kansas. (Mar. 13, 2018 PM Trial Tr. 1657:10-18.)

           iii. Survey of Registered Voters

       281.    Dr. Richman also conducted a survey of more than 500 registered voters in four

counties in Kansas. None of the respondents to this survey self-identified as a noncitizen. (Mar.

13, 2018 AM Trial Tr. 1604:8-17.)

       282.    Dr. Richman did not produce an estimate of noncitizen registration based on this

survey, omitting its results from his analysis. He acknowledged, however, that if he were to

calculate an estimate of noncitizen registration in Kansas based on this survey, the estimate

would be zero. (Mar. 13, 2018 PM Trial Tr. 1794:25-1795:11; Mar. 13, 2018 AM Trial Tr.

1605:19-24 (same).)

       283.    Because this estimate is based on a sample of more than 500 observations, it has

significantly more statistical power than any of Dr. Richman’s estimates of noncitizen

registration, with the exception of his estimate based on Sedgwick County naturalization data.

(Mar. 13, 2018 PM Trial Tr. 1795:12-1796:2.)

           B. Dr. Richman’s Estimates of the Number of Noncitizens on the Suspense List

       284.    Dr. Richman conducted a survey of more than 1,300 individuals on the Suspense

List, and 7 respondents (or approximately 0.5%) self-reported that they were noncitizens. (Mar.

13, 2018 AM Trial Tr. 1584:1-6.)

       285.    Dr. Richman did not conclude, based on this survey sample of approximately

1,300 people, that 0.5% of all people on his version of the suspense list containing approximately

18,000 individuals were noncitizens. Instead, Dr. Richman weighted his sample by various

characteristics that, in his view, could correlate with citizenship status, including age, gender,

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party identification, geographic region, year of registration and “foreign name,” in order to adjust

for differences between the sample and the Suspense List as a whole. (Mar. 13, 2018 AM Trial

Tr. 1584:7 – 1585:5; 1585:12 – 1586:6.) After weighting his sample, he estimated that 0.7% of

the people on the suspense list—or around 117 people—are noncitizens. (Ex. 952, Richman

Expert Rep., at 8; Mar. 13, 2018 AM Trial Tr. 1511:18-1512:7.) Dr. Richman explained that he

considers the weighted estimate to be more likely to be accurate than the unweighted one. (Mar.

13, 2018 AM Trial Tr. 1585:6-11.)

       286.    Although Dr. Richman did not provide a margin of error for his estimate of the

percentage of individuals on the suspense list who are noncitizens, Dr. Ansolabehere did do so,

and determined that Dr. Richman’s estimate that 0.7% of the people on the suspense list are

noncitizens is statistically indistinguishable from zero. (Mar. 13, 2018 PM Trial Tr. 1800:17-

25.) Dr. Richman did not dispute Dr. Ansolabehere’s finding in this regard.

       287.    Even if taken at face value, the corollary to Dr. Richman’s estimate that 0.7% of

people on the Suspense List are noncitizens, is that more than 99% of the individuals on the

Suspense List are actually United States citizens whose registrations have been impeded by the

DPOC requirement. (Mar. 13, 2018 PM Trial Tr. 1800:11-16 (Ansolabehere Testimony).)

       288.    The weighting process employed by Richman is not credible. Dr. Richman and a

graduate student assistant went through the suspense list and determined which names were, in

their view, foreign. (Mar. 13, 2018 AM Trial Tr. 1595:23-1596:7.) Neither Dr. Richman nor his

assistant had any experience in identifying foreign names. (Mar. 13, 2018 AM Trial Tr. 1596:8-

20). By Richman’s own admission, their determinations were subjective and based primarily on

whether the name was anglophone. (Mar. 13, 2018 AM Trial Tr. 1597:14-1598:10.) Dr.

Richman also testified that their work was performed quickly, and that they made many mistakes



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along the way. (Mar. 13, 2018 AM Trial Tr. 1599:15-21.) A review of their coding revealed

inconsistencies; for example, of five individuals with the last name of “Lopez,” two were coded

as foreign and three were coded as non-foreign. (Mar. 13, 2018 AM Trial Tr. 1600:3-23.) Dr.

Richman also testified that he would have coded Carlos Murguia, a District Judge sitting in this

Court, as foreign. (Mar. 13, 2018 AM Trial Tr. 1600:24-1601:11.)

VIII. ALTERNATIVES TO DPOC REQUIREMENT

       289.    The evidence at trial indicated, and the KSOS acknowledged, that there are

several ways other than a DPOC requirement to verify the citizenship of voters. (Mar. 8, 2018

PM Trial Tr. 749:8-12.)

       A. Training at DOVs

       290.    Defendant has not sought to improve training procedures to ensure compliance

with DOV policy against offering noncitizens voter registration.

       291.    Despite DOV policy of not offering voter registration to driver’s license

applicants who self-identify as non-citizens, see supra __, DOV employees have offered voter

registration to individuals who have self-identified at noncitizens. (Mar. 7, 2018 PM Trial Tr.

531:4-532:13 (Lehman Testimony); see also Mar. 9, 2018 PM Trial Tr. 1140:16 – 1141:5 von

Spakovsky Testimony (agreeing that “there seems to be a problem that occurs in a number of

cases that a DMV worker” offers voter registration to an applicant despite knowing that the

individual is a noncitizen).) As Ms. Lehman stated in an email with the former election director,

Brad Bryant, “I just wish DMV would not register people who they know to be non-citizens.”

(Ex. 22, Lehman email re: noncitizen attempting to register; Ex. 99, ELVIS Registrant Detail for

“AS,” at 5.)

       292.    Defendant’s expert witness Mr. von Spakovsky opined that DOV employees

should be trained not to offer voter registration to noncitizens. (Mar. 9, 2018 PM Trial Tr.

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1138:16-20.)

         293.   Kansas DOV employees, however receive very little training or guidance.

Driver’s license clerks in Kansas receive, on average, no more than thirty minutes of training

regarding motor voter registration laws during their two-day in classroom training. (PTO Stip.

¶ 76.)

         294.   The KSOS has not undertaken any efforts in recent years to improve training

processes for DOV clerks. Bryan Caskey became the Elections Director at the KSOS in 2015

and remains in that position today. (PTO Stip. ¶¶ 78; 119.) Prior to 2015, the KSOS regularly

produced guides and posters for DOV training, and on at least two occasions provided training to

over 150 driver’s license officials on their voter registration duties, including direction that only

citizens should be permitted to register to vote. (Mar. 7, 2018 PM Trial Tr. 590:18 – 591:5;

599:6-9 (Bryant Dep.).) The last time the KSOS provided such training was in 2010 and the last

time the KSOS provided written training materials was 2012. (Mar. 7, 2018 PM Trial Tr. 592:7 –

593:19; 595:24 – 596:21; 598:14 – 599:9 Bryant Dep.).) Since Mr. Caskey became Elections

Director in 2015, the KSOS has not provided training or promulgated a training manual about

voter registration to DOV personnel. (See PTO Stip. ¶¶ 119-120.) Between February 2015 and

June 2016, the KSOS did not provide any new written training materials to the DOV concerning

motor voter registration laws. (PTO Stip. ¶ 77.) The KSOS has not even drafted in written form

an instruction to DOV clerks to not offer voter registration applications to noncitizens since Mr.

Caskey became Elections Director. (PTO Stip. ¶ 121.) Nor does KSOS assess or evaluate DOV

employees on their voter registration practices. (PTO Stip. ¶ 123.)

         B. Driver’s License List Comparisons

         295.   Defendant has identified possible noncitizens on the voter rolls who registered to

vote through the motor-voter process, by comparing the voter file to DOV records.
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       296.    The KSOS has compared the TDL list to the ELVIS database in recent years,

including 2009, 2010, and 2011, and 2017. (PTO Stip. ¶ 93; Mar. 7, 2018 PM Trial Tr. 584:16 -

585:6; 586:2-17 (Bryant Dep.); Mar. 8, 2018 PM Trial Tr. 752:19-22 (Caskey Testimony).)

While generating false positives (because some driver’s license applicants may show a

noncitizen document at DOV, and then subsequently naturalize before applying to register to

vote), these comparisons provide the KSOS with information about possible noncitizens who

have become registered to vote. (PTO Stip. ¶ 92; Mar. 7, 2018 PM Trial Tr. 587:1-8 (Bryant

Dep.) (reporting 37 possible matches).)

       297.    As of January 30, 2017, the KSOS had identified 79 individuals on the TDL List

who were also on the voter rolls. (PTO Stip. ¶ 94.) Several individuals identified by comparing

the TDL list to the voter rolls were referred for prosecution. (PTO Stip. ¶ 95; Mar. 7, 2018 PM

Trial Tr. 586:9-17; 589:20 – 590:12 (Bryant Dep.).)

       298.    The DOV has also compared the voter registration file to information in the

driver’s license database to identify individuals in the voter registration file who presented

noncitizen legal permanent resident documents (green cards) in the course of applying for

driver’s licenses. (PTO Stip. ¶ 96; Mar. 8, 2018 PM Trial Tr. 750:17 – 751:13.)

       299.    Defendant has offered no evidence that the KSOS has conducted vigorous follow-

up investigations of individuals who presented a green card to DOV after or around the same

time as applying to register to vote.

       C. Jury List Questionnaires

       300.    Defendant has identified possible noncitizens on the voter rolls by examining

responses to jury questionnaires. (See, e.g., PTO Stip. ¶ 126; Mar. 8, 2018 PM Trial Tr. 754:22 –

755:13.)

       301.    On an at least monthly basis, Kansas District Court Clerks send to the KSOS the
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lists of individuals who requested to be excused from jury service based on their claims that they

are not U.S. citizens, a requirement that stems from a bill that Secretary Kobach helped draft.

(PTO Stip. ¶¶ 98, 124; Mar. 8, 2018 PM Trial Tr. 753:15 – 754:13; Mar. 7, 2018 PM Trial Tr.

583:7-584:15 (Brant deposition).)     The KSOS uses this information to identify possible

noncitizens on the voter rolls by comparing these lists to the voter rolls; and while this method

may generate some false positives (because some people may falsely claim to be noncitizens in

order to escape jury duty) it provides some information about possible noncitizen registration

that could be used for further investigation. (PTO Stip. ¶¶ 99, 100, 126; Mar. 7, 2018 PM Trial

Tr. 569:17 – 571:6; 580:4-14 (Rucker Dep.); Mar. 8, 2018 PM Trial Tr. 754:14 – 755:13;

757:20-25 (Caskey Testimony).)

       302.    Based on these jury questionnaires, the KSOS identified three possible

noncitizens on the voter rolls. (PTO Stip. ¶ 126; Mar. 8, 2018 PM Trial Tr. 754:22 – 755:13.)

An investigator employed by the KSOS provided the full names and dates of birth of these three

individuals to the U.S. Department of Homeland Security (“DHS”) via email. (PTO Stip. ¶ 127;

Mar. 8, 2018 PM Trial Tr. 767:17-21; Mar. 9, 2018 Trial Tr. 938:1 – 939:14 (Caskey

Testimony); Ex. 55, McCullah email re POC.)          DHS responded with an email describing

information known to DHS about the immigration and citizenship status of these three

individuals. (PTO Stip. ¶ 128; Mar. 9, 2018 Trial Tr. 938:1 – 939:14; Ex. 55.)

       D. DHS Confirmation and the Systematic Alien Verification for Entitlements
          (“SAVE”) Database

       303.    Defendant has not meaningfully attempted to use DHS data to identify possible

noncitizens on the voter rolls.

       304.    The KSOS has directly confirmed the noncitizenship status of some registrants

through DHS on at least two occasions. In one instance, KSOS obtained information regarding


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several individuals’ citizenship status from DHS via email; KSOS provided basic information to

DHS including name and birthdate, and did not provide Alien Verification Numbers (“AVN” or

“A-Numbers”). (Mar. 8, 2018 PM Trial Tr. 767:17-21; Mar. 9, 2018 Trial Tr. 938:1 – 939:14;

Ex. 55.) In a second instance, the KSOS verified the noncitizenship status of 6 respondents to

Dr. Richman’s TDL survey. (Ex. 952, Richman Expert Rep., at 10.) It is unclear why Defendant

cannot attempt to confirm other possible instances of noncitizen registration through DHS.

       305.   Besides obtaining direct assistance from DHS, Defendant can also utilize the

Systematic Alien Verification for Entitlements (“SAVE”) program, which is overseen by the

United States Citizenship and Immigration Services (“USCIS”), a division of DHS. (PTO Stip.

¶ 104; Ex. 50.) USCIS offers SAVE for the purpose of verifying citizenship status for voter

registration. (PTO Stip. ¶ 106.) Some states, including Florida, Virginia, and Colorado use, or

have attempted to use, SAVE for voter registration purposes. (Mar. 8, 2018 PM Trial Tr. 762:14

– 763:20.)

       306.   KSOS Elections Director Caskey is aware of the fact that other states use or have

attempted to use SAVE for voter registration purposes, but has not contacted any of such state’s

election officials to learn how they have utilized SAVE. (Mar. 8, 2018 PM Trial Tr. 762:14 –

763:20.)

       307.   Other agencies in Kansas have access to noncitizen documentation that could be

used for SAVE searches. For example, DOV collects noncitizen documents in connection with

issuing TDLs. (Mar. 8, 2018 PM Trial Tr. 766:2-10; 886:9-15.) While KSOS obtains information

from the DOV to confirm whether a driver’s license applicant has provided DPOC, (Mar. 8,

2018 PM Trial Tr. 750:17 – 751:13.), it does not obtain A-number information or copies of

noncitizen documents from the DOV. (Mar. 7, 2018 PM Trial Tr. 588:21 – 589:19 (Bryant



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depo.); Mar. 8, 2018 PM Trial Tr. 764:23 – 765:4 (no steps taken to gain access to A numbers)).

The KSOS has not sought to have a law enacted that would enable it to obtain A-number

information or copies of noncitizen documents from the DOV, (Mar. 8, 2018 PM Trial Tr.

765:22 – 766:1), and has not investigated whether other agencies in Kansas (such as KDHE)

have AVN information that could be used for SAVE searches. (Mar. 8, 2018 PM Trial Tr.

765:5-9.)

       308.      While the SAVE Program does not offer a comprehensive list of noncitizens in

the United States, it can be employed to attempt to verify the noncitizenship status of suspected

noncitizens identified through alternatives means, such as matches against DMV lists and juror

questionnaires. As with other methods, the SAVE program has its limitations, insofar as it may

generate false positives because the citizenship information in the database is not updated in real-

time. But SAVE data searches could, in theory, be used as a starting point for additional

investigation.

       E. Criminal Investigations and Prosecutions

       309.      Defendant has not meaningfully attempted to utilize criminal investigations and

prosecutions to prevent and deter noncitizen registration.

       310.      Deputy Secretary of State Eric Rucker, an experienced prosecutor, (Mar. 7, 2018

PM Trial Tr. 566:2-13; 567:23-568:14), testified that criminal prosecutions can prevent and deter

criminal conduct, (Mar. 7, 2018 PM Trial Tr. 566:14-21; 568:15-18).

       311.      Since July 1, 2015, the KSOS has had the independent authority to prosecute any

person who has committed or attempted to commit any act that constitutes a Kansas elections

crime. (PTO Stip. ¶ 107; Kan. Stat. Ann. § 24-2435; Mar. 8, 2018 PM Trial Tr. 755:14- 31:7-

18.) Secretary Kobach was involved in the drafting of, and advocacy in favor of, the bill that

granted the KSOS this authority. (PTO Stip. ¶ 132; Mar. 7, 2018 PM Trial Tr. 571:8-15 (Rucker
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depo. on KSOS assisting in drafting the legislation).)

       312.    Despite claiming to have identified more than 120 incidents of noncitizen

registration or attempted registration, as of May 25, 2017, the KSOS had filed no criminal

complaints and obtained no convictions against a noncitizen for allegedly registering to vote.

(PTO Stip. ¶¶ 110, 112.)

       313.    As of June 20, 2017, the KSOS had filed one criminal complaint against an

individual who voted while being a noncitizen. (PTO Stip. ¶ 111; Mar. 8, 2018 PM Trial Tr.

756:5 – 757:1 (Caskey Testimony); Mar. 7, 2018 PM Trial Tr. 571:22-572:10 (Rucker Dep.).)

       314.    As of June 20, 2017, the KSOS had obtained one conviction against an individual

for voting as a noncitizen. (PTO Stip. ¶ 114; Mar. 8, 2018 PM Trial Tr. 756:5 – 757:1 (Caskey

Testimony).)

IX.    DEFENDANT SECRETARY KOBACH LACKS CREDIBILITY ON THE ISSUE
       OF NONCITIZEN REGISTRATION

       A. Defendant Kobach’s false assertions concerning Somali noncitizen voting

       315.    Defendant Kobach continued to make the false claim that approximately 50

noncitizens from Somalia voted in a 2010 election in Kansas City, even after the Missouri Court

of Appeals’ 2010 decision in Royster, 326 S.W.3d 104, finding no evidence of voter fraud in that

election. (Mar. 9, 2018 AM Trial Tr. 991:14- 993:24 (Minnite Testimony); Ex. 77, 2016.02.25

Minnite Expert Rep., at 24-25.) Defendant Kobach relied on this false claim as an example of

noncitizen voter fraud in op-eds in the Wall Street Journal and the Washington Post in 2011; an

op-ed in the Topeka-Capital Journal and an article in the Syracuse Law Review in 2012; an op-

ed in the Wichita Eagle in 2013; and as recently as in 2015 during testimony before a

subcommittee of the U.S. House Committee on Oversight and Government Reform and in an

interview with a nationally syndicated radio host. (Mar. 9, 2018 Trial Tr. 993:9 – 24 (Minnite


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Testimony); Ex. 77 at 25.)

       B. Defendant Kobach’s misrepresentations of Richman’s findings

       316.    Defendant Secretary Kobach cited Dr. Richman’s work on noncitizen registration

and voting to support the notion that the entire vote margin in the 2016 Presidential Election can

be attributed to noncitizen voting. (Ex. 133, Video of Kobach Interview with Kansas City Star.)

       317.    Professor Richman, however, disavowed that characterization. He testified that

he does not believe that his Electoral Studies article supports the claim that millions of

noncitizens voted in the 2016 Election.      (Mar. 13, 2018 PM Trial Tr. 1658:6-9; Ex. 154,

Richman’s blog post article “Why I would sign the open letter if it were true.”) (“My study

DOES NOT support Trump’s claim that millions of non-citizens voted in the 2016 election.”) He

further testified that he is not aware of any research supporting the notion that the entire margin

in the popular vote for president in 2016 can be attributed to noncitizen voting. (Mar. 13, 2018

PM Trial Tr. 1664:19-1665:24.)

       C. Defendant Kobach’s Efforts to Amend the NVRA Due to Insufficient Evidence
          of Noncitizen Voter Registration

       318.    On October 28, 2016, this Court granted Defendant’s motion to reopen discovery

in light of the Tenth Circuit’s affirmance of the Court’s preliminary injunction. ECF No. 254

at 6. The Court stated: “fairness dictates that Secretary Kobach be permitted some additional

time to marshal evidence [of noncitizen registration] that could rebut the attestation presumption

under § 5.” ECF No. 254 at 6.

       319.    At some point after this Court’s preliminary injunction decision and before the

November 7, 2016 election, Defendant drafted an amendment to Section 5 of the NVRA that

would permit him to impose a DPOC requirement without proving that substantial numbers of

noncitizens had registered to vote in Kansas.       (Ex. 67, Draft Amendments to the NVRA


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(replacing “minimum amount of information necessary” text in Section 5 of the NVRA with text

permitting elections officials to “require any information the State deems necessary”); August 3,

2017 Deposition of Kris Kobach, ECF No. 491, at 30:7-23.)

         320.   On November 9, 2016, the day after the 2016 election, Defendant responded to an

e-mail from Gene Hamilton, a member of President-Elect Trump’s transition team, regarding the

“Day One Book” of priorities for the incoming administration. (Ex. 68, Kobach Email to

Hamilton; see Kobach Dep. Tr., ECF No. 491 at 32:13-22, 37:9-19, 39:15-40:19.) Defendant

referenced plans to compile “legislation drafts for submission to Congress early in the

administration,” and stated: “I have some already started regarding amendments to the NVRA to

make clear that proof of citizenship requirements are permitted (based on my ongoing litigation

with the ACLU over this), as well as legislation . . . [regarding] 8 USC 1623.” (Ex. 68.).

         321.   On November 20, 2016, Defendant met with President-Elect Donald Trump and a

group of his advisors and discussed, among other matters, the risk of noncitizens registering to

vote and potentially swinging the results of elections. (Kobach Dep. Tr., ECF No. 491 at 47:8-

49:13, 57:13-58:23.) Defendant distributed at this meeting an agenda titled, “First 365 days of

the Trump administration.” The agenda included a bullet point proposing “Draft Amendments to

the National Voter Registration Act to promote proof-of-citizenship requirements.” (Ex. 69,

Kobach Memo for Trump Transition Meeting; Kobach Dep. Tr., ECF No. 491 at 47:8-49:13,

57:13)

         322.   President Trump subsequently named Defendant vice chairman of the White

House’s Commission on Election Integrity. (Kobach Dep. Tr., ECF No. 491 at 62:7-18.) In his

capacity as vice chairman of the Commission, Defendant continued to highlight “the issue of

noncitizen voting” and documentary proof of citizenship requirements with the staff of the



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commission. (Kobach Dep. Tr., ECF No. 491 at 66:9-67:25.)

       323.   Defendant further testified that he had contacted Iowa congressman Steve King to

ask “would he be willing to carry [an NVRA] amendment if I ever gave one to him, and he said

yes.” (Kobach Dep. Tr., ECF No. 491 at 69:15-71:8.)

       324.   Defendant testified during his deposition that he intended the draft NVRA

amendment only as a remote “contingency if the plaintiffs prevail in the 10th Circuit and if the

Supreme Court denies cert.” (Kobach Dep. Tr., ECF No. 491 at 69:15-71:8.) However, this

explanation is not credible because Defendant’s deposition testimony is inconsistent with the

timing of his written communications and actions during the Fall of 2016.

       325.   Defendant contacted the President-elect’s transition team about his NVRA

amendment the day after the November 8, 2016 election. His e-mail states that the draft is “for

submission to Congress early in the administration.” Kobach Dep. Tr., ECF No. 491 at 37:12-

13. Two weeks later, Defendant met personally with the President-elect and discussed the threat

of noncitizens voting and provided him with an agenda for the “First 365 days of the Trump

administration,” which proposed amending the NVRA to permit DPOC requirements. Ex. 69,

Kobach Memo for Trump Transition Meeting. The President subsequently appointed Defendant

as vice chairman of his Commission on Election Integrity.25



25
  Other aspects of Defendant’s deposition testimony, including internal inconsistencies and
evasiveness, also suggest a lack of truthfulness. For instance, Defendant refused to provide
direct answers about the effect his draft amendment would have on Plaintiff’s lawsuit if it were
enacted. (See Kobach Dep. Tr., ECF No. 491 at 22:11-26:10, 28:19-29:21.) It is difficult to
credit Defendant’s purported ignorance of the impact of his amendment given what he
communicated about the amendment to the President-elect’s transition team. It is further
difficult to credit Defendant’s testimony that he did not consider the argument Plaintiffs
advanced in briefing that the NVRA would need to be amended in order for Defendant to prevail.
(See Kobach Dep. Tr., ECF No. 491 at 15:5-17:4.) The language of Defendant’s draft
amendment mirrors virtually word-for-word the amendment referenced in Plaintiffs’ reply brief.

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       326.    In sum, following the preliminary injunction in this case, Defendant prepared a

draft NVRA amendment that, if enacted, would grant him blanket authority to impose a DPOC

requirement without proving that substantial numbers of noncitizens had registered to vote. After

the Tenth Circuit affirmed the preliminary injunction, this Court reopened discovery to give

Defendant an opportunity to marshal any additional evidence needed to prove his case.

Immediately thereafter, Defendant urged the incoming Trump administration to take up his draft

NVRA amendment and met with the President-elect personally to try to emphasize the threat of

noncitizens voting. Defendant’s efforts to eliminate the evidentiary showing required by the

Tenth Circuit contradicts his assertion that substantial numbers of noncitizens are registering to

vote in Kansas. The steps Defendant took to alter the legal standard governing this case suggest

that he cannot produce credible evidence that noncitizen voter registration is a substantial

problem.

                           PROPOSED CONCLUSIONS OF LAW

I.     STANDING

       327.    Individual Plaintiffs Fish, Bucci, Stricker, Boynton, and Hutchinson are all

eligible Kansas voters who applied to register to vote during a DOV transaction, but whose

applications were suspended and subsequently canceled due to the DPOC requirement. See

Proposed Findings of Fact (“PFOF”) ¶¶ 53-83. They therefore all have standing to assert claims


Compare Ex. 67 with Pls.’ Reply Br. Supp. Prelim. Inj. at 17, ECF No. 88-1. Defendant further
testified that the reference in his transition memo to draft NVRA amendments was not intended
to refer to the purported “contingency plan” amendment he had actually drafted. (See Kobach
Dep. Tr., ECF No. 491 at 49:9-50:23.) But then Defendant later admitted that the reference to
draft amendments in the transition memo was indeed directed at Plaintiff’s lawsuit. (See Kobach
Dep. Tr., ECF No. 491 at49:9-50:23 (“[W]e wouldn’t have any finality in this litigation. So you
wouldn’t know whether you guys in the ACLU had succeeded in changing the meaning of
theNVRA.”)) The self-serving aspects of Defendant’s testimony lack credibility.


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under Section 5 of the NVRA. Fish v. Kobach, 840 F.3d 710, 716 n.5 (10th Cir. 2016) (“Fish

II”) (“We are confident on the current record that Plaintiffs-Appellees have standing to sue.”),

order enforced, 16-2105, 2018 WL 1847032 (D. Kan. Apr. 18, 2018); see also Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992); Fish v. Kobach, 259 F. Supp. 3d 1218, 1229

(D. Kan. 2017).

       328.    To the extent Defendant asserts that he has rendered Plaintiffs Stricker, Boynton,

and Hutchinson’s claims moot by subsequently verifying their DPOC, this contention is invalid.

Plaintiffs Stricker Boynton and Hutchinson’s applications were canceled and were only verified

later as a result of the preliminary injunction order. See Mem. & Order, ECF No. 334, at 15, 17

(“The Court will not allow Defendant to use its preliminary injunction order as a justiciability

sword to pick off Plaintiffs whose citizenship he would not have verified otherwise. . . .

Plaintiffs’ cancelled applications were revived and registered by operation of the Court’s

preliminary injunction order”). Their claims are not moot because, if permanent relief is denied

and the preliminary injunction dissolved, these Plaintiffs could be returned to their canceled

status at the time the complaint was filed. Absent permanent relief, Plaintiffs Stricker, Boynton,

and Hutchinson would need to submit new voter registration applications in order to register to

vote. The Plaintiffs therefore have standing to seek a final order that they may remain registered

to vote pursuant to their original registration applications.     See Church of Scientology of

California v. United States, 506 U.S. 9, 12 (1992) (case is moot only where “it [is] impossible for

the court to grant any effectual relief whatever to a prevailing party”) (internal quotation marks

and citation omitted).

       329.    Organizational Plaintiff the Kansas League also has standing. Because of the

DPOC requirement, the Kansas League’s ability to carry out its mission of encouraging and



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assisting citizens to register, vote, and participate in democracy in an informed manner has been

substantially and detrimentally impacted.     See PFOF ¶¶ 85-106.       In particular, the DPOC

requirement has significantly hampered the Kansas League’s voter registration activities. See

PFOF ¶¶ 89-96. The DPOC requirement has also forced the organization to devote substantial

time and monetary resources to combat the DPOC requirement’s harmful effects on its programs

and activities. See PFOF ¶¶ 93-102. The League has committed thousands of hours of volunteer

time to engage in door-to-door and campus campaigns to help voters on the suspense list

complete their registrations. See PFOF ¶¶ 94, 95, 98, 99. As a result, the Kansas League has had

to divert its limited resources and focus away from other important initiatives and work that

advance its mission.    See PFOF ¶ 106.      Because the DPOC requirement has “‘perceptibly

impaired’” the Kansas League’s mission, programs, and activities, it has standing to assert claims

under Section 5 of the NVRA. Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982); see

also Warth v. Seldin, 422 U.S. 490, 511 (1975); League of Women Voters v. Newby, 838 F.3d 1,

9 (D.C. Cir. 2016) (concluding Kansas League has standing to challenge addition of DPOC

requirement to Kansas’ state-specific instructions to the national mail voter registration form

because new obstacles created by DPOC requirement “unquestionably make it more difficult for

the [Kansas and other] Leagues to accomplish their primary mission of registering voters”).

II.    DEFENDANT’S PROFFERED EXPERTS, DR. CAMAROTA AND MR.
       MCFERRON

       330.    Dr. Camarota is not qualified to provide expert testimony on the subjects on

which he has been proffered as an expert by Defendant. To the extent that Dr. Camarota is an

expert on any topic, he is an expert on immigration, not on voting or on statistics. See PFOF

¶¶ 145-46. Dr. Camarota has never published a peer-reviewed publication about anything related

to voting (let alone on the specific topics of voter registration requirements, the effect of voter


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registration requirements on voter participation rates, voter registration, and voter turnout). See

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 593 (1993) (“[S]ubmission to the scrutiny

of the scientific community is a component of ‘good science,’ in part because it increases the

likelihood that substantive flaws in methodology will be detected.”); see also Koch v. Shell Oil

Co., 49 F. Supp. 2d 1262, 1268 (D. Kan. 1999) (finding the fact that the purported expert’s

methodology “had not ever [been] submitted … for peer review to determine its validity,

reliability, and reproducibility” weighed against the admissibility of the purported expert’s

opinion). Further, the United States District Court for the District of Florida has found him to be

“not qualified to offer testimony as to the degree of accuracy of . . . rates [of voter registration

from the Census Bureau's American Community Survey (“ACS”)]” and has found his testimony

and analysis of ACS data to be both “misleading” and “inaccurate.” Bellitto v. Snipes, 16-61474,

2017 WL 2972837, at *9 (S.D. Fla. July 12, 2017); PFOF ¶ 147. Likewise, Dr. Camarota’s

failure in the instant matter to take the basic steps necessary to control for the impact of

confounding factors of which he was aware, see PFOF ¶¶ 152-54, belies any notion that he

“employs . . . the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.’” United States v. Medina-Copete, 757 F.3d 1092, 1101 (10th Cir. 2014) (quoting

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)); see also Nelson v. Tennessee Gas

Pipeline Co., 243 F.3d 244, 252 (6th Cir. 2001) (affirming district court’s exclusion of the

testimony of two expert witnesses because, inter alia, they failed to “account for ‘confounding

factors’”).

        331.   Mr. McFerron is not qualified to provide expert testimony because he is a pollster,




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not a statistician. 26 The facts that: (i) his background in statistics is limited to two courses

(though he cannot even recall then name of one of them); (ii) he does not know what a “T

Statistic” is (let alone how to calculate it); (iii) he is not familiar to with the American

Association of Public Opinion Research, and (iv) he is not familiar with the concept of social

desirability as it relates to survey research, PFOF ¶ 126 make clear that he does not employ “the

same level of intellectual rigor that characterizes the practice of an expert in the relevant field.’”

Medina-Copete, 757 F.3d at 1101         (quoting Kumho Tire, 526 U.S. at 152).          Further, Mr.

McFerron has never published a peer-reviewed publication on any topic. See Daubert, 509 U.S.

at 593 see also Koch, 49 F. Supp. 2d at 1268 (finding the fact that the purported expert’s

methodology “had not ever [been] submitted . . . for peer review to determine its validity,

reliability, and reproducibility” weighed against the admissibility of the purported expert’s

opinion); PFOF ¶ 126.

       332.    Defendant’s confused and inconsistent treatment of Mr. McFerron, see PFOF

¶ 127 n.7, coupled with the fact that Mr. McFerron’s proffered submission does not comply with

the basic requirements of the Federal Rules of Civil Procedure Rule 26(a)(2)(B), PFOF ¶ 127,

suggest that Defendant himself knows that Mr. McFerron is not qualified to be an expert

witness.

III.   MERITS

       A. Section 5 of the NVRA Presumptively Preempts a DPOC Requirement

       333.    Under Section 5 of the NVRA, states may require of individuals registering to


26
   Defendant failed to timely disclose Mr. McFerron as an expert witness pursuant to Federal
Rules of Civil Procedure Rule 26(a)(2)(B). At trial, the Court permitted Mr. McFerron to
testimony under advisement and permitted Plaintiffs to preserve their objection that he is not
qualified to testify as an expert in this case. (See Mar. 19, 2018 AM Trial Tr. 1896:7 – 1898:22).



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vote at motor vehicle agencies “only the minimum amount of information necessary to . . .

enable State election officials to assess the eligibility of the applicant . . .”       52 U.S.C.

§ 20504(c)(2)(B)(ii).

       334.    On October 19, 2016, the Tenth Circuit issued a detailed decision affirming this

Court’s preliminary injunction and providing guidance regarding the legal test governing this

case. The Tenth Circuit concluded that an “attestation [of citizenship] under penalty of perjury is

the presumptive minimum amount of information” state election officials can demand of motor-

voter registrants, and that the DPOC requirement is therefore presumptively barred under Section

5. Fish II, 840 F.3d at 716-17 (emphasis in original).

       B. The DPOC Requirement is Burdensome and Contravenes the Express Statutory
          Purposes of the NVRA

       335.    The DPOC requirement contravenes not only the plain meaning of Section 5’s

text, it also obstructs the NVRA’s express statutory purposes of “establish[ing] procedures that

will increase the number of eligible citizens who register to vote” and “enhanc[ing] the

participation of eligible citizens as voters.”      52 U.S.C. § 20501(b)(1)-(2).      This Court

preliminarily found that “the process of submitting DPOC for motor voter applicants is

burdensome, confusing, and inconsistently enforced.” Fish v. Kobach, 189 F. Supp. 3d 1107,

1134 (D. Kan. 2016) (“Fish I”), aff’d, 691 F. App’x 900 (10th Cir.), op. in support of order, 840

F.3d 710 (10th Cir. 2016). The evidence at trial supports that finding. The testimony of

Plaintiffs’ expert Dr. McDonald confirms this Court’s preliminary determination that “[t]he sheer

number of people cancelled or held in suspense because of the DPOC . . . evidences the difficulty

of complying with the law as it is currently enforced.” Id. at 1136. As Dr. McDonald testified,

as of March 31, 2016, more than 22,000 motor-voter applicants had been stymied by the DPOC

requirement. See PFOF¶ 45. As the Tenth Circuit held, this constitutes “the mass denial of a


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fundamental constitutional right.” Fish II, 840 F.3d at 755.

        336.   The testimony of the Plaintiffs further illustrates that the DPOC requirement is

burdensome and inconsistent with the NVRA’s purposes of increasing registration. 52 U.S.C.

§ 20501(b)(1). The experiences of Plaintiffs Fish and Bucci demonstrate that, for some voters,

significant practical barriers—such as the expense of obtaining a birth certificate or the difficulty

of locating a missing document, see PFOF ¶¶ 56-57, 62-63—make the DPOC requirement

particularly burdensome.     Furthermore, the experiences of Plaintiffs Stricker and Boynton

confirm that, even for voters who possess and have brought citizenship documents with them to a

DOV office, see PFOF ¶¶ 66-69, 73-77, the DPOC requirement constitutes an “administrative

maze,” that haphazardly disenfranchises even some voters who bring DPOC to a DOV office.

Fish I, 189 F. Supp. 3d at 1137. And the testimony of Ms. Ahrens, the former President of the

Kansas League, that the DPOC requirement has significantly reduced the effectiveness of voter

registration drives in Kansas because many voters do not have DPOC at hand, see PFOF ¶¶ 91-

96, further illustrates that the added burden of compliance has prevented many would-be voters

from registering. See Newby, 838 F.3d at 13 (“It does not matter whether that is because they

lack access to the requisite documentary proof or simply because the process of obtaining that

proof is so onerous that they give up. . . . The outcome is the same—the abridgment of the right

to vote.”).

        337.   The DPOC requirement is also inconsistent with the NVRA’s express purpose of

enhancing participation. 52 U.S.C. § 20501(b)(2). This Court preliminarily found that “the

DPOC law has caused a chilling effect, dissuading those who try and fail at navigating the motor

voter registration process from reapplying in the future.” Fish I, 189 F. Supp. 3d at 1145. The

evidence at trial bears out that preliminary conclusion. The DPOC requirement had precisely



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that chilling effect on Plaintiff Boynton, who simply gave up on attempting to register after his

initial motor-voter application was not processed. See PFOF ¶ 77. And Plaintiffs’ expert Dr.

McDonald credibly testified more broadly that the deterrent effect of the DPOC requirement is

magnified because it only applies to first-time voter registration applicants, who are

disproportionately those voters who are most sensitive to the costs of voting—that is, young and

unaffiliated voters. See PFOF ¶¶ 47-50.

          338.   Defendant’s various evidentiary submissions as to the burdens of the DPOC

requirement are unavailing. The evidence concerning the hearing alternative showed that it is in

fact a cumbersome process, of which voters are largely unaware and rarely use. See PFOF

¶¶ 108-123. Defendant’s expert evidence as to document possession rates was not statistically

reliable, PFOF ¶¶ 225-284; and, in any event, document possession rates are not very probative

as to the burdens of the DPOC requirement, which is best assessed by the number of voters

whose applications have been blocked by the law. See Newby, 838 F.3d at 13 (holding regarding

17,000 suspended registration applications that “[i]t does not matter whether that is because they

lack access to the requisite documentary proof or simply because the process of obtaining that

proof is so onerous that they give up. . . . The outcome is the same—the abridgment of the right

to vote.”). Defendant’s expert evidence on turnout rates was similarly unreliable, and was not

probative about the effect of the law. See Veasey v. Abbott, 830 F.3d 216, 260 (5th Cir. 2016)

(en banc) (“An election law may keep some voters from going to the polls, but in the same

election, turnout by different voters might increase for some other reason. . . . That does not

mean the voters kept away were any less disenfranchised.”), cert. denied, U.S., 137 S. Ct. 612

(2017).

          339.   Defendant’s post-injunction evidence was excluded given the tardiness of the



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disclosure and the prejudice of presenting new data to Plaintiffs mid-trial without affording any

opportunity for review. But even if the evidence were admitted, as Defendant’s own expert

opined, this data is not probative of the effect of the DPOC requirement. see PFOF ¶¶ 157-59.

To the extent the burden of the DPOC law has decreased, it is likely due to the Court’s

intervention barring Defendant from enforcing the requirement against motor-voter applicants.

       340.    Finally, while the NVRA’s other express statutory purposes are “to protect the

integrity of the electoral process” and “to ensure that accurate and current voter registration rolls

are maintained,” 52 U.S.C. § 20501(b)(3)-(4), neither goal is furthered by the DPOC

requirement. Election integrity is not protected when so many voter registration applicants—

approximately 12% of all registration applications from 2013 through early 2016, see PFOF

¶¶ 33-46—are prevented from registering, and thus participating in elections.            And voter

registration rolls are rendered inaccurate when so many eligible Kansans’ voter registration

applications are unnecessarily held in suspense or canceled.

       C. The Presumptive Invalidity of a DPOC Requirement Can Be Rebutted Only if
          Defendant Can Satisfy a Two-Part Test

       341.    As this Court previously noted, under the Tenth Circuit’s guidance, the

presumption that Section 5 of the NVRA prohibits states from requiring more than an attestation

from motor-voter applicants “is rebuttable if the state can demonstrate ‘that the attestation

requirement is insufficient for it to carry out its eligibility-assessment and registration duties.”

Fish v. Kobach, No. 16-2105, 2018 WL 276767, at *4 (D. Kan. Jan. 3, 2018) (“Fish III”)

(quoting Fish II, 840 F.3d at 738); see also Fish II, 840 F.3d at 738 (discussing Arizona v. Inter

Tribal Council of Ariz., Inc., 570 U.S. 1, 19-20 (2013)).

       342.    The Tenth Circuit further explained that a State may only impose additional

requirements on motor-voter applicants beyond an attestation if it can satisfy a two-part test.


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First, the state must make “a factual showing that substantial numbers of noncitizens have

successfully registered to vote under the NVRA’s attestation requirement.” Fish II, 840 F.3d at

717. Second, even if the State makes such a showing, it cannot impose a DPOC requirement

unless it also demonstrates that it has exhausted alternative, less burdensome measures and

determined that “nothing less than DPOC is sufficient” to address the problem of noncitizen

registration. Id. at 738 n.14. As explained below, Defendant has failed to satisfy either prong of

the Tenth Circuit’s test.

       D. Defendant Has Not Established the First Prong of the Tenth Circuit’s Two-Part
          Test, that Substantial Numbers of Noncitizens Have Successfully Registered to
          Vote in Kansas

       343.    Defendant has not established that substantial numbers of noncitizens have

successfully registered to vote under the NVRA’s attestation requirement. As an initial matter,

this Court and the Tenth Circuit have already rejected Defendant’s “one is too many” theory.

See Fish III, 2018 WL 276767, at *13 (discussing Fish II, at 840 F.3d at 748). Rather, “[t]he

Court will view the number of noncitizen registrations in relation to the number of registered

voters in Kansas as of January 1, 2013, and will otherwise be guided by this legal authority when

determining whether Defendant’s evidence meets the threshold of ‘substantial.’” Id. at *14.

       344.    At trial, Defendant presented evidence of a maximum of 35 successful

registrations by noncitizens dating back to the year 1999. See PFOF ¶ 169. This is not materially

different from the 14 incidents presented by Defendant at the preliminary injunction phase, see

Fish III, 2018 WL 276767, at *13 (citing Fish II, 840 F.3d at 748), which the Tenth Circuit

found was “well short of the showing necessary.” Fish II, 840 F.3d at 747.

       345.    Moreover, even if Defendant had demonstrated that all of the 127 noncitizen

registrations or attempted registrations proffered by Defendant in the Amended Pretrial Order

had successfully registered to vote in Kansas—which he did not do—that number “would
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represent .007 percent of registered voters, PFOF ¶ 161, an ‘exceedingly small’ percentage that

does not meet the test of substantiality.” Fish III, 2018 WL 276767, at *15. It would be roughly

the same percentage of registered voters that Arizona claimed were noncitizens during the

Kobach v. EAC litigation, which the “Tenth Circuit found insubstantial.” Id. See also id. at *14

(“Arizona made a showing that at the time its DPOC law went into effect, at most 196 out of

2,706,223 registered voters were unlawfully registered noncitizens, or .007 percent of all

registered voters”) (citing, inter alia, Kobach v. U.S. Election Assistance Comm’n, 772 F.3d

1183, 1196-98 (10th Cir. 2014) (“EAC”)). As Plaintiffs’ experts Dr. Minnite and Dr. Hersh

explained, a total of 127 cases in a state with more than 1.8 million registered voters would be

consistent with minor administrative errors or scattered misunderstanding by applicants. See

PFOF ¶¶ 217, 222.      Thus, even if the Court were to credit all of the purported cases on

noncitizen registration identified by Defendant, he would still fail to meet his burden on the first

prong of the Tenth Circuit’s two–part test.

       346.    Finally, in light of the testimony of Plaintiffs’ expert Dr. Ansolabehere,

Defendant’s various statistical estimates of noncitizen registration are not credible and cannot

satisfy Defendant’s burden under the first prong of the Tenth Circuit’s two-part test. This Court

previously noted that, if Defendant proved that 18,000 noncitizens had successfully registered to

vote in Kansas, this would constitute a “substantial” number of noncitizens registering under an

attestation regime. Fish III, 2018 WL 276767, at *16. However, Dr. Richman’s data do not

provide statistically useful information concerning the number of noncitizens registered to vote

in Kansas, because, as Dr. Ansolabehere’s meta-analysis demonstrates, Dr. Richman’s estimates

of noncitizen registration are, collectively, statistically indistinguishable from zero. See PFOF

¶ 282. And Dr. Richman’s estimate of 18,000 noncitizen registrations—like his various other



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estimates of noncitizen registration—“contain serious methodological and probative limitations,”

such that the Court should give “little to no weight to Richman’s opinions.” Id.

       347.    In sum, because Defendant has failed to make a credible factual showing that

substantial numbers of noncitizens have successfully registered in Kansas under an attestation

regime, the DPOC law exceeds the minimum amount of information necessary for Kansas

election officials to assess the eligibility of motor-voter registrants, and is thus preempted by

Section 5 of the NVRA. See Fish II, 840 F.3d at 716-17.

       E. Defendant Has Not Established the Second Prong of the Tenth Circuit’s Two-
          Part Test, that Nothing Less than a DPOC Requirement Is Sufficient to Address
          Noncitizen Registration

       348.    Even if Defendant had established that a substantial number of noncitizens had

registered to vote in Kansas, Defendant has failed to demonstrate that alternatives to DPOC are

insufficient to address any potential problem with noncitizen registration.

       349.    Despite evidence that DOV employees have erroneously offered voter registration

to self-identified noncitizens in direct contravention of DOV policy, Defendant has made no

effort to improve the training of DOV employees, distribute revised training materials, or take

any other corrective action since at least 2015. See PFOF ¶ 285. That failure is striking in light

of the admission by Defendant’s own witnesses, as well as the credible testimony of Plaintiffs’

experts Dr. Minnite and Dr. Hersh, that incidents of noncitizen registration are often attributable

to mistaken understandings and/or administrative errors.        See PFOF ¶¶ 217, 222.       Given

Defendant’s failure even to attempt to improve training processes for DOV employees, he has

failed to establish that nothing less than a DPOC requirement is sufficient to address the

possibility of noncitizen registration.

       350.    The evidence at trial also supports the conclusion that a DPOC requirement is

unnecessary because Defendant already exercises two additional alternative means for
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identifying possible noncitizens on the voter rolls that have been recognized by the Tenth

Circuit: comparing voter registration lists to information about noncitizens contained in driver’s

license databases, and examining jury questionnaires for self-identified noncitizens who are

called to jury duty from the voter rolls. See EAC, 772 F.3d at 1189 (citing memorandum by

EAC Executive Director Alice Miller (the “Miller Memo”) regarding alternatives to a DPOC

requirement); Miller Memo, ECF No. 269-37) at 38-39 (describing information in driver’s

license databases and juror questionnaires as sources of information for addressing noncitizen

registration). KSOS Elections Director Caskey has used these methods to identify 82 possible

noncitizens who have registered to vote or who attempted to register to vote. See PFOF ¶ 169.

While these methods may generate false positives (because individuals listed as noncitizens in

the DOV database may have naturalized prior to applying to register to vote, and because people

may falsely identify as noncitizens on jury questionnaires in order to escape jury duty), they may

provide a starting point for further investigation, confirmation, and removal of noncitizens from

the voter rolls. Given that the Plaintiffs’ claims involve the imposition of the DPOC requirement

at the DOV, it is unclear why, in particular, examining noncitizen information in DOV records is

insufficient for the task at hand. Accordingly, in light of the fact that Defendant currently uses

these alternative means for detecting and addressing noncitizen registration, Defendant has failed

to establish that nothing less than a DPOC requirement is sufficient to address the problem of

noncitizen registration.

       351.    The evidence at trial also supports the conclusion that a DPOC requirement is

unnecessary because Defendant has not meaningfully attempted to utilize information from the

Department of Homeland Security, which the Tenth Circuit has recognized as a means of

preventing noncitizen registration.   See EAC, 772 F.3d at 1189 (citing the Miller Memo



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regarding alternatives to a DPOC requirement); Miller Memo, ECF No. 269-37 at 39 (describing

SAVE database as means to address noncitizen registration).27 Although Defendant protests that

he cannot use the DHS SAVE database, he has previously confirmed the noncitizenship status of

registrants through DHS directly, without using the SAVE program.               See PFOF ¶ 295.

Defendant’s own actions thus demonstrate that, to the extent that information from DOV

databases and jury questionnaires generate false positives in the search for noncitizen registrants,

DHS information could be a useful source of additional information.            And, even if direct

confirmation of noncitizenship status through DHS is not available in the future, Defendant has

not attempted to learn how other states have used the DHS SAVE database in the voter

registration process, or tried to obtain the information that would be necessary to use SAVE. See

PFOF ¶¶ 297-98. Given that Defendant has not meaningfully sought to utilize DHS information

as an alternative to a DPOC requirement, he has failed to establish that nothing less than such a

requirement is sufficient to address the problem of noncitizen registration.

       352.    The evidence at trial also supports the conclusion that a DPOC requirement is

unnecessary because Defendant has not meaningfully attempted to use criminal prosecutions,

which the Tenth Circuit has recognized as a means of preventing noncitizens from registering to

vote. See EAC, 772 F.3d at 1189 (citing the Miller Memo regarding alternatives to a DPOC

requirement); Miller Memo,ECF No. 269-37) at 37-38 (describing criminal prosecutions as a

means to address noncitizen registration). Indeed, despite claiming that there are thousands of

noncitizens registered to vote in Kansas and acknowledging that criminal prosecutions can deter

unlawful conduct, Defendant has obtained only a single conviction for noncitizen voting since he

27
   Also publicly-available at
https://www.eac.gov/assets/1/28/20140117%20EAC%20Final%20Decision%20on%20Proof%2
0of%20Citizenship%20Requests%20-%20FINAL.pdf.


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obtained prosecutorial authority over elections-related crimes in 2015. See PFOF ¶ 305. Given

that Defendant has not meaningfully sought to utilize criminal prosecution as an alternative to a

DPOC requirement, he has failed to establish that nothing less than such a requirement is

sufficient to address the problem of noncitizen registration.

       353.    In sum, because Defendant has failed to demonstrate that various alternatives to a

DPOC requirement that he currently employs (DOV database matching and juror questionnaires)

are inadequate, and has also failed to engage in meaningful efforts to utilize other alternatives to

a DPOC requirement (improving DOV training, utilizing DHS data, or prosecuting noncitizen

registration), he has failed to establish that nothing less than a DPOC requirement is sufficient to

address noncitizen registration. Fish II, 840 F.3d at 738 n.14.

IV.    REMEDY

       354.    To remedy Defendant’s violation of the NVRA, Plaintiffs seek a declaration that

the DPOC requirement may not be enforced against motor-voter applicants, and an order

permanently enjoining the DPOC requirement, Kan. Stat. Ann. § 25-2309(l), and the

administrative rule, K.A.R. § 7-23-15, “as to individuals who apply to register to vote in federal

elections at the same time they apply for or renew a driver’s license.” Fish I, 189 F. Supp. 3d at

1152. Plaintiffs further seek an order re-directing Defendant “to register for federal elections all

otherwise eligible motor voter registration applicants that have been cancelled or are in suspense

due solely to their failure to provide DPOC.” Id.

       355.    In light of ongoing concerns regarding Defendant’s failure to comply with this

Court’s orders, see Pls.’ Mot. to Enforce & for Contempt, ECF No. 220; Ord. to Show Cause,

ECF No. 222; Ord. Finding Mot. for Contempt Moot, ECF No. 226; Pls.’ Mot. for Contempt;

ECF No. 423; Mem. & Ord., ECF No. 520, Plaintiffs seek further relief to ensure Kansas voters



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covered by the injunction are treated equitably.28 The Court has broad equitable authority to

enjoin Defendant to ensure effective relief. See, e.g., Bd. of Ed. of Oklahoma City Pub. Schs. v.

Dowell, 375 F.2d 158, 168 (10th Cir. 1967). Specifically, Plaintiffs request an order directing

Defendant to add all otherwise eligible motor voter registration applicants (“covered voters”) to

the official voter registration list and directing Defendant to designate covered voters as “active”

in the ELVIS database. See 52 U.S.C. § 20507(a)(1) (requiring state election officials to “ensure

that any eligible applicant is registered to vote in an election”); see also Kan. Stat. Ann. § 25-

2309(g) (“A person who completes an application for voter registration shall be considered a

registered voter when the county election officer adds the applicant’s name to the county voter

registration list.”).29


28
   On April 18, 2018, the Court issued a ruling describing Defendant’s “history of
noncompliance with the preliminary injunction order” and holding Defendant in contempt for
willfully and repeatedly disobeying the Court. Mem. and Ord., ECF No. 520 at 16, 24.
Defendant’s public statements regarding the contempt ruling underscore ongoing concerns
regarding the likelihood of his future compliance with this Court’s orders. Defendant stated in
an interview with Breitbart News that he considers the Court’s contempt ruling “just ridiculous”
and that he anticipates he will “prevail on the contempt issue in the 10th Circuit Court of
Appeals.” See “EXCLUSIVE – Kris Kobach on Being Held in Contempt During Fight Against
Voter Fraud: ‘It’s Just Ridiculous,’” Breitbart News, Apr. 22, 2018,
http://www.breitbart.com/big-government/2018/04/22/kris-kobach-contempt-of-court-ridiculous/.
Defendant further stated his belief that the preliminary injunction was based on “an utter
nonsense way of reading the statutes and the constitution.” Id. While Defendant is entitled to
his opinion, his history of disobeying judgments he disagrees with suggests that specific steps to
monitor and verify compliance with a final injunction may be necessary.
29
   Defendant has objected that adding covered voters to the official voter registration list would
make it impossible for a higher court to reverse this Court’s judgment in light of the NVRA’s
protections against purging active voters. Prelim. Injun. Hr’g Tr., ECF No. 367-6, at 87:3-89:17.
Defendant’s position is meritless and incompatible with the express provisions for injunctive
relief outlined in the statute. See 52 U.S.C. § 20510(b)(2) (providing private right of action “for
declaratory or injunctive relief”). Injunctive relief necessarily includes preliminary and final
injunctions which are appealable and reversible by a higher court. The injunctive relief available
under the NVRA would be deeply undermined if defendants could defer registering prevailing
plaintiffs until every appeal in a case had been exhausted.


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       356.    Effective relief requires that covered voters be informed about their registration

status and receive accurate voting-related information.      Inaccurate information risks “voter

confusion and [a] consequent incentive to remain away from the polls.” Purcell v. Gonzalez, 549

U.S. 1, 4-5 (2006). Here, after the Preliminary Injunction was issued, Defendant initially refused

to provide accurate information, and only provided such information under threat of a contempt

finding. (See ECF No. 520 at 16 (“[Defendant] not only willfully failed to comply with the

preliminary injunction for five months, but then only partially complied in October 2016 upon

the threat of contempt.”)    Defendant subsequently failed to instruct local county elections

officials to provide voters covered by the preliminary injunction with the same postcards about

polling locations that all other registered voters in the state receive, despite promising on the

record that the postcard notices would be sent (see ECF No. 520 4-5). Plaintiffs therefore seek

an order directing Defendant to ensure that covered voters receive the same information as that

received by other active voters, including:

           a. an order directing Defendant to provide covered voters with the same information

               provided to other registrants (including but not limited to certificates of

               registration); and to ensure that all elections-related public education materials

               (including but not limited to voter-aimed notices and websites, in all languages in

               which those documents are available, including English and Spanish) make clear

               that motor-voter applicants do not need to provide DPOC in order to be registered

               to vote, and need not provide any additional information in order to complete their

               voter registration applications. See Joint Status Report, ECF No. 225; Order, ECF

               No. 226;

           b. an order directing Defendant to instruct all state and county elections officers, and



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               to ensure that all training and reference materials for elections officials in Kansas

               (including but not limited to the KSOS County Elections Manual) make clear, that

               motor-voter applicants do not need to provide DPOC in order to be registered to

               vote, and need not provide any additional information in order to complete their

               voter registration applications. See Joint Status Report, ECF No. 225; Order, ECF

               No. 226;

           c. an order directing Defendant to maintain the “Voter View” website “so that

               covered voters [registrants] are listed as registered to vote in the same way that

               other registered voters are displayed.” See Joint Status Report, ECF No. 225;

               Order, ECF No. 226;

       357.    Effective relief also requires that covered voters have the same voting experience

as other active voters, and not be segregated into any kind of second-class status at the polls.

Plaintiffs therefore request relief including:

       358.    an order directing Defendant to ensure that, in counties that use paper poll books,

the names of all motor-voter registrants appear in the same manner and in the same list as all

other registered voters’ names. See Joint Status Report, ECF No. 225; Order, ECF No. 226;

       359.    an order directing that all motor voter applicants shall be “entitled to vote using

standard ballots rather than provisional ballots at polling places on Election Day or when they

request advance mail-in ballots.” See Joint Status Report, ECF No. 225; Order, ECF No. 226;

       360.    Plaintiffs request that the order specify that relief should apply to all people who

apply to register to vote through an “NVRA-covered driver’s license transaction,” regardless of

whether it is conducted in-person or online. See Stringer v. Pablos, 274 F. Supp. 3d 588, 601

(W.D. Tex. 2017). There are almost 6,000 registration applications submitted via the DOV’s



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website that have been suspended or canceled due to the DPOC requirement. See PFOF ¶ 34

(parties stipulated that, as of March 28, 2016, more than 17,000 in-person motor-voter applicants

were blocked from registering to vote because of the DPOC requirement); PFOF ¶ 45 (Plaintiffs’

expert Dr. McDonald testified that, as of March 31, 2016, a total of 22,888 motor-voter

applicants were suspended or canceled for lack of DPOC, if both in-person and online applicants

are included). Excluding online motor-voter applicants from relief would be inconsistent with

the NVRA’s express purposes of “establish[ing] procedures that will increase the number of

eligible citizens who register to vote” and “enhanc[ing] the participation of eligible citizens as

voters.”   52 U.S.C. § 20501(b)(1)-(2).        It would also render the statute ineffective as

governmental transactions are increasingly conducted online. For these reasons, any and all

relief ordered by the Court should apply to online as well as in-person motor-voter applicants.

       361.     Given Defendant’s record of noncompliance with the preliminary injunction,

Plaintiffs further request that the Court direct the parties to meet, confer, and file a joint status

report [45 days] before the next [primary and/or general] election scheduled in Kansas to verify

compliance with the final injunction. Following this joint status report, the Court may determine

whether modification of its final order is warranted or whether any additional steps may be

necessary to ensure that effective relief for covered voters is not denied or otherwise undermined

by Defendant.

       362.     Finally, Plaintiffs seek an award of Plaintiffs’ attorneys’ fees and costs, as

authorized by the NVRA, see 52 U.S.C. § 20510(c), and all other relief deemed appropriate.



Dated this 23rd day of April, 2018

Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 23rd day of April, 2018, I electronically

filed the foregoing document using the CM/ECF system, which automatically sends notice and a

copy of the filing to all counsel of record.

                                               /s/ Stephen Douglas Bonney

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